Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27   Desc: Main
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Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27   Desc: Main
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          Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number           Document Page 22 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                        Skytec, Inc. (ST2)

Customer/        Invoice                     Due Dates           Job              Discount                                                                                                                      Days
Invoice Date     Number            Invoice           Discount    Number           Amount           Balance        Current          30 Days          60 Days           90 Days                120 Days           Delq



A PLUS           A Plus Ambulance Services Inc.                        Contact:                                         Phone:     787-771-3443                              Credit Limit:                       0.00
  7/2/2019       0023390-IN        7/2/2019                                                0.00         517.41              0.00          0.00             0.00               0.00                517.41         182
  8/5/2019       0023700-IN        8/5/2019                                                0.00         612.47              0.00          0.00             0.00               0.00                612.47         148
  9/3/2019       0024020-IN        9/3/2019                                                0.00          89.97              0.00          0.00             0.00              89.97                  0.00         119
  10/3/2019      0024337-IN        10/3/2019                                               0.00          89.97              0.00          0.00            89.97               0.00                  0.00          89
  11/5/2019      0024651-IN        11/5/2019                                               0.00         612.47              0.00        612.47             0.00               0.00                  0.00          56
                                                    Customer A PLUS Totals:                0.00       1,922.29              0.00        612.47            89.97              89.97               1,129.88

AAA              Autoridad de Acueductos                               Contact:   Erick Montalvo                        Phone:     787-620-2277          Extension:   2130   Credit Limit:                       0.00
  4/22/2019      1009077-IN        4/22/2019                                               0.00      14,513.05              0.00             0.00             0.00              0.00           14,513.05         253
                                                       Customer AAA Totals:                0.00      14,513.05              0.00             0.00             0.00              0.00            14,513.05

AAMB             Angeles Ambulance                                     Contact:   Omar Aponte                           Phone:     787-586-2567                              Credit Limit:                1,000.00
  11/5/2019      0024652-IN        11/5/2019                                               0.00         199.92           0.00           199.92                0.00              0.00                0.00          56
  12/4/2019      0024966-IN        12/4/2019                                               0.00         199.92         199.92             0.00                0.00              0.00                0.00          27
                                                     Customer AAMB Totals:                 0.00         399.84         199.92           199.92                0.00              0.00                    0.00

ABBIP            ABB Installation Products Cari                        Contact:                                         Phone:     787-855-3046                              Credit Limit:                       0.00
  9/6/2019       1009364-IN        9/6/2019                                                0.00       2,967.02              0.00             0.00             0.00       2,967.02                   0.00         116
                                                     Customer ABBIP Totals:                0.00       2,967.02              0.00             0.00             0.00       2,967.02                       0.00

ACT              Aut. de Carr. y Transportacion                        Contact:   Cedeño                                Phone:     787-721-8787                              Credit Limit:                       0.00
  12/4/2019      1009528-IN        12/4/2019                                               0.00         900.00         900.00                0.00             0.00              0.00                0.00          27
                                                       Customer ACT Totals:                0.00         900.00         900.00                0.00             0.00              0.00                    0.00

ADMTERR          Administracion de Terrenos                            Contact:                                         Phone:     787-753-9409                              Credit Limit:                       0.00
  10/3/2016      0015143-IN        10/3/2016                                               0.00          51.48              0.00             0.00             0.00              0.00               51.48        1,184
  6/1/2017       0016677-IN        6/1/2017                                                0.00         149.94              0.00             0.00             0.00              0.00              149.94          943
  7/3/2017       0016880-IN        7/3/2017                                                0.00         134.94              0.00             0.00             0.00              0.00              134.94          911
                                                  Customer ADMTERR Totals:                 0.00         336.36              0.00             0.00             0.00              0.00               336.36

AE               Angel M. Egozcue                                      Contact:                                         Phone:     787-720-1717                              Credit Limit:                       0.00
  12/4/2019      0024967-IN        12/4/2019                                               0.00         161.68         161.68                0.00             0.00              0.00                0.00          27
                                                        Customer AE Totals:                0.00         161.68         161.68                0.00             0.00              0.00                    0.00

AEIC             AEI Corporation                                       Contact:   Ernesto Rivera                        Phone:     787-287-5192                              Credit Limit:                       0.00
  11/5/2019      0024653-IN        11/5/2019                                               0.00          24.99           0.00            24.99                0.00              0.00                0.00          56
  12/4/2019      0024968-IN        12/4/2019                                               0.00         174.93         174.93             0.00                0.00              0.00                0.00          27
  12/26/2019     1009572-IN        12/26/2019                                              0.00         124.95         124.95             0.00                0.00              0.00                0.00           5
                                                      Customer AEIC Totals:                0.00         324.87         299.88            24.99                0.00              0.00                    0.00

AEME             Agencia Estatal Manejo Emergen                        Contact:                                         Phone:     787-724-0124                              Credit Limit:                       0.00
  10/5/2017      1008133-IN        10/5/2017                                               0.00       7,995.00           0.00                0.00             0.00              0.00            7,995.00         817
  10/5/2017      1008134-IN        10/5/2017                                               0.00      24,995.00           0.00                0.00             0.00              0.00           24,995.00         817
  10/31/2017     1008239-IN        10/31/2017                                              0.00       4,920.00           0.00                0.00             0.00              0.00            4,920.00         791
  11/23/2017     1008260-IN        11/23/2017                                              0.00      15,000.00           0.00                0.00             0.00              0.00           15,000.00         768
  5/14/2018      1008472-IN        5/14/2018                                               0.00           0.01           0.00                0.00             0.00              0.00                0.01         596
  12/4/2019      0024969-IN        12/4/2019                                               0.00         881.51         881.51                0.00             0.00              0.00                0.00          27
                                                     Customer AEME Totals:                 0.00      53,791.52         881.51                0.00             0.00              0.00            52,910.01

AEROSTA          AEROSTAR Airport Holdings LLC                         Contact:                                         Phone:     787-289-7240                              Credit Limit:                       0.00
  2/2/2017       1007795-IN        2/2/2017                                                0.00          94.94           0.00             0.00             0.00               0.00                 94.94        1,062
  4/18/2017      1007887-IN        4/18/2017                                               0.00       1,259.94           0.00             0.00             0.00               0.00              1,259.94          987
  5/3/2017       0016478-IN        5/3/2017                                                0.00          10.50           0.00             0.00             0.00               0.00                 10.50          972
  6/19/2017      1007961-IN        6/19/2017                                               0.00         231.27           0.00             0.00             0.00               0.00                231.27          925
  8/5/2019       0023704-IN        8/5/2019                                                0.00          17.49           0.00             0.00             0.00               0.00                 17.49          148
  9/3/2019       0024024-IN        9/3/2019                                                0.00          17.49           0.00             0.00             0.00              17.49                  0.00          119
  10/3/2019      0024341-IN        10/3/2019                                               0.00         174.93           0.00             0.00           174.93               0.00                  0.00           89
  11/5/2019      0024655-IN        11/5/2019                                               0.00         174.93           0.00           174.93             0.00               0.00                  0.00           56
  12/4/2019      0024970-IN        12/4/2019                                               0.00         174.93         174.93             0.00             0.00               0.00                  0.00           27
  12/31/2019     1009580-IN        12/31/2019                                              0.00         395.83         395.83             0.00             0.00               0.00                  0.00
                                                  Customer AEROSTA Totals:                 0.00       2,552.25         570.76           174.93           174.93              17.49               1,614.14

AGROV            Agro-Vet Inc.                                         Contact:                                         Phone:     787-268-0300                              Credit Limit:                       0.00
  11/1/2018      0021023-IN        11/1/2018                                               0.00          19.99              0.00             0.00             0.00              0.00               19.99         425
  1/2/2019       0021596-IN        1/2/2019                                                0.00          24.99              0.00             0.00             0.00              0.00               24.99         363
                                                    Customer AGROV Totals:                 0.00          44.98              0.00             0.00             0.00              0.00                44.98

ALBAR            Alfredo Barreto Andino                                Contact:                                         Phone:     787-361-2068                              Credit Limit:                       0.00
  6/4/2019       0023087-IN        6/4/2019                                                0.00           0.17-          0.00             0.00                0.00              0.00                0.17-
  11/5/2019      0024658-IN        11/5/2019                                               0.00          24.99           0.00            24.99                0.00              0.00                0.00          56
  12/4/2019      0024973-IN        12/4/2019                                               0.00          24.99          24.99             0.00                0.00              0.00                0.00          27
                                                     Customer ALBAR Totals:                0.00          49.81          24.99            24.99                0.00              0.00                    0.17-

ALCOMI           Alexis J Cordero Miranda                              Contact:                                         Phone:     787-239-5082                              Credit Limit:                       0.00
  10/3/2019      0024345-IN        10/3/2019                                               0.00          24.99           0.00             0.00            24.99                 0.00                0.00          89
  11/5/2019      0024659-IN        11/5/2019                                               0.00          24.99           0.00            24.99             0.00                 0.00                0.00          56
  12/4/2019      0024974-IN        12/4/2019                                               0.00          24.99          24.99             0.00             0.00                 0.00                0.00          27
                                                    Customer ALCOMI Totals:                0.00          74.97          24.99            24.99            24.99                 0.00                    0.00


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     A/R Date: 1/8/2020                                                                                                                                                                         User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number          Document Page 23 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                       Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                       Days
Invoice Date   Number            Invoice           Discount   Number           Amount             Balance          Current          30 Days          60 Days          90 Days               120 Days          Delq



ALEHOR         Alex Hornedo Robles                                  Contact:                                             Phone:                                             Credit Limit:                      0.00
  11/5/2019    0024661-IN        11/5/2019                                             0.00              24.99            0.00            24.99                0.00             0.00               0.00         56
  12/4/2019    0024976-IN        12/4/2019                                             0.00              24.99           24.99             0.00                0.00             0.00               0.00         27
                                                Customer ALEHOR Totals:                0.00              49.98           24.99            24.99                0.00             0.00                   0.00

ALERAM         Alexander Ramos                                      Contact:   Alexander Ramos                           Phone:     787-399-6094                            Credit Limit:                      0.00
  3/4/2019     0022188-IN        3/4/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        302
  4/1/2019     0022485-IN        4/1/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        274
  5/3/2019     0022785-IN        5/3/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        242
  6/4/2019     0023091-IN        6/4/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        210
  7/2/2019     0023402-IN        7/2/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        182
  8/5/2019     0023712-IN        8/5/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        148
                                                Customer ALERAM Totals:                0.00             149.94               0.00             0.00             0.00             0.00              149.94

ALLITEC        Allied Technology Group                              Contact:                                             Phone:     787-705-0555                            Credit Limit:                      0.00
  12/4/2019    0024978-IN        12/4/2019                                             0.00              49.98           49.98                0.00             0.00             0.00               0.00         27
                                                Customer ALLITEC Totals:               0.00              49.98           49.98                0.00             0.00             0.00                   0.00

ALOMAC         ALOMAC Distributions                                 Contact:                                             Phone:     787-744-9696                            Credit Limit:                      0.00
  10/3/2016    0015148-IN        10/3/2016                                             0.00              19.24-              0.00             0.00             0.00             0.00              19.24-
  5/3/2019     0022788-IN        5/3/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        242
                                               Customer ALOMAC Totals:                 0.00                 5.75             0.00             0.00             0.00             0.00                   5.75

ALV            Angel Luis Villanueva                                Contact:   Angel Luis Villanueva                     Phone:     787-449-8538                            Credit Limit:                      0.00
  4/1/2015     0012464-IN        4/1/2015                                              0.00              38.27               0.00             0.00             0.00             0.00              38.27       1,735
  5/5/2015     0012598-IN        5/5/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,701
  6/3/2015     0012737-IN        6/3/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,672
  7/1/2015     0012877-IN        7/1/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,644
  8/3/2015     0013026-IN        8/3/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,611
  9/3/2015     0013168-IN        9/3/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,580
  10/2/2015    0013309-IN        10/2/2015                                             0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,551
  11/3/2015    0013450-IN        11/3/2015                                             0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,519
  12/3/2015    0013589-IN        12/3/2015                                             0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,489
  1/8/2016     0013727-IN        1/8/2016                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,453
  2/5/2016     0013868-IN        2/5/2016                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,425
  3/3/2016     0014008-IN        3/3/2016                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,398
                                                    Customer ALV Totals:               0.00             698.05               0.00             0.00             0.00             0.00              698.05

AMA            Aut. Metro. de Autobuses                             Contact:                                             Phone:     787-294-0500                            Credit Limit:                      0.00
  8/15/2019    1009320-IN        8/15/2019                                             0.00             314.50               0.00             0.00             0.00             0.00             314.50        138
                                                    Customer AMA Totals:               0.00             314.50               0.00             0.00             0.00             0.00              314.50

AMC            AMC Engineering Inc                                  Contact:   Angel Cruz                                Phone:     787-745-4340                            Credit Limit:                      0.00
  11/3/2014    0011766-IN        11/3/2014                                             0.00             408.57               0.00             0.00             0.00             0.00             408.57       1,884
  12/3/2014    0011905-IN        12/3/2014                                             0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,854
  1/12/2015    0012043-IN        1/12/2015                                             0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,814
  2/3/2015     0012184-IN        2/3/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,792
  3/3/2015     0012323-IN        3/3/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,764
  4/1/2015     0012465-IN        4/1/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,735
  5/5/2015     0012599-IN        5/5/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,701
  6/3/2015     0012738-IN        6/3/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,672
  7/1/2015     0012878-IN        7/1/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,644
  8/3/2015     0013027-IN        8/3/2015                                              0.00             264.90               0.00             0.00             0.00             0.00             264.90       1,611
  9/3/2015     0013169-IN        9/3/2015                                              0.00             264.90               0.00             0.00             0.00             0.00             264.90       1,580
  10/2/2015    0013310-IN        10/2/2015                                             0.00             264.90               0.00             0.00             0.00             0.00             264.90       1,551
                                                   Customer AMC Totals:                0.00            4,522.07              0.00             0.00             0.00             0.00            4,522.07

AMELAW         American Lawn Maintainace Inc.                       Contact:   Carmina Díaz                              Phone:     787-753-1730                            Credit Limit:                      0.00
  12/4/2019    0024980-IN        12/4/2019                                             0.00              24.99           24.99                0.00             0.00             0.00               0.00         27
                                               Customer AMELAW Totals:                 0.00              24.99           24.99                0.00             0.00             0.00                   0.00

ANGEL R        Angel Rosado Collazo                                 Contact:   Angienid Rosado                           Phone:     787-429-6119                            Credit Limit:                      0.00
  2/1/2019     0021900-IN        2/1/2019                                              0.00              20.00               0.00             0.00             0.00             0.00              20.00        333
  3/4/2019     0022193-IN        3/4/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        302
  4/1/2019     0022490-IN        4/1/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        274
  5/3/2019     0022790-IN        5/3/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        242
  6/4/2019     0023096-IN        6/4/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        210
                                               Customer ANGEL R Totals:                0.00             719.72               0.00             0.00             0.00             0.00              719.72

ANHURI         Angel Huertas Rivera                                 Contact:                                             Phone:     787-420-6958                            Credit Limit:                      0.00
  8/15/2017    1008024-IN        8/15/2017                                             0.00             164.37               0.00             0.00             0.00             0.00             164.37        868
  9/4/2017     0017330-IN        9/4/2017                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        848
  10/5/2017    0017575-IN        10/5/2017                                             0.00              24.99               0.00             0.00             0.00             0.00              24.99        817
  11/3/2017    0017822-IN        11/3/2017                                             0.00              24.99               0.00             0.00             0.00             0.00              24.99        788
  12/1/2017    0018085-IN        12/1/2017                                             0.00              24.99               0.00             0.00             0.00             0.00              24.99        760
  1/5/2018     0018335-IN        1/5/2018                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        725
  2/1/2018     0018582-IN        2/1/2018                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        698
  3/2/2018     0018844-IN        3/2/2018                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        669
  4/1/2018     0019100-IN        4/1/2018                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        639
  5/1/2018     0019382-IN        5/1/2018                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        609

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  A/R Date: 1/8/2020                                                                                                                                                                           User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                           Desc: Main
Sorted by Customer Number          Document Page 24 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                         Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                         Days
Invoice Date   Number             Invoice           Discount   Number           Amount          Balance           Current          30 Days           60 Days           90 Days                120 Days           Delq


                                                 Customer ANHURI Totals:                0.00         389.28                 0.00             0.00              0.00              0.00               389.28

ANIBA          Anibal J Balbuena Núñez                               Contact:                                           Phone:     787-548-8808                               Credit Limit:                       0.00
  8/20/2019    0023905-PP         8/20/2019                                             0.00         136.08-                0.00             0.00              0.00              0.00              136.08-
                                                   Customer ANIBA Totals:               0.00         136.08-                0.00             0.00              0.00              0.00               136.08-

ANIRGU         Angel Irrizarry Guardiola                             Contact:                                           Phone:     (787) 244-7910                             Credit Limit:                       0.00
  11/1/2016    0015335-IN         11/1/2016                                             0.00          25.02-                0.00             0.00              0.00              0.00               25.02-
  4/4/2017     0016289-IN         4/4/2017                                              0.00          25.00-                0.00             0.00              0.00              0.00               25.00-
  5/3/2017     0016486-IN         5/3/2017                                              0.00           0.05-                0.00             0.00              0.00              0.00                0.05-
                                                 Customer ANIRGU Totals:                0.00          50.07-                0.00             0.00              0.00              0.00                50.07-

ANTOAV         Angel L Torres Avilés                                 Contact:                                           Phone:     787-363-0974                               Credit Limit:                       0.00
  11/1/2018    0021034-IN         11/1/2018                                             0.00              0.17-             0.00             0.00              0.00              0.00                0.17-
  11/15/2019   0151119-PP         11/15/2019                                            0.00              0.01-             0.00             0.01-             0.00              0.00                0.00
                                                 Customer ANTOAV Totals:                0.00              0.18-             0.00             0.01-             0.00              0.00                    0.17-

APC            American Paper Corp                                   Contact:   Jorge Inclan                            Phone:     787-999-0888           Extension:   237    Credit Limit:                       0.00
  12/4/2019    0024985-IN         12/4/2019                                             0.00         144.93            144.93                0.00              0.00              0.00                0.00          27
                                                     Customer APC Totals:               0.00         144.93            144.93                0.00              0.00              0.00                    0.00

APEX           Apex Global                                           Contact:   Jose Barreda                            Phone:     787-728-0724                               Credit Limit:                       0.00
  7/2/2019     0023412-IN         7/2/2019                                              0.00          49.98-             0.00              0.00                0.00              0.00               49.98-
  8/5/2019     0023722-IN         8/5/2019                                              0.00          49.98              0.00              0.00                0.00              0.00               49.98         148
  11/8/2019    0081119-PP         11/8/2019                                             0.00          49.98-             0.00             49.98-               0.00              0.00                0.00
  12/4/2019    0024986-IN         12/4/2019                                             0.00          24.99             24.99              0.00                0.00              0.00                0.00          27
                                                    Customer APEX Totals:               0.00          24.99-            24.99             49.98-               0.00              0.00                    0.00

APL            Arecibo Plumbing                                      Contact:                                           Phone:     787-881-8181                               Credit Limit:                       0.00
  12/4/2019    0024987-IN         12/4/2019                                             0.00          39.95             39.95                0.00              0.00              0.00                0.00          27
                                                     Customer APL Totals:               0.00          39.95             39.95                0.00              0.00              0.00                    0.00

APOLO          Apolo Express                                         Contact:                                           Phone:     787-982-2334                               Credit Limit:                       0.00
  10/3/2019    0024359-IN         10/3/2019                                             0.00         259.87              0.00                0.00         259.87                 0.00                0.00          89
  12/4/2019    0024988-IN         12/4/2019                                             0.00         319.84            319.84                0.00           0.00                 0.00                0.00          27
                                                  Customer APOLO Totals:                0.00         579.71            319.84                0.00         259.87                 0.00                    0.00

ARIMAR         ARIMAR Inc DBA PCShield                               Contact:                                           Phone:     787-755-5381                               Credit Limit:                       0.00
  8/29/2016    1007555-IN         8/29/2016                                             0.00       4,660.09                 0.00             0.00              0.00              0.00            4,660.09        1,219
  8/29/2016    1007564-IN         8/29/2016                                             0.00       1,040.00                 0.00             0.00              0.00              0.00            1,040.00        1,219
                                                 Customer ARIMAR Totals:                0.00       5,700.09                 0.00             0.00              0.00              0.00             5,700.09

ARTGON         Arturo González                                       Contact:                                           Phone:     787-647-7001                               Credit Limit:                       0.00
  12/4/2019    0024991-IN         12/4/2019                                             0.00         299.88            299.88                0.00              0.00              0.00                0.00          27
                                                Customer ARTGON Totals:                 0.00         299.88            299.88                0.00              0.00              0.00                    0.00

ASEM           ADM SERVICIOS MEDICOS DE P.R.                         Contact:   Anna o Myriam                           Phone:     787-777-3535           Extension:   2930   Credit Limit:                       0.00
  10/12/2017   1008140-IN         10/12/2017                                            0.00         500.00              0.00                0.00           0.00                 0.00              500.00         810
  10/22/2019   1009457-IN         10/22/2019                                            0.00         650.00              0.00                0.00         650.00                 0.00                0.00          70
  12/13/2019   1009549-IN         12/13/2019                                            0.00       1,710.00          1,710.00                0.00           0.00                 0.00                0.00          18
  12/26/2019   1009561-IN         12/26/2019                                            0.00       4,951.20          4,951.20                0.00           0.00                 0.00                0.00           5
                                                   Customer ASEM Totals:                0.00       7,811.20          6,661.20                0.00         650.00                 0.00               500.00

ASP            Auto Servicios Padilla                                Contact:                                           Phone:     787-249-9314                               Credit Limit:                       0.00
  11/5/2019    0024677-IN         11/5/2019                                             0.00          44.80              0.00             44.80                0.00              0.00                0.00          56
  12/4/2019    0024993-IN         12/4/2019                                             0.00         124.95            124.95              0.00                0.00              0.00                0.00          27
                                                     Customer ASP Totals:               0.00         169.75            124.95             44.80                0.00              0.00                    0.00

ATI            Alternativa de Transporte                             Contact:                                           Phone:     787-765-0927           Extension:   1289   Credit Limit:                       0.00
  4/3/2018     1008421-IN         4/3/2018                                              0.00       5,437.50                 0.00             0.00              0.00              0.00            5,437.50         637
                                                      Customer ATI Totals:              0.00       5,437.50                 0.00             0.00              0.00              0.00             5,437.50

ATLASE         Atlas Electrical                                      Contact:                                           Phone:     787-793-3993                               Credit Limit:                       0.00
  11/5/2019    0024678-IN         11/5/2019                                             0.00         174.93              0.00            174.93                0.00              0.00                0.00          56
  12/4/2019    0024994-IN         12/4/2019                                             0.00         174.93            174.93              0.00                0.00              0.00                0.00          27
                                                 Customer ATLASE Totals:                0.00         349.86            174.93            174.93                0.00              0.00                    0.00

ATMAEN         Atlantic Master Enterprises                           Contact:                                           Phone:     787-795-1052                               Credit Limit:                       0.00
  1/5/2018     0018344-IN         1/5/2018                                              0.00          24.99                 0.00             0.00              0.00              0.00               24.99         725
                                                Customer ATMAEN Totals:                 0.00          24.99                 0.00             0.00              0.00              0.00                24.99

AZCMET         AZC Metropolitan Distributor                          Contact:                                           Phone:     787-775-1717                               Credit Limit:                       0.00
  6/4/2019     0023109-IN         6/4/2019                                              0.00          74.97              0.00              0.00             0.00               0.00                 74.97         210
  7/2/2019     0023419-IN         7/2/2019                                              0.00          74.97              0.00              0.00             0.00               0.00                 74.97         182
  8/5/2019     0023730-IN         8/5/2019                                              0.00          74.97              0.00              0.00             0.00               0.00                 74.97         148
  9/3/2019     0024049-IN         9/3/2019                                              0.00          74.97              0.00              0.00             0.00              74.97                  0.00         119
  10/3/2019    0024365-IN         10/3/2019                                             0.00          74.97              0.00              0.00            74.97               0.00                  0.00          89
  11/5/2019    0024679-IN         11/5/2019                                             0.00          74.97              0.00             74.97             0.00               0.00                  0.00          56
  11/13/2019   1009507-IN         11/13/2019                                            0.00          24.99              0.00             24.99             0.00               0.00                  0.00          48
  12/4/2019    0024995-IN         12/4/2019                                             0.00          99.96             99.96              0.00             0.00               0.00                  0.00          27


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  A/R Date: 1/8/2020                                                                                                                                                                             User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                             Desc: Main
Sorted by Customer Number          Document Page 25 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                         Days
Invoice Date   Number              Invoice           Discount   Number           Amount            Balance        Current          30 Days             60 Days           90 Days                120 Days          Delq


                                                  Customer AZCMET Totals:                0.00           574.77          99.96             99.96              74.97              74.97                 224.91

B&BC           B & B Communications                                   Contact:                                          Phone:     787-760-2698                                 Credit Limit:                      0.00
  4/1/2015     0012471-IN          4/1/2015                                              0.00            65.40              0.00             0.00                0.00              0.00               65.40       1,735
  5/5/2015     0012605-IN          5/5/2015                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,701
  6/3/2015     0012744-IN          6/3/2015                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,672
  7/1/2015     0012884-IN          7/1/2015                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,644
  8/3/2015     0013033-IN          8/3/2015                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,611
  9/3/2015     0013175-IN          9/3/2015                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,580
  10/2/2015    0013316-IN          10/2/2015                                             0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,551
  11/3/2015    0013456-IN          11/3/2015                                             0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,519
  12/3/2015    0013595-IN          12/3/2015                                             0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,489
  1/8/2016     0013733-IN          1/8/2016                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,453
  2/5/2016     0013874-IN          2/5/2016                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,425
  3/3/2016     0014014-IN          3/3/2016                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,398
  4/4/2016     0014156-IN          4/4/2016                                              0.00            79.98              0.00             0.00                0.00              0.00               79.98       1,366
                                                   Customer B & B C Totals:              0.00         1,025.16              0.00             0.00                0.00              0.00             1,025.16

BALREN         Baldorioty Rental                                      Contact:                                          Phone:     787-757-0125                                 Credit Limit:                      0.00
  11/5/2019    0024680-IN          11/5/2019                                             0.00           124.95           0.00            124.95                  0.00              0.00                0.00         56
  12/4/2019    0024996-IN          12/4/2019                                             0.00           174.93         174.93              0.00                  0.00              0.00                0.00         27
                                                  Customer BALREN Totals:                0.00           299.88         174.93            124.95                  0.00              0.00                    0.00

BANCOPO        Banco Popular                                          Contact:                                          Phone:     723-0777,722-8945        Extension:   3148   Credit Limit:                      0.00
  11/30/2017   1008668-IN          11/30/2017                                            0.00           485.88-             0.00             0.00                0.00              0.00              485.88-
                                                Customer BANCOPO Totals:                 0.00           485.88-             0.00             0.00                0.00              0.00               485.88-

BARSAN         Empresas Barsan                                        Contact:   Luis Sanchez                           Phone:     (787) 788-6070                               Credit Limit:                      0.00
  12/4/2019    0024997-IN          12/4/2019                                             0.00           174.93         174.93                0.00                0.00              0.00                0.00         27
                                                  Customer BARSAN Totals:                0.00           174.93         174.93                0.00                0.00              0.00                    0.00

BAX            Baxter Health Corp.                                    Contact:   Lester González                        Phone:     787-735-8021             Extension:   2418   Credit Limit:                      0.00
  12/23/2014   1006692-IN          12/23/2014                                            0.00           403.42              0.00             0.00                0.00              0.00              403.42       1,834
                                                      Customer BAX Totals:               0.00           403.42              0.00             0.00                0.00              0.00               403.42

BEMEAM         Best Medical Ambulance                                 Contact:                                          Phone:     787-985-0850                                 Credit Limit:                      0.00
  10/3/2019    0024369-IN          10/3/2019                                             0.00         1,144.96           0.00              0.00           1,144.96                 0.00                0.00         89
  11/5/2019    0024683-IN          11/5/2019                                             0.00           572.48           0.00            572.48               0.00                 0.00                0.00         56
  12/4/2019    0024999-IN          12/4/2019                                             0.00           572.48         572.48              0.00               0.00                 0.00                0.00         27
                                                 Customer BEMEAM Totals:                 0.00         2,289.92         572.48            572.48           1,144.96                 0.00                    0.00

BFER           B Fernández & Co.                                      Contact:                                          Phone:     787-288-7272                                 Credit Limit:                      0.00
  2/1/2017     0015915-IN          2/1/2017                                              0.00            21.08-             0.00             0.00                0.00              0.00               21.08-
                                                     Customer BFER Totals:               0.00            21.08-             0.00             0.00                0.00              0.00                21.08-

BIO            Biomet Orthopedics PR Inc.                             Contact:                                          Phone:     787-751-0650                                 Credit Limit:                      0.00
  2/3/2015     0012194-IN          2/3/2015                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,792
  3/3/2015     0012333-IN          3/3/2015                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,764
  4/1/2015     0012475-IN          4/1/2015                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,735
  5/5/2015     0012609-IN          5/5/2015                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,701
  6/3/2015     0012748-IN          6/3/2015                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,672
  7/1/2015     0012888-IN          7/1/2015                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,644
  9/3/2015     0013179-IN          9/3/2015                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,580
  10/2/2015    0013320-IN          10/2/2015                                             0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,551
  11/3/2015    0013460-IN          11/3/2015                                             0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,519
  12/3/2015    0013599-IN          12/3/2015                                             0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,489
  1/8/2016     0013737-IN          1/8/2016                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,453
  2/5/2016     0013878-IN          2/5/2016                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,425
  3/3/2016     0014018-IN          3/3/2016                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,398
  4/4/2016     0014160-IN          4/4/2016                                              0.00            74.85              0.00             0.00                0.00              0.00               74.85       1,366
                                                      Customer BIO Totals:               0.00         1,047.90              0.00             0.00                0.00              0.00             1,047.90

BLASANG        Blanca D Sánchez Gómez                                 Contact:   Kevin García                           Phone:     787-564-1441                                 Credit Limit:                      0.00
  10/16/2017   1008156-IN          10/16/2017                                            0.00            80.74              0.00             0.00                0.00              0.00               80.74        806
  11/3/2017    0017836-IN          11/3/2017                                             0.00            24.99              0.00             0.00                0.00              0.00               24.99        788
  12/1/2017    0018100-IN          12/1/2017                                             0.00            24.99              0.00             0.00                0.00              0.00               24.99        760
  1/5/2018     0018349-IN          1/5/2018                                              0.00            24.99              0.00             0.00                0.00              0.00               24.99        725
  2/1/2018     0018596-IN          2/1/2018                                              0.00            24.99              0.00             0.00                0.00              0.00               24.99        698
  3/2/2018     0018861-IN          3/2/2018                                              0.00            24.99              0.00             0.00                0.00              0.00               24.99        669
  4/1/2018     0019117-IN          4/1/2018                                              0.00            24.99              0.00             0.00                0.00              0.00               24.99        639
  5/1/2018     0019400-IN          5/1/2018                                              0.00            24.99              0.00             0.00                0.00              0.00               24.99        609
                                                Customer BLASANG Totals:                 0.00           255.67              0.00             0.00                0.00              0.00               255.67

BOMET          Borinquen Metals                                       Contact:                                          Phone:     787-747-5850                                 Credit Limit:                      0.00
  11/3/2015    0013461-IN          11/3/2015                                             0.00            14.70-             0.00             0.00                0.00              0.00               14.70-
  12/3/2015    0013600-IN          12/3/2015                                             0.00           104.96-             0.00             0.00                0.00              0.00              104.96-
                                                   Customer BOMET Totals:                0.00           119.66-             0.00             0.00                0.00              0.00               119.66-

BOTRS          Back On Track Services Inc.                            Contact:                                          Phone:     939-338-2115                                 Credit Limit:                      0.00
  9/4/2017     0017346-IN          9/4/2017                                              0.00           149.94              0.00             0.00                0.00              0.00              149.94        848
  10/5/2017    0017590-IN          10/5/2017                                             0.00           149.94              0.00             0.00                0.00              0.00              149.94        817

  Run Date: 1/8/2020 1:51:20PM                                                                                                                                                                    Page: 4
  A/R Date: 1/8/2020                                                                                                                                                                               User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                       Desc: Main
Sorted by Customer Number          Document Page 26 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                    Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                  Days
Invoice Date   Number            Invoice           Discount   Number           Amount            Balance        Current          30 Days          60 Days          90 Days               120 Days        Delq


  11/3/2017    0017838-IN        11/3/2017                                             0.00           149.94              0.00             0.00             0.00             0.00             149.94      788
  12/1/2017    0018102-IN        12/1/2017                                             0.00           149.94              0.00             0.00             0.00             0.00             149.94      760
  1/5/2018     0018351-IN        1/5/2018                                              0.00           149.94              0.00             0.00             0.00             0.00             149.94      725
  2/1/2018     0018598-IN        2/1/2018                                              0.00           149.94              0.00             0.00             0.00             0.00             149.94      698
  3/2/2018     0018863-IN        3/2/2018                                              0.00           149.94              0.00             0.00             0.00             0.00             149.94      669
  4/1/2018     0019119-IN        4/1/2018                                              0.00           149.94              0.00             0.00             0.00             0.00             149.94      639
                                                 Customer BOTRS Totals:                0.00         1,199.52              0.00             0.00             0.00             0.00            1,199.52

BRAMAR         Bramar Promotions, LLC                               Contact:   Braulio Marrero                        Phone:     787-626-5303                            Credit Limit:                    0.00
  3/2/2018     0018864-IN        3/2/2018                                              0.00            49.98              0.00             0.00             0.00             0.00              49.98      669
                                                Customer BRAMAR Totals:                0.00            49.98              0.00             0.00             0.00             0.00               49.98

BSBBV          Bridge Security Services- BBVA                       Contact:   Roque Rosario                          Phone:     787-787-7125                            Credit Limit:                    0.00
  5/2/2008     0004355-IN        5/2/2008                                              0.00            30.00-             0.00             0.00             0.00             0.00              30.00-
                                                 Customer BSBBV Totals:                0.00            30.00-             0.00             0.00             0.00             0.00               30.00-

BVP            Buena Vista Press Inc                                Contact:                                          Phone:     787-740-3333                            Credit Limit:                    0.00
  11/3/2015    0013462-IN        11/3/2015                                             0.00            19.99              0.00             0.00             0.00             0.00              19.99     1,519
  12/3/2015    0013601-IN        12/3/2015                                             0.00            19.99              0.00             0.00             0.00             0.00              19.99     1,489
  1/8/2016     0013739-IN        1/8/2016                                              0.00            19.99              0.00             0.00             0.00             0.00              19.99     1,453
  2/5/2016     0013880-IN        2/5/2016                                              0.00            19.99              0.00             0.00             0.00             0.00              19.99     1,425
  3/3/2016     0014020-IN        3/3/2016                                              0.00            19.99              0.00             0.00             0.00             0.00              19.99     1,398
  4/4/2016     0014162-IN        4/4/2016                                              0.00            19.99              0.00             0.00             0.00             0.00              19.99     1,366
                                                    Customer BVP Totals:               0.00           119.94              0.00             0.00             0.00             0.00              119.94

BVRAMB         BVR Ambulance Best Care LLC                          Contact:                                          Phone:     787-501-9383                            Credit Limit:                    0.00
  8/14/2019    1009314-IN        8/14/2019                                             0.00            88.83           0.00              0.00            0.00             0.00                 88.83      139
  9/3/2019     0024059-IN        9/3/2019                                              0.00         1,076.82           0.00              0.00            0.00         1,076.82                  0.00      119
  10/3/2019    0024375-IN        10/3/2019                                             0.00         1,076.82           0.00              0.00        1,076.82             0.00                  0.00       89
  11/5/2019    0024690-IN        11/5/2019                                             0.00         1,654.50           0.00          1,654.50            0.00             0.00                  0.00       56
  11/5/2019    0024964-IN        11/5/2019                                             0.00           459.00           0.00            459.00            0.00             0.00                  0.00       56
  12/4/2019    0025006-IN        12/4/2019                                             0.00         1,076.82       1,076.82              0.00            0.00             0.00                  0.00       27
  12/9/2019    0025284-IN        12/9/2019                                             0.00            99.75          99.75              0.00            0.00             0.00                  0.00       22
                                                Customer BVRAMB Totals:                0.00         5,532.54       1,176.57          2,113.50        1,076.82         1,076.82                  88.83

CAMMUN         Camera-Mundi Inc.                                    Contact:                                          Phone:     787-743-4876                            Credit Limit:                    0.00
  10/6/2015    0013300-IN        10/6/2015                                             0.00         2,882.33              0.00             0.00             0.00             0.00           2,882.33     1,547
                                               Customer CAMMUN Totals:                 0.00         2,882.33              0.00             0.00             0.00             0.00            2,882.33

CANOCO         Carmen Noris Collazo                                 Contact:   Luis Torres                            Phone:     787-529-9849                            Credit Limit:                    0.00
  5/1/2018     0019404-IN        5/1/2018                                              0.00           224.91              0.00             0.00             0.00             0.00             224.91      609
  6/1/2018     0019692-IN        6/1/2018                                              0.00            24.99              0.00             0.00             0.00             0.00              24.99      578
  7/6/2018     0019957-IN        7/6/2018                                              0.00            24.99              0.00             0.00             0.00             0.00              24.99      543
  8/2/2018     0020229-IN        8/2/2018                                              0.00            24.99              0.00             0.00             0.00             0.00              24.99      516
  9/4/2018     0020500-IN        9/4/2018                                              0.00            24.99              0.00             0.00             0.00             0.00              24.99      483
                                               Customer CANOCO Totals:                 0.00           324.87              0.00             0.00             0.00             0.00              324.87

CAPRO          Caribbean Produce                                    Contact:   Andrés Fournier                        Phone:     787-671-8686                            Credit Limit:                    0.00
  10/8/2018    1008735-IN        10/8/2018                                             0.00         1,675.92           0.00             0.00                0.00         0.00               1,675.92      449
  8/5/2019     0023741-IN        8/5/2019                                              0.00           250.00           0.00             0.00                0.00         0.00                 250.00      148
  9/3/2019     0024060-IN        9/3/2019                                              0.00           125.00           0.00             0.00                0.00       125.00                   0.00      119
  11/5/2019    0024691-IN        11/5/2019                                             0.00           950.00           0.00           950.00                0.00         0.00                   0.00       56
  12/4/2019    0025007-IN        12/4/2019                                             0.00           950.00         950.00             0.00                0.00         0.00                   0.00       27
                                                 Customer CAPRO Totals:                0.00         3,950.92         950.00           950.00                0.00        125.00               1,925.92

CARC           Car Caribbean Cooling Systems                        Contact:                                          Phone:     787-759-6356                            Credit Limit:                    0.00
  10/31/2012   1005547-IN        10/31/2012                                            0.00            83.19           0.00             0.00                0.00             0.00              83.19     2,617
  2/1/2013     0008619-IN        2/1/2013                                              0.00            79.96           0.00             0.00                0.00             0.00              79.96     2,524
  5/3/2016     0014301-IN        5/3/2016                                              0.00            20.29           0.00             0.00                0.00             0.00              20.29     1,337
  9/2/2016     0014983-IN        9/2/2016                                              0.00            59.97           0.00             0.00                0.00             0.00              59.97     1,215
  10/3/2016    0015163-IN        10/3/2016                                             0.00            79.96           0.00             0.00                0.00             0.00              79.96     1,184
  1/24/2017    1007769-IN        1/24/2017                                             0.00           105.73           0.00             0.00                0.00             0.00             105.73     1,071
  11/5/2019    0024692-IN        11/5/2019                                             0.00           109.95           0.00           109.95                0.00             0.00               0.00        56
  12/4/2019    0025008-IN        12/4/2019                                             0.00           109.95         109.95             0.00                0.00             0.00               0.00        27
                                                  Customer CARC Totals:                0.00           649.00         109.95           109.95                0.00             0.00              429.10

CARMINI        Carminia Tello Santini                               Contact:                                          Phone:     787-370-4824                            Credit Limit:                    0.00
  7/4/2016     0014637-IN        7/4/2016                                              0.00            44.59              0.00             0.00             0.00             0.00              44.59     1,275
  8/3/2016     0014805-IN        8/3/2016                                              0.00            44.59              0.00             0.00             0.00             0.00              44.59     1,245
  9/2/2016     0014985-IN        9/2/2016                                              0.00            44.59              0.00             0.00             0.00             0.00              44.59     1,215
  10/3/2016    0015165-IN        10/3/2016                                             0.00            44.59              0.00             0.00             0.00             0.00              44.59     1,184
  11/1/2016    0015350-IN        11/1/2016                                             0.00            44.59              0.00             0.00             0.00             0.00              44.59     1,155
                                                Customer CARMINI Totals:               0.00           222.95              0.00             0.00             0.00             0.00              222.95

CARRIV         Carlos Rivera                                        Contact:                                          Phone:     787-234-5532                            Credit Limit:                    0.00
  12/5/2017    1008261-IN        12/5/2017                                             0.00            50.00-             0.00             0.00             0.00             0.00              50.00-
                                                Customer CARRIV Totals:                0.00            50.00-             0.00             0.00             0.00             0.00               50.00-

CARSAN         Carmen G Sánchez                                     Contact:   Robert Suárez                          Phone:     787-246-8750                            Credit Limit:                    0.00
  5/3/2019     0022816-IN        5/3/2019                                              0.00            24.92              0.00             0.00             0.00             0.00              24.92      242
  6/4/2019     0023123-IN        6/4/2019                                              0.00            24.99              0.00             0.00             0.00             0.00              24.99      210

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Accounts Receivable Aged Invoice Report                                                                                                                                       Desc: Main
Sorted by Customer Number         Document Page 27 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                    Days
Invoice Date   Number             Invoice           Discount   Number           Amount          Balance        Current          30 Days          60 Days           90 Days                120 Days          Delq


  7/2/2019     0023433-IN         7/2/2019                                              0.00          24.99              0.00             0.00             0.00              0.00               24.99        182
                                                Customer CARSAN Totals:                 0.00          74.90              0.00             0.00             0.00              0.00                74.90

CAS            CASH                                                  Contact:                                        Phone:                                               Credit Limit:                      0.00
  6/8/2012     1005332-IN         6/8/2012                                              0.00         919.65              0.00          0.00                0.00              0.00              919.65       2,762
  11/5/2019    1009480-IN         11/5/2019                                             0.00          19.95              0.00         19.95                0.00              0.00                0.00          56
  11/25/2019   0009747-PP         11/25/2019                                            0.00         133.80-             0.00        133.80-               0.00              0.00                0.00
  11/25/2019   1009520-IN         11/25/2019                                            0.00         133.80              0.00        133.80                0.00              0.00                0.00         36
  11/25/2019   1009521-IN         11/25/2019                                            0.00          60.21              0.00         60.21                0.00              0.00                0.00         36
  11/26/2019   0261119-PP         11/26/2019                                            0.00          60.25-             0.00         60.25-               0.00              0.00                0.00
                                                     Customer CAS Totals:               0.00         939.56              0.00         19.91                0.00              0.00               919.65

CCLLP          Carbonell & Co. LLp                                   Contact:                                        Phone:     787-300-3777                              Credit Limit:                      0.00
  11/1/2016    0015351-IN         11/1/2016                                             0.00          29.99-             0.00             0.00             0.00              0.00               29.99-
  9/4/2017     0017354-IN         9/4/2017                                              0.00          24.99              0.00             0.00             0.00              0.00               24.99        848
  10/5/2017    0017598-IN         10/5/2017                                             0.00          24.99              0.00             0.00             0.00              0.00               24.99        817
  11/3/2017    0017846-IN         11/3/2017                                             0.00          24.99              0.00             0.00             0.00              0.00               24.99        788
  12/1/2017    0018110-IN         12/1/2017                                             0.00          24.99              0.00             0.00             0.00              0.00               24.99        760
  1/5/2018     0018359-IN         1/5/2018                                              0.00          24.99              0.00             0.00             0.00              0.00               24.99        725
  2/1/2018     0018606-IN         2/1/2018                                              0.00          24.99              0.00             0.00             0.00              0.00               24.99        698
  3/2/2018     0018874-IN         3/2/2018                                              0.00          24.99              0.00             0.00             0.00              0.00               24.99        669
                                                  Customer CCLLP Totals:                0.00         144.94              0.00             0.00             0.00              0.00               144.94

CDIAZ          Sun Boricua (Celeste Díaz)                            Contact:                                        Phone:     787-820-0768                              Credit Limit:                      0.00
  10/3/2019    0024386-IN         10/3/2019                                             0.00          10.00           0.00             0.00            10.00                 0.00                0.00         89
  11/5/2019    0024701-IN         11/5/2019                                             0.00          29.99           0.00            29.99             0.00                 0.00                0.00         56
  12/4/2019    0025017-IN         12/4/2019                                             0.00          29.99          29.99             0.00             0.00                 0.00                0.00         27
                                                   Customer CDIAZ Totals:               0.00          69.98          29.99            29.99            10.00                 0.00                    0.00

CDPR           Centro de Diabetes para PR                            Contact:                                        Phone:     787-773-8282                              Credit Limit:                      0.00
  9/28/2016    1007587-IN         9/28/2016                                             0.00          18.00              0.00             0.00             0.00              0.00               18.00       1,189
                                                   Customer CDPR Totals:                0.00          18.00              0.00             0.00             0.00              0.00                18.00

CEAL           CEAL Fast Food                                        Contact:                                        Phone:     787-396-0766                              Credit Limit:                      0.00
  9/4/2018     0020511-IN         9/4/2018                                              0.00          62.95              0.00             0.00             0.00              0.00               62.95        483
  4/1/2019     0022522-IN         4/1/2019                                              0.00         119.97              0.00             0.00             0.00              0.00              119.97        274
                                                    Customer CEAL Totals:               0.00         182.92              0.00             0.00             0.00              0.00               182.92

CEME           Cuerpo De Emergencias Estatal                         Contact:   Sra. Martínez                        Phone:     787-775-0330          Extension:   1034   Credit Limit:                      0.00
  10/1/2014    0011646-IN         10/1/2014                                             0.00       6,807.22           0.00                0.00             0.00            0.00              6,807.22 1,917
  7/2/2019     0023442-IN         7/2/2019                                              0.00       2,940.60           0.00                0.00             0.00            0.00              2,940.60   182
  7/2/2019     0023443-IN         7/2/2019                                              0.00      26,019.28-          0.00                0.00             0.00            0.00             26,019.28-
  8/5/2019     0023755-IN         8/5/2019                                              0.00      11,242.98           0.00                0.00             0.00            0.00             11,242.98   148
  8/5/2019     0024014-IN         8/5/2019                                              0.00         548.36           0.00                0.00             0.00            0.00                548.36   148
  9/3/2019     0024074-IN         9/3/2019                                              0.00       1,124.28           0.00                0.00             0.00        1,124.28                  0.00   119
  12/4/2019    0025020-IN         12/4/2019                                             0.00       8,581.05       8,581.05                0.00             0.00            0.00                  0.00    27
  12/4/2019    0025021-IN         12/4/2019                                             0.00      26,019.28      26,019.28                0.00             0.00            0.00                  0.00    27
  12/4/2019    0025022-IN         12/4/2019                                             0.00       1,054.84       1,054.84                0.00             0.00            0.00                  0.00    27
  12/26/2019   1009563-IN         12/26/2019                                            0.00       3,180.00       3,180.00                0.00             0.00            0.00                  0.00     5
                                                   Customer CEME Totals:                0.00      35,479.33      38,835.17                0.00             0.00        1,124.28               4,480.12-

CEN            Centrocamiones                                        Contact:                                        Phone:     787-784-8000                              Credit Limit:                      0.00
  11/5/2019    1009473-IN         11/5/2019                                             0.00       1,251.03              0.00       1,251.03               0.00              0.00                0.00         56
                                                     Customer CEN Totals:               0.00       1,251.03              0.00       1,251.03               0.00              0.00                    0.00

CERA           Ceramar                                               Contact:                                        Phone:     787-793-3360                              Credit Limit:                      0.00
  6/3/2014     0010941-IN         6/3/2014                                              0.00         120.56           0.00                0.00             0.00              0.00              120.56       2,037
  12/4/2018    0021355-IN         12/4/2018                                             0.00         269.91           0.00                0.00             0.00              0.00              269.91         392
  12/4/2019    0025023-IN         12/4/2019                                             0.00         324.87         324.87                0.00             0.00              0.00                0.00          27
                                                   Customer CERA Totals:                0.00         715.34         324.87                0.00             0.00              0.00               390.47

CFW            Puerto Rico Fleet Wash Service                        Contact:                                        Phone:     787-705-8420          Extension:   2      Credit Limit:                      0.00
  5/1/2018     0019421-IN         5/1/2018                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        609
  6/1/2018     0019708-IN         6/1/2018                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        578
  7/6/2018     0019972-IN         7/6/2018                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        543
  8/2/2018     0020245-IN         8/2/2018                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        516
  9/4/2018     0020516-IN         9/4/2018                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        483
  10/2/2018    0020791-IN         10/2/2018                                             0.00         119.96              0.00             0.00             0.00              0.00              119.96        455
  11/1/2018    0021069-IN         11/1/2018                                             0.00         119.96              0.00             0.00             0.00              0.00              119.96        425
  12/4/2018    0021357-IN         12/4/2018                                             0.00         119.96              0.00             0.00             0.00              0.00              119.96        392
  1/2/2019     0021645-IN         1/2/2019                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        363
  2/1/2019     0021940-IN         2/1/2019                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        333
  3/4/2019     0022232-IN         3/4/2019                                              0.00         119.96              0.00             0.00             0.00              0.00              119.96        302
                                                    Customer CFW Totals:                0.00       1,319.56              0.00             0.00             0.00              0.00             1,319.56

CIEX           Cidra Excavation                                      Contact:                                        Phone:     787-616-8375                              Credit Limit:                      0.00
  7/3/2017     0016916-IN         7/3/2017                                              0.00          49.98              0.00             0.00             0.00              0.00               49.98        911
  7/6/2018     0019973-IN         7/6/2018                                              0.00          49.98              0.00             0.00             0.00              0.00               49.98        543
  8/2/2018     0020246-IN         8/2/2018                                              0.00          49.98              0.00             0.00             0.00              0.00               49.98        516
  9/4/2018     0020517-IN         9/4/2018                                              0.00          49.98              0.00             0.00             0.00              0.00               49.98        483


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Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 28 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates           Job              Discount                                                                                                                      Days
Invoice Date   Number            Invoice           Discount    Number           Amount        Balance           Current          30 Days          60 Days           90 Days                120 Days           Delq


                                                    Customer CIEX Totals:              0.00        199.92                 0.00             0.00             0.00              0.00               199.92

COAGUSA        Coral A. Guadalupe Sánchez                            Contact:                                         Phone:     939-489-7606                              Credit Limit:                       0.00
  10/2/2018    0020793-IN        10/2/2018                                             0.00         24.99                 0.00             0.00             0.00              0.00               24.99         455
  11/1/2018    0021071-IN        11/1/2018                                             0.00         24.99                 0.00             0.00             0.00              0.00               24.99         425
  12/4/2018    0021359-IN        12/4/2018                                             0.00         24.99                 0.00             0.00             0.00              0.00               24.99         392
  1/2/2019     0021646-IN        1/2/2019                                              0.00         24.99                 0.00             0.00             0.00              0.00               24.99         363
  2/1/2019     0021941-IN        2/1/2019                                              0.00         24.99                 0.00             0.00             0.00              0.00               24.99         333
                                               Customer COAGUSA Totals:                0.00        124.95                 0.00             0.00             0.00              0.00               124.95

COBRA          Cobra Transport Inc                                   Contact:                                         Phone:     787-612-0573                              Credit Limit:                       0.00
  1/12/2015    0012070-IN        1/12/2015                                             0.00         40.00                 0.00             0.00             0.00              0.00               40.00        1,814
  2/3/2015     0012211-IN        2/3/2015                                              0.00        109.97                 0.00             0.00             0.00              0.00              109.97        1,792
                                                 Customer COBRA Totals:                0.00        149.97                 0.00             0.00             0.00              0.00               149.97

COMPAT         Compañía de Turismo                                   Contact:                                         Phone:     787-721-2400                              Credit Limit:                       0.00
  7/2/2019     0023446-IN        7/2/2019                                              0.00        168.00              0.00             0.00             0.00               0.00                168.00         182
  8/5/2019     0023758-IN        8/5/2019                                              0.00        168.00              0.00             0.00             0.00               0.00                168.00         148
  9/3/2019     0024078-IN        9/3/2019                                              0.00        168.00              0.00             0.00             0.00             168.00                  0.00         119
  10/3/2019    0024394-IN        10/3/2019                                             0.00        168.00              0.00             0.00           168.00               0.00                  0.00          89
  11/5/2019    0024709-IN        11/5/2019                                             0.00        168.00              0.00           168.00             0.00               0.00                  0.00          56
  12/4/2019    0025025-IN        12/4/2019                                             0.00        168.00            168.00             0.00             0.00               0.00                  0.00          27
                                                Customer COMPAT Totals:                0.00      1,008.00            168.00           168.00           168.00             168.00                 336.00

CONAPO         Construcciones Aponte                                 Contact:                                         Phone:     787-637-4729                              Credit Limit:                       0.00
  1/2/2019     0021648-IN        1/2/2019                                              0.00         24.99              0.00             0.00                0.00              0.00               24.99         363
  9/3/2019     0024079-IN        9/3/2019                                              0.00          0.99              0.00             0.00                0.00              0.99                0.00         119
  11/5/2019    0024710-IN        11/5/2019                                             0.00         24.99              0.00            24.99                0.00              0.00                0.00          56
  12/4/2019    0025026-IN        12/4/2019                                             0.00         24.99             24.99             0.00                0.00              0.00                0.00          27
                                                Customer CONAPO Totals:                0.00         75.96             24.99            24.99                0.00              0.99                24.99

COSSIO         Alberto Cossio Soto                                   Contact:                                         Phone:     787-793-4957                              Credit Limit:                       0.00
  3/3/2014     0010508-IN        3/3/2014                                              0.00             2.80-             0.00             0.00             0.00              0.00                2.80-
                                                 Customer COSSIO Totals:               0.00             2.80-             0.00             0.00             0.00              0.00                    2.80-

CR             Caribbean Restaurants                                 Contact:   Eva Lopez                             Phone:     787-474-7777                              Credit Limit:                       0.00
  10/27/2014   1006661-IN        10/27/2014                                            0.00        217.50-                0.00             0.00             0.00              0.00              217.50-
  11/21/2017   1008707-IN        11/21/2017                                            0.00         58.31-                0.00             0.00             0.00              0.00               58.31-
                                                     Customer CR Totals:               0.00        275.81-                0.00             0.00             0.00              0.00               275.81-

CS             Constructora Santiago                                 Contact:                                         Phone:     787-761-7171                              Credit Limit:                       0.00
  12/4/2019    0025030-IN        12/4/2019                                             0.00         89.96             89.96                0.00             0.00              0.00                0.00          27
                                                     Customer CS Totals:               0.00         89.96             89.96                0.00             0.00              0.00                    0.00

CSIL           Concilio Salud Integral Loíza                         Contact:                                         Phone:     787-876-2042                              Credit Limit:                       0.00
  5/31/2016    1007414-IN        5/31/2016                                             0.00          8.75-             0.00                0.00             0.00              0.00                8.75-
  5/31/2018    0019650-IN        5/31/2018                                             0.00        124.95-             0.00                0.00             0.00              0.00              124.95-
  12/4/2019    1009543-IN        12/4/2019                                             0.00        260.91            260.91                0.00             0.00              0.00                0.00          27
                                                    Customer CSIL Totals:              0.00        127.21            260.91                0.00             0.00              0.00               133.70-

CWS            Consolidated Waste                                    Contact:                                         Phone:     787-273-7639          Extension:   225    Credit Limit:                       0.00
  8/3/2016     0014822-IN        8/3/2016                                              0.00        280.00                 0.00             0.00             0.00              0.00              280.00 1,245
  12/1/2016    0015557-IN        12/1/2016                                             0.00        196.00                 0.00             0.00             0.00              0.00              196.00 1,125
  12/1/2016    0015558-IN        12/1/2016                                             0.00        112.00                 0.00             0.00             0.00              0.00              112.00 1,125
  6/1/2017     0016722-IN        6/1/2017                                              0.00        196.00                 0.00             0.00             0.00              0.00              196.00   943
  6/1/2017     0016723-IN        6/1/2017                                              0.00        140.00                 0.00             0.00             0.00              0.00              140.00   943
  8/1/2017     0017140-IN        8/1/2017                                              0.00        196.00                 0.00             0.00             0.00              0.00              196.00   882
  8/1/2017     0017141-IN        8/1/2017                                              0.00         56.00-                0.00             0.00             0.00              0.00               56.00-
  9/4/2017     0017372-IN        9/4/2017                                              0.00        196.00                 0.00             0.00             0.00              0.00              196.00   848
  9/4/2017     0017373-IN        9/4/2017                                              0.00        140.00                 0.00             0.00             0.00              0.00              140.00   848
  11/3/2017    0017863-IN        11/3/2017                                             0.00        196.00                 0.00             0.00             0.00              0.00              196.00   788
  11/3/2017    0017864-IN        11/3/2017                                             0.00        140.00                 0.00             0.00             0.00              0.00              140.00   788
  12/1/2017    0018127-IN        12/1/2017                                             0.00        196.00                 0.00             0.00             0.00              0.00              196.00   760
  12/1/2017    0018128-IN        12/1/2017                                             0.00        140.00                 0.00             0.00             0.00              0.00              140.00   760
  1/5/2018     0018376-IN        1/5/2018                                              0.00        196.00                 0.00             0.00             0.00              0.00              196.00   725
  1/5/2018     0018377-IN        1/5/2018                                              0.00        140.00                 0.00             0.00             0.00              0.00              140.00   725
                                                    Customer CWS Totals:               0.00      2,408.00                 0.00             0.00             0.00              0.00             2,408.00

DABA           Daniel Báez                                           Contact:                                         Phone:     787-513-6761                              Credit Limit:                       0.00
  4/1/2019     0022535-IN        4/1/2019                                              0.00             0.07-             0.00             0.00             0.00              0.00                0.07-
                                                   Customer DABA Totals:               0.00             0.07-             0.00             0.00             0.00              0.00                    0.07-

DAIVERE        Darwing I Vélez Reyes                                 Contact:                                         Phone:     787-923-1061                              Credit Limit:                       0.00
  6/4/2019     0023144-IN        6/4/2019                                              0.00         49.98              0.00                0.00             0.00            0.00                 49.98         210
  9/3/2019     0024085-IN        9/3/2019                                              0.00         49.98              0.00                0.00             0.00           49.98                  0.00         119
  12/26/2019   1009573-IN        12/26/2019                                            0.00         24.99             24.99                0.00             0.00            0.00                  0.00           5
                                                Customer DAIVERE Totals:               0.00        124.95             24.99                0.00             0.00           49.98                  49.98

DANOSA         Danosa Caribbean Inc.                                 Contact:                                         Phone:     787-4545                                  Credit Limit:                       0.00
  4/25/2011    1004689-IN        4/25/2011                                             0.00        250.00              0.00                0.00             0.00              0.00              250.00        3,172
  12/4/2019    0025035-IN        12/4/2019                                             0.00         99.80             99.80                0.00             0.00              0.00                0.00           27

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  A/R Date: 1/8/2020                                                                                                                                                                          User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 29 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                      Days
Invoice Date   Number             Invoice           Discount   Number           Amount        Balance           Current          30 Days          60 Days           90 Days                120 Days           Delq


                                                Customer DANOSA Totals:                0.00        349.80             99.80                0.00             0.00              0.00               250.00

DECOYRE        Dept. Corrección y Rehabilitac                        Contact:                                         Phone:     787-273-6464                              Credit Limit:                       0.00
  12/15/2017   1008313-IN         12/15/2017                                           0.00             0.25-             0.00             0.00             0.00              0.00                0.25-
                                               Customer DECOYRE Totals:                0.00             0.25-             0.00             0.00             0.00              0.00                    0.25-

DER401         Dermatología 401                                      Contact:                                         Phone:     787-767-2244                              Credit Limit:                       0.00
  6/3/2016     0014481-IN         6/3/2016                                             0.00          8.40-                0.00             0.00             0.00              0.00                8.40-
  6/1/2018     0019719-IN         6/1/2018                                             0.00        119.97                 0.00             0.00             0.00              0.00              119.97         578
  7/2/2019     0023457-IN         7/2/2019                                             0.00        119.97                 0.00             0.00             0.00              0.00              119.97         182
                                                 Customer DER401 Totals:               0.00        231.54                 0.00             0.00             0.00              0.00               231.54

DNT            Day and Night Transport Inc.                          Contact:                                         Phone:     787-783-1598                              Credit Limit:                       0.00
  3/2/2018     0018895-IN         3/2/2018                                             0.00        369.83                 0.00           0.00               0.00              0.00              369.83         669
  11/5/2019    0024720-IN         11/5/2019                                            0.00        369.83                 0.00         369.83               0.00              0.00                0.00          56
  11/5/2019    1009474-IN         11/5/2019                                            0.00         74.97                 0.00          74.97               0.00              0.00                0.00          56
                                                     Customer DNT Totals:              0.00        814.63                 0.00         444.80               0.00              0.00               369.83

DORMAN         Dorman Concrete (Corozal Concr                        Contact:                                         Phone:     787-796-0553                              Credit Limit:                       0.00
  7/6/2018     0019985-IN         7/6/2018                                             0.00        359.82                 0.00             0.00             0.00              0.00              359.82         543
  8/2/2018     0020259-IN         8/2/2018                                             0.00        579.71                 0.00             0.00             0.00              0.00              579.71         516
  9/4/2018     0020530-IN         9/4/2018                                             0.00        579.71                 0.00             0.00             0.00              0.00              579.71         483
                                                Customer DORMAN Totals:                0.00      1,519.24                 0.00             0.00             0.00              0.00             1,519.24

DROUYN         Drouyn & Co                                           Contact:                                         Phone:     (787) 765-6643                            Credit Limit:                       0.00
  12/3/2013    0010070-IN         12/3/2013                                            0.00        149.94                 0.00             0.00             0.00              0.00              149.94        2,219
  4/10/2014    1006132-IN         4/10/2014                                            0.00        198.50                 0.00             0.00             0.00              0.00              198.50        2,091
  2/1/2017     0015945-IN         2/1/2017                                             0.00        199.92                 0.00             0.00             0.00              0.00              199.92        1,063
  1/5/2018     0018382-IN         1/5/2018                                             0.00        199.92                 0.00             0.00             0.00              0.00              199.92          725
  2/1/2018     0018629-IN         2/1/2018                                             0.00        199.92                 0.00             0.00             0.00              0.00              199.92          698
  3/2/2018     0018896-IN         3/2/2018                                             0.00        199.92                 0.00             0.00             0.00              0.00              199.92          669
  4/1/2018     0019152-IN         4/1/2018                                             0.00        199.92                 0.00             0.00             0.00              0.00              199.92          639
  5/1/2018     0019436-IN         5/1/2018                                             0.00        199.92                 0.00             0.00             0.00              0.00              199.92          609
                                                Customer DROUYN Totals:                0.00      1,547.96                 0.00             0.00             0.00              0.00             1,547.96

DRT            Denside Rodriguez Tapia                               Contact:                                         Phone:     787-206-9473                              Credit Limit:                       0.00
  6/4/2019     0023151-IN         6/4/2019                                             0.00         24.99              0.00              0.00            0.00               0.00                 24.99         210
  7/2/2019     0023460-IN         7/2/2019                                             0.00         24.99              0.00              0.00            0.00               0.00                 24.99         182
  8/5/2019     0023772-IN         8/5/2019                                             0.00         24.99              0.00              0.00            0.00               0.00                 24.99         148
  9/3/2019     0024091-IN         9/3/2019                                             0.00         24.99              0.00              0.00            0.00              24.99                  0.00         119
  10/3/2019    0024407-IN         10/3/2019                                            0.00         24.99              0.00              0.00           24.99               0.00                  0.00          89
  11/5/2019    0024722-IN         11/5/2019                                            0.00         24.99              0.00             24.99            0.00               0.00                  0.00          56
  12/4/2019    0025038-IN         12/4/2019                                            0.00         24.99             24.99              0.00            0.00               0.00                  0.00          27
                                                     Customer DRT Totals:              0.00        174.93             24.99             24.99           24.99              24.99                  74.97

DTV            Direct TV                                             Contact:                                         Phone:     787-776-5200          Extension:   2188   Credit Limit:                       0.00
  9/2/2016     0015008-IN         9/2/2016                                             0.00         55.08-                0.00             0.00             0.00              0.00               55.08-
  8/1/2017     0017148-IN         8/1/2017                                             0.00        144.95-                0.00             0.00             0.00              0.00              144.95-
                                                     Customer DTV Totals:              0.00        200.03-                0.00             0.00             0.00              0.00               200.03-

DUST           Dust Control Services Of PR                           Contact:                                         Phone:     787-755-7700                              Credit Limit:                       0.00
  10/3/2019    0024409-IN         10/3/2019                                            0.00        324.87              0.00              0.00          324.87                 0.00                0.00          89
  10/7/2019    1009423-IN         10/7/2019                                            0.00         24.99              0.00              0.00           24.99                 0.00                0.00          85
  11/5/2019    0024724-IN         11/5/2019                                            0.00        324.87              0.00            324.87            0.00                 0.00                0.00          56
  12/4/2019    0025040-IN         12/4/2019                                            0.00        324.87            324.87              0.00            0.00                 0.00                0.00          27
                                                   Customer DUST Totals:               0.00        999.60            324.87            324.87          349.86                 0.00                    0.00

EAM            East A Mere                                           Contact:                                         Phone:     787-717-4675                              Credit Limit:                       0.00
  12/4/2019    0025041-IN         12/4/2019                                            0.00         19.99             19.99                0.00             0.00              0.00                0.00          27
                                                     Customer EAM Totals:              0.00         19.99             19.99                0.00             0.00              0.00                    0.00

EBJ            EBJ Orthotics & Medical Equip                         Contact:   Edna Diaz                             Phone:                                               Credit Limit:                       0.00
  3/3/2016     0014044-IN         3/3/2016                                             0.00             3.50-             0.00             0.00             0.00              0.00                3.50-
                                                     Customer EBJ Totals:              0.00             3.50-             0.00             0.00             0.00              0.00                    3.50-

ECOLO          Ecologica Carmelo Inc.                                Contact:                                         Phone:     787-251-9474                              Credit Limit:                       0.00
  7/2/2019     0023464-IN         7/2/2019                                             0.00        249.90              0.00                0.00             0.00              0.00              249.90         182
  8/15/2019    1009321-IN         8/15/2019                                            0.00         24.99              0.00                0.00             0.00              0.00               24.99         138
  12/4/2019    0025042-IN         12/4/2019                                            0.00        424.83            424.83                0.00             0.00              0.00                0.00          27
                                                  Customer ECOLO Totals:               0.00        699.72            424.83                0.00             0.00              0.00               274.89

ED CONT        ED Contractors Inc.                                   Contact:                                         Phone:     787-944-3702                              Credit Limit:                       0.00
  9/3/2019     0024096-IN         9/3/2019                                             0.00         19.99              0.00              0.00            0.00              19.99                  0.00         119
  10/3/2019    0024412-IN         10/3/2019                                            0.00         19.99              0.00              0.00           19.99               0.00                  0.00          89
  11/5/2019    0024727-IN         11/5/2019                                            0.00         19.99              0.00             19.99            0.00               0.00                  0.00          56
  12/4/2019    0025043-IN         12/4/2019                                            0.00         19.99             19.99              0.00            0.00               0.00                  0.00          27
                                                Customer ED CONT Totals:               0.00         79.96             19.99             19.99           19.99              19.99                      0.00

EDCO           Edyaris Colón                                         Contact:                                         Phone:     787-243-0505                              Credit Limit:                       0.00
  11/5/2019    0024728-IN         11/5/2019                                            0.00         24.99              0.00             24.99               0.00              0.00                0.00          56
  12/4/2019    0025044-IN         12/4/2019                                            0.00         24.99             24.99              0.00               0.00              0.00                0.00          27

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  A/R Date: 1/8/2020                                                                                                                                                                          User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                         Desc: Main
Sorted by Customer Number          Document Page 30 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                        Days
Invoice Date   Number           Invoice           Discount   Number           Amount            Balance           Current          30 Days          60 Days          90 Days               120 Days           Delq


                                                 Customer EDCO Totals:                0.00             49.98            24.99            24.99                0.00             0.00                   0.00

EFRA           Efraín Núñez                                        Contact:                                             Phone:                                             Credit Limit:                       0.00
  5/22/2012    1005317-IN       5/22/2012                                             0.00            374.49                0.00             0.00             0.00             0.00             374.49        2,779
                                                  Customer EFRA Totals:               0.00            374.49                0.00             0.00             0.00             0.00              374.49

EG             ESCALERA GAS                                        Contact:                                             Phone:     787-855-1670                            Credit Limit:                       0.00
  3/10/2014    1006090-IN       3/10/2014                                             0.00            155.44                0.00             0.00             0.00             0.00             155.44        2,122
  9/4/2017     0017386-IN       9/4/2017                                              0.00             79.96                0.00             0.00             0.00             0.00              79.96          848
                                                    Customer EG Totals:               0.00            235.40                0.00             0.00             0.00             0.00              235.40

ELIHER         Eliezer Hernández                                   Contact:   Enid Sanfelíz                             Phone:     787-400-3180                            Credit Limit:                       0.00
  10/3/2019    0024416-IN       10/3/2019                                             0.00            224.91             0.00             0.00           224.91                0.00               0.00          89
  11/5/2019    0024731-IN       11/5/2019                                             0.00            224.91             0.00           224.91             0.00                0.00               0.00          56
  12/4/2019    0025047-IN       12/4/2019                                             0.00            224.91           224.91             0.00             0.00                0.00               0.00          27
                                                Customer ELIHER Totals:               0.00            674.73           224.91           224.91           224.91                0.00                   0.00

ELMON          Elías Montalvo Rivera                               Contact:                                             Phone:     787-960-1920                            Credit Limit:                       0.00
  1/2/2019     0021667-IN       1/2/2019                                              0.00            105.77-               0.00             0.00             0.00             0.00             105.77-
                                                Customer ELMON Totals:                0.00            105.77-               0.00             0.00             0.00             0.00              105.77-

EMEMED         Emergency Medical Inc.                              Contact:                                             Phone:     787-762-0121                            Credit Limit:                       0.00
  3/4/2019     0022254-IN       3/4/2019                                              0.00            405.21                0.00          0.00             0.00                0.00             405.21         302
  3/4/2019     0022255-IN       3/4/2019                                              0.00            520.00                0.00          0.00             0.00                0.00             520.00         302
  3/13/2019    1009028-IN       3/13/2019                                             0.00             88.40                0.00          0.00             0.00                0.00              88.40         293
  7/2/2019     0023473-IN       7/2/2019                                              0.00              2.50                0.00          0.00             0.00                0.00               2.50         182
  10/3/2019    0024418-IN       10/3/2019                                             0.00            474.81                0.00          0.00           474.81                0.00               0.00          89
  10/3/2019    0024419-IN       10/3/2019                                             0.00            522.50                0.00          0.00           522.50                0.00               0.00          89
  11/5/2019    0024733-IN       11/5/2019                                             0.00            474.81                0.00        474.81             0.00                0.00               0.00          56
  11/5/2019    0024734-IN       11/5/2019                                             0.00            522.50                0.00        522.50             0.00                0.00               0.00          56
                                              Customer EMEMED Totals:                 0.00           3,010.73               0.00        997.31           997.31                0.00            1,016.11

EMNIPE         Emanuel Nieves Pérez                                Contact:                                             Phone:     939-630-4443                            Credit Limit:                       0.00
  9/3/2019     0024105-IN       9/3/2019                                              0.00             30.25-            0.00             0.00                0.00        30.25-                  0.00
  11/5/2019    0024735-IN       11/5/2019                                             0.00             24.99             0.00            24.99                0.00         0.00                   0.00          56
  12/4/2019    0025051-IN       12/4/2019                                             0.00             24.99            24.99             0.00                0.00         0.00                   0.00          27
                                               Customer EMNIPE Totals:                0.00             19.73            24.99            24.99                0.00         30.25-                     0.00

EMOR           Emilio Moreira                                      Contact:                                             Phone:     787-768-7334                            Credit Limit:                       0.00
  6/4/2019     0023166-IN       6/4/2019                                              0.00             27.86                0.00             0.00             0.00             0.00              27.86         210
                                                 Customer EMOR Totals:                0.00             27.86                0.00             0.00             0.00             0.00               27.86

EOB            Empresas Ortiz Brunett                              Contact:   Karl Córdova                              Phone:     787-798-1273                            Credit Limit:                       0.00
  12/1/2017    0018144-IN       12/1/2017                                             0.00             74.87             0.00             0.00                0.00             0.00              74.87         760
  5/3/2019     0022858-IN       5/3/2019                                              0.00             74.97             0.00             0.00                0.00             0.00              74.97         242
  11/5/2019    0024737-IN       11/5/2019                                             0.00             74.97             0.00            74.97                0.00             0.00               0.00          56
  12/4/2019    0025053-IN       12/4/2019                                             0.00             74.97            74.97             0.00                0.00             0.00               0.00          27
                                                   Customer EOB Totals:               0.00            299.78            74.97            74.97                0.00             0.00              149.84

EPDSI          Empacadora y Procesadora Sur                        Contact:                                             Phone:     787-364-7229                            Credit Limit:                       0.00
  10/1/2014    0011666-IN       10/1/2014                                             0.00             19.99             0.00             0.00                0.00             0.00              19.99        1,917
  5/3/2016     0014330-IN       5/3/2016                                              0.00             99.95             0.00             0.00                0.00             0.00              99.95        1,337
  12/1/2016    0015571-IN       12/1/2016                                             0.00              0.90             0.00             0.00                0.00             0.00               0.90        1,125
  5/1/2018     0019449-IN       5/1/2018                                              0.00            119.94             0.00             0.00                0.00             0.00             119.94          609
  11/5/2019    0024738-IN       11/5/2019                                             0.00            119.94             0.00           119.94                0.00             0.00               0.00           56
  12/4/2019    0025054-IN       12/4/2019                                             0.00            119.94           119.94             0.00                0.00             0.00               0.00           27
                                                 Customer EPDSI Totals:               0.00            480.66           119.94           119.94                0.00             0.00              240.78

ERGS           ER Generator Services                               Contact:                                             Phone:     787-763-9567                            Credit Limit:                       0.00
  2/11/2016    1007237-IN       2/11/2016                                             0.00                2.77-             0.00             0.00             0.00             0.00               2.77-
                                                 Customer ERGS Totals:                0.00                2.77-             0.00             0.00             0.00             0.00                   2.77-

ERJDEJE        Eric J De Jesús Cruz                                Contact:   Johanna Correa Forty                      Phone:     787-364-9161                            Credit Limit:                       0.00
  1/5/2018     0018395-IN       1/5/2018                                              0.00             24.96                0.00             0.00             0.00             0.00              24.96         725
  2/1/2018     0018642-IN       2/1/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         698
  3/2/2018     0018910-IN       3/2/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         669
  4/1/2018     0019167-IN       4/1/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         639
  5/1/2018     0019451-IN       5/1/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         609
  6/1/2018     0019736-IN       6/1/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         578
  7/6/2018     0020000-IN       7/6/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         543
  8/2/2018     0020274-IN       8/2/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         516
  9/4/2018     0020545-IN       9/4/2018                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         483
  10/2/2018    0020820-IN       10/2/2018                                             0.00             24.99                0.00             0.00             0.00             0.00              24.99         455
  11/1/2018    0021099-IN       11/1/2018                                             0.00             24.99                0.00             0.00             0.00             0.00              24.99         425
  12/4/2018    0021388-IN       12/4/2018                                             0.00             24.99                0.00             0.00             0.00             0.00              24.99         392
  1/2/2019     0021675-IN       1/2/2019                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         363
  2/1/2019     0021969-IN       2/1/2019                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         333
  3/4/2019     0022261-IN       3/4/2019                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         302
  4/1/2019     0022558-IN       4/1/2019                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         274
  5/3/2019     0022861-IN       5/3/2019                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         242
  6/4/2019     0023170-IN       6/4/2019                                              0.00             24.99                0.00             0.00             0.00             0.00              24.99         210

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          Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                            Desc: Main
Sorted by Customer Number           Document Page 31 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                         Skytec, Inc. (ST2)

Customer/        Invoice                        Due Dates          Job              Discount                                                                                                                    Days
Invoice Date     Number               Invoice           Discount   Number           Amount            Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  7/2/2019       0023479-IN           7/2/2019                                              0.00            24.99           0.00             0.00             0.00             0.00                 24.99        182
  8/5/2019       0023791-IN           8/5/2019                                              0.00            24.99           0.00             0.00             0.00             0.00                 24.99        148
  9/3/2019       0024110-IN           9/3/2019                                              0.00            24.99           0.00             0.00             0.00            24.99                  0.00        119
  10/3/2019      0024425-IN           10/3/2019                                             0.00            24.99           0.00             0.00            24.99             0.00                  0.00         89
  11/5/2019      0024740-IN           11/5/2019                                             0.00            24.99           0.00            24.99             0.00             0.00                  0.00         56
  12/4/2019      0025057-IN           12/4/2019                                             0.00            24.99          24.99             0.00             0.00             0.00                  0.00         27
                                                    Customer ERJDEJE Totals:                0.00           599.73          24.99            24.99            24.99            24.99                 499.77

ERPAAL           Eric Pacheco Almodóvar                                  Contact:                                          Phone:     787-543-6236                            Credit Limit:                      0.00
  9/3/2019       0024111-IN           9/3/2019                                              0.00            33.32           0.00             0.00             0.00            33.32                  0.00        119
  10/3/2019      0024426-IN           10/3/2019                                             0.00            99.96           0.00             0.00            99.96             0.00                  0.00         89
  11/5/2019      0024741-IN           11/5/2019                                             0.00            99.96           0.00            99.96             0.00             0.00                  0.00         56
  12/4/2019      0025058-IN           12/4/2019                                             0.00            99.96          99.96             0.00             0.00             0.00                  0.00         27
                                                     Customer ERPAAL Totals:                0.00           333.20          99.96            99.96            99.96            33.32                      0.00

EXCEL            Excel Gasoline & Foot Mart, Co                          Contact:                                          Phone:     787-266-3511                            Credit Limit:                      0.00
  2/1/2019       0021971-IN           2/1/2019                                              0.00            84.98-          0.00             0.00                0.00             0.00              84.98-
  11/5/2019      0024743-IN           11/5/2019                                             0.00            19.99           0.00            19.99                0.00             0.00               0.00         56
  12/4/2019      0025060-IN           12/4/2019                                             0.00            19.99          19.99             0.00                0.00             0.00               0.00         27
                                                      Customer EXCEL Totals:                0.00            45.00-         19.99            19.99                0.00             0.00               84.98-

FAMDEL           Family Delivery                                         Contact:                                          Phone:     787-385-1901                            Credit Limit:                      0.00
  6/4/2019       0023174-IN           6/4/2019                                              0.00            13.15           0.00             0.00             0.00            0.00                  13.15        210
  6/13/2019      1009178-IN           6/13/2019                                             0.00            49.98           0.00             0.00             0.00            0.00                  49.98        201
  7/2/2019       0023483-IN           7/2/2019                                              0.00           149.94           0.00             0.00             0.00            0.00                 149.94        182
  8/5/2019       0023795-IN           8/5/2019                                              0.00           149.94           0.00             0.00             0.00            0.00                 149.94        148
  9/3/2019       0024114-IN           9/3/2019                                              0.00           149.94           0.00             0.00             0.00          149.94                   0.00        119
  10/3/2019      0024429-IN           10/3/2019                                             0.00           149.94           0.00             0.00           149.94            0.00                   0.00         89
  11/5/2019      0024744-IN           11/5/2019                                             0.00           149.94           0.00           149.94             0.00            0.00                   0.00         56
  12/4/2019      0025061-IN           12/4/2019                                             0.00           149.94         149.94             0.00             0.00            0.00                   0.00         27
                                                     Customer FAMDEL Totals:                0.00           962.77         149.94           149.94           149.94           149.94                 363.01

FEAVI            Félix Avilés                                            Contact:   Wilfredo Rivera                        Phone:     787-531-9607                            Credit Limit:                      0.00
  10/3/2019      0024430-IN           10/3/2019                                             0.00            24.99           0.00             0.00            24.99                0.00               0.00         89
  11/5/2019      0024745-IN           11/5/2019                                             0.00            24.99           0.00            24.99             0.00                0.00               0.00         56
  12/4/2019      0025062-IN           12/4/2019                                             0.00            24.99          24.99             0.00             0.00                0.00               0.00         27
                                                       Customer FEAVI Totals:               0.00            74.97          24.99            24.99            24.99                0.00                   0.00

FIVE             Five Star Quality Services                              Contact:                                          Phone:     787-624-9633                            Credit Limit:                      0.00
  12/13/2019     1009550-IN           12/13/2019                                            0.00           224.94         224.94                0.00             0.00             0.00               0.00         18
                                                        Customer FIVE Totals:               0.00           224.94         224.94                0.00             0.00             0.00                   0.00

FN               FRANCISCO NARVAEZ                                       Contact:                                          Phone:     787-403-5190                            Credit Limit:                      0.00
  11/5/2019      0024749-IN           11/5/2019                                             0.00            74.97           0.00            74.97                0.00             0.00               0.00         56
  12/4/2019      0025066-IN           12/4/2019                                             0.00            74.97          74.97             0.00                0.00             0.00               0.00         27
                                                          Customer FN Totals:               0.00           149.94          74.97            74.97                0.00             0.00                   0.00

FPC              Ferreterias Papo's Comercial                            Contact:                                          Phone:     787-738-0500                            Credit Limit:                      0.00
  9/3/2019       0024120-IN           9/3/2019                                              0.00            49.98              0.00             0.00             0.00         49.98                  0.00        119
                                                         Customer FPC Totals:               0.00            49.98              0.00             0.00             0.00         49.98                      0.00

FR               FR Construction                                         Contact:   Jose boiles                            Phone:     787-753-7010                            Credit Limit:                5,000.00
  3/13/2012      1005189-CM                                                                 0.00            73.83-             0.00             0.00             0.00             0.00              73.83-
                                                          Customer FR Totals:               0.00            73.83-             0.00             0.00             0.00             0.00               73.83-

FRC              F & R Contractors                                       Contact:                                          Phone:     787-753-7010                            Credit Limit:                      0.00
  1/18/2011      1004575-IN           1/18/2011                                             0.00            73.83              0.00             0.00             0.00             0.00              73.83       3,269
                                                         Customer FRC Totals:               0.00            73.83              0.00             0.00             0.00             0.00               73.83

FREIJE           Freije Supply, Inc                                      Contact:                                          Phone:     787-768-8068                            Credit Limit:                      0.00
  11/5/2019      0024752-IN           11/5/2019                                             0.00            64.97           0.00            64.97                0.00             0.00               0.00         56
  12/4/2019      0025069-IN           12/4/2019                                             0.00            64.97          64.97             0.00                0.00             0.00               0.00         27
                                                      Customer FREIJE Totals:               0.00           129.94          64.97            64.97                0.00             0.00                   0.00

FRENCH           Frenchys Ambulance                                      Contact:                                          Phone:     787-599-1286                            Credit Limit:                      0.00
  12/4/2019      0025070-IN           12/4/2019                                             0.00            20.00          20.00                0.00             0.00             0.00               0.00         27
                                                    Customer FRENCH Totals:                 0.00            20.00          20.00                0.00             0.00             0.00                   0.00

FRESH            Freshmart                                               Contact:                                          Phone:     787-776-7445                            Credit Limit:                      0.00
  3/2/2018       0018920-IN           3/2/2018                                              0.00            72.87           0.00                0.00          0.00                0.00              72.87        669
  4/1/2018       0019178-IN           4/1/2018                                              0.00            74.97           0.00                0.00          0.00                0.00              74.97        639
  10/7/2019      1009427-IN           10/7/2019                                             0.00            27.03           0.00                0.00         27.03                0.00               0.00         85
  12/4/2019      0025071-IN           12/4/2019                                             0.00           124.95         124.95                0.00          0.00                0.00               0.00         27
                                                      Customer FRESH Totals:                0.00           299.82         124.95                0.00         27.03                0.00              147.84

FUTE             Fusetelecom LLC                                         Contact:   Manuel Miranda                         Phone:     787-705-0505                            Credit Limit:                      0.00
  5/3/2019       0022875-IN           5/3/2019                                              0.00           149.94-             0.00             0.00             0.00             0.00             149.94-
                                                        Customer FUTE Totals:               0.00           149.94-             0.00             0.00             0.00             0.00              149.94-

GATEC            GATEC INC.                                              Contact:                                          Phone:     787-704-2771                            Credit Limit:                      0.00
  4/1/2019       0022573-IN           4/1/2019                                              0.00           179.94              0.00             0.00             0.00             0.00             179.94        274

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     A/R Date: 1/8/2020                                                                                                                                                                          User Logon: laura
        Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                         Desc: Main
Sorted by Customer Number         Document Page 32 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates           Job              Discount                                                                                                                      Days
Invoice Date   Number           Invoice           Discount    Number           Amount          Balance           Current           30 Days          60 Days          90 Days               120 Days          Delq


  5/3/2019     0022876-IN       5/3/2019                                              0.00          179.94              0.00                 0.00             0.00             0.00             179.94        242
  12/4/2019    0025073-IN       12/4/2019                                             0.00          209.93            209.93                 0.00             0.00             0.00               0.00         27
                                                 Customer GATEC Totals:               0.00          569.81            209.93                 0.00             0.00             0.00              359.88

GENOFF         GENERAL OFFICE INDUSTRIES                            Contact:                                           Phone:      787-788-0557                            Credit Limit:                      0.00
  11/17/2016   1007688-IN       11/17/2016                                            0.00          221.30                 0.00              0.00             0.00             0.00             221.30       1,139
  2/1/2018     0018654-IN       2/1/2018                                              0.00            0.03                 0.00              0.00             0.00             0.00               0.03         698
  6/1/2018     0019750-IN       6/1/2018                                              0.00            0.03                 0.00              0.00             0.00             0.00               0.03         578
  7/6/2018     0020014-IN       7/6/2018                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98         543
  2/1/2019     0021985-IN       2/1/2019                                              0.00            0.03                 0.00              0.00             0.00             0.00               0.03         333
  4/1/2019     0022574-IN       4/1/2019                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98         274
  6/24/2019    1009194-IN       6/24/2019                                             0.00           24.99                 0.00              0.00             0.00             0.00              24.99         190
                                                Customer GENOFF Totals:               0.00          346.34                 0.00              0.00             0.00             0.00              346.34

GETO           Gerald Torres                                        Contact:                                           Phone:      787-704-2771                            Credit Limit:                      0.00
  4/1/2019     0022575-IN       4/1/2019                                              0.00           59.98              0.00              0.00             0.00             0.00                 59.98        274
  5/3/2019     0022878-IN       5/3/2019                                              0.00           89.97              0.00              0.00             0.00             0.00                 89.97        242
  6/4/2019     0023188-IN       6/4/2019                                              0.00           89.97              0.00              0.00             0.00             0.00                 89.97        210
  7/2/2019     0023497-IN       7/2/2019                                              0.00           89.97              0.00              0.00             0.00             0.00                 89.97        182
  8/5/2019     0023809-IN       8/5/2019                                              0.00           89.97              0.00              0.00             0.00             0.00                 89.97        148
  9/3/2019     0024128-IN       9/3/2019                                              0.00           89.97              0.00              0.00             0.00            89.97                  0.00        119
  10/3/2019    0024443-IN       10/3/2019                                             0.00           89.97              0.00              0.00            89.97             0.00                  0.00         89
  11/5/2019    0024758-IN       11/5/2019                                             0.00           89.97              0.00             89.97             0.00             0.00                  0.00         56
  12/4/2019    0025075-IN       12/4/2019                                             0.00           89.97             89.97              0.00             0.00             0.00                  0.00         27
                                                  Customer GETO Totals:               0.00          779.74             89.97             89.97            89.97            89.97                 419.86

GLENN          Ignacio Diaz                                         Contact:                                           Phone:      787-565-5197                            Credit Limit:                      0.00
  1/5/2018     0018409-IN       1/5/2018                                              0.00          200.05-                0.00              0.00             0.00             0.00             200.05-
                                                 Customer GLENN Totals:               0.00          200.05-                0.00              0.00             0.00             0.00              200.05-

GLOBALC        Global Comm                                          Contact:                                           Phone:      787-919-7316                            Credit Limit:                      0.00
  12/4/2019    0025076-IN       12/4/2019                                             0.00               5.02-             5.02-             0.00             0.00             0.00               0.00
                                             Customer GLOBALC Totals:                 0.00               5.02-             5.02-             0.00             0.00             0.00                   0.00

GLOSAN         Gloria Santo Santiago                                Contact:                                           Phone:      787-633-0446                            Credit Limit:                      0.00
  9/3/2019     0024130-IN       9/3/2019                                              0.00           24.99              0.00              0.00             0.00            24.99                  0.00        119
  10/3/2019    0024445-IN       10/3/2019                                             0.00           24.99              0.00              0.00            24.99             0.00                  0.00         89
  11/5/2019    0024760-IN       11/5/2019                                             0.00           24.99              0.00             24.99             0.00             0.00                  0.00         56
  12/4/2019    0025077-IN       12/4/2019                                             0.00           24.99             24.99              0.00             0.00             0.00                  0.00         27
                                                Customer GLOSAN Totals:               0.00           99.96             24.99             24.99            24.99            24.99                      0.00

GMT            GMT Corp                                             Contact:                                           Phone:      787-223-0319                            Credit Limit:                      0.00
  11/1/2019    0102919-PP       11/1/2019                                             0.00          114.19-             0.00                 0.00        114.19-               0.00               0.00
  12/4/2019    0025078-IN       12/4/2019                                             0.00        1,519.24          1,519.24                 0.00          0.00                0.00               0.00         27
                                                    Customer GMT Totals:              0.00        1,405.05          1,519.24                 0.00        114.19-               0.00                   0.00

GNPR           Guardia Nacional de Puerto Ric                       Contact:                                           Phone:                                              Credit Limit:                      0.00
  5/24/2013    1005780-IN       5/24/2013                                             0.00        4,441.32                 0.00            0.00               0.00             0.00           4,441.32       2,412
  1/7/2019     1008858-IN       1/7/2019                                              0.00       11,619.88                 0.00            0.00               0.00             0.00          11,619.88         358
  6/28/2019    1009216-IN       6/28/2019                                             0.00          660.00                 0.00            0.00               0.00             0.00             660.00         186
  11/5/2019    1009488-IN       11/5/2019                                             0.00       14,403.28                 0.00       14,403.28               0.00             0.00               0.00          56
                                                  Customer GNPR Totals:               0.00       31,124.48                 0.00       14,403.28               0.00             0.00           16,721.20

GRAGRO         The Graphics Group Inc.                              Contact:                                           Phone:      787-784-3700                            Credit Limit:                      0.00
  4/4/2017     0016354-IN       4/4/2017                                              0.00           14.99                 0.00              0.00             0.00             0.00              14.99       1,001
  6/4/2019     0023192-IN       6/4/2019                                              0.00           24.99                 0.00              0.00             0.00             0.00              24.99         210
                                              Customer GRAGRO Totals:                 0.00           39.98                 0.00              0.00             0.00             0.00               39.98

GRE            Gas Repair Equipment                                 Contact:   Eileen Rosado                           Phone:      787-749-8055                            Credit Limit:                      0.00
  2/1/2013     0008657-IN       2/1/2013                                              0.00           90.86                 0.00              0.00             0.00             0.00              90.86       2,524
  3/28/2016    1007307-IN       3/28/2016                                             0.00           89.97                 0.00              0.00             0.00             0.00              89.97       1,373
  1/5/2017     0015775-IN       1/5/2017                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98       1,090
  2/1/2017     0015970-IN       2/1/2017                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98       1,063
  3/1/2017     0016158-IN       3/1/2017                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98       1,035
  4/4/2017     0016355-IN       4/4/2017                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98       1,001
  5/3/2017     0016553-IN       5/3/2017                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98         972
  6/1/2017     0016754-IN       6/1/2017                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98         943
  7/3/2017     0016959-IN       7/3/2017                                              0.00           49.98                 0.00              0.00             0.00             0.00              49.98         911
                                                    Customer GRE Totals:              0.00          530.69                 0.00              0.00             0.00             0.00              530.69

GUGANE         Guillermo Gandía Negrón                              Contact:                                           Phone:      787-467-7797                            Credit Limit:                      0.00
  7/2/2019     0023502-IN       7/2/2019                                              0.00          124.95              0.00              0.00             0.00            0.00                 124.95        182
  8/5/2019     0023814-IN       8/5/2019                                              0.00          124.95              0.00              0.00             0.00            0.00                 124.95        148
  9/3/2019     0024133-IN       9/3/2019                                              0.00          124.95              0.00              0.00             0.00          124.95                   0.00        119
  10/3/2019    0024448-IN       10/3/2019                                             0.00          124.95              0.00              0.00           124.95            0.00                   0.00         89
  11/5/2019    0024763-IN       11/5/2019                                             0.00          124.95              0.00            124.95             0.00            0.00                   0.00         56
  12/4/2019    0025080-IN       12/4/2019                                             0.00          124.95            124.95              0.00             0.00            0.00                   0.00         27
  12/17/2019   1009558-IN       12/17/2019                                            0.00          108.62            108.62              0.00             0.00            0.00                   0.00         14
                                                Customer GUGANE Totals:               0.00          858.32            233.57            124.95           124.95           124.95                 249.90

GUNECA         Gustavo J Nevárez Castro                             Contact:                                           Phone:      787-599-6369                            Credit Limit:                      0.00

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  A/R Date: 1/8/2020                                                                                                                                                                          User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                             Desc: Main
Sorted by Customer Number          Document Page 33 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                            Skytec, Inc. (ST2)

Customer/      Invoice                        Due Dates           Job              Discount                                                                                                                        Days
Invoice Date   Number             Invoice             Discount    Number           Amount             Balance        Current          30 Days          60 Days           90 Days                 120 Days          Delq


  12/26/2019   1009570-IN         12/26/2019                                              0.00             158.62         158.62                0.00             0.00              0.00                 0.00          5
                                                  Customer GUNECA Totals:                 0.00             158.62         158.62                0.00             0.00              0.00                     0.00

HECAMO         Héctor A Morales                                         Contact:                                           Phone:     787-528-9294                               Credit Limit:                      0.00
  9/23/2019    0092419-PP         9/23/2019                                               0.00             574.87-          0.00             0.00                0.00           574.87-                 0.00
  11/5/2019    0024765-IN         11/5/2019                                               0.00              24.99           0.00            24.99                0.00             0.00                  0.00         56
  12/4/2019    0025082-IN         12/4/2019                                               0.00              24.99          24.99             0.00                0.00             0.00                  0.00         27
                                                  Customer HECAMO Totals:                 0.00             524.89-         24.99            24.99                0.00           574.87-                     0.00

HEMGUSA        Heber M. Guadalupe Sánchez                               Contact:                                           Phone:     787-980-9526                               Credit Limit:                      0.00
  5/3/2019     0022886-IN         5/3/2019                                                0.00              24.99              0.00             0.00          0.00                0.00                 24.99        242
  6/4/2019     0023196-IN         6/4/2019                                                0.00              24.99              0.00             0.00          0.00                0.00                 24.99        210
  7/2/2019     0023505-IN         7/2/2019                                                0.00              24.99              0.00             0.00          0.00                0.00                 24.99        182
  8/5/2019     0023818-IN         8/5/2019                                                0.00              24.99              0.00             0.00          0.00                0.00                 24.99        148
  9/3/2019     0024137-IN         9/3/2019                                                0.00              24.99              0.00             0.00          0.00               24.99                  0.00        119
  10/3/2019    0024452-IN         10/3/2019                                               0.00              24.99              0.00             0.00         24.99                0.00                  0.00         89
                                                 Customer HEMGUSA Totals:                 0.00             149.94              0.00             0.00         24.99               24.99                  99.96

HERAFA         Héctor M Ramírez Fabián                                  Contact:                                           Phone:     787-299-0594                               Credit Limit:                      0.00
  3/21/2018    1008403-IN         3/21/2018                                               0.00              80.74           0.00             0.00             0.00                0.00                 80.74        650
  4/1/2018     0019188-IN         4/1/2018                                                0.00              24.99           0.00             0.00             0.00                0.00                 24.99        639
  5/1/2018     0019471-IN         5/1/2018                                                0.00              24.99           0.00             0.00             0.00                0.00                 24.99        609
  5/4/2018     1008463-IN         5/4/2018                                                0.00              80.74           0.00             0.00             0.00                0.00                 80.74        606
  6/1/2018     0019756-IN         6/1/2018                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        578
  7/6/2018     0020021-IN         7/6/2018                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        543
  8/2/2018     0020295-IN         8/2/2018                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        516
  9/4/2018     0020567-IN         9/4/2018                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        483
  10/2/2018    0020844-IN         10/2/2018                                               0.00              49.98           0.00             0.00             0.00                0.00                 49.98        455
  11/1/2018    0021124-IN         11/1/2018                                               0.00              49.98           0.00             0.00             0.00                0.00                 49.98        425
  12/4/2018    0021414-IN         12/4/2018                                               0.00              49.98           0.00             0.00             0.00                0.00                 49.98        392
  1/2/2019     0021701-IN         1/2/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        363
  2/1/2019     0021995-IN         2/1/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        333
  3/4/2019     0022288-IN         3/4/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        302
  4/1/2019     0022585-IN         4/1/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        274
  5/3/2019     0022887-IN         5/3/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        242
  6/4/2019     0023197-IN         6/4/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        210
  7/2/2019     0023506-IN         7/2/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        182
  8/5/2019     0023819-IN         8/5/2019                                                0.00              49.98           0.00             0.00             0.00                0.00                 49.98        148
  9/3/2019     0024138-IN         9/3/2019                                                0.00              49.98           0.00             0.00             0.00               49.98                  0.00        119
  10/3/2019    0024453-IN         10/3/2019                                               0.00              49.98           0.00             0.00            49.98                0.00                  0.00         89
  11/5/2019    0024767-IN         11/5/2019                                               0.00              49.98           0.00            49.98             0.00                0.00                  0.00         56
  12/4/2019    0025084-IN         12/4/2019                                               0.00              49.98          49.98             0.00             0.00                0.00                  0.00         27
                                                   Customer HERAFA Totals:                0.00           1,161.08          49.98            49.98            49.98               49.98                 961.16

HEVASP         Héctor Vázquez Spickers                                  Contact:                                           Phone:     787-783-1900                               Credit Limit:                      0.00
  11/5/2019    0024769-IN         11/5/2019                                               0.00             149.94           0.00           149.94                0.00              0.00                 0.00         56
  12/4/2019    0025086-IN         12/4/2019                                               0.00             149.94         149.94             0.00                0.00              0.00                 0.00         27
                                                   Customer HEVASP Totals:                0.00             299.88         149.94           149.94                0.00              0.00                     0.00

HIDTA          Hidta Department                                         Contact:                                           Phone:     305-292-6832                               Credit Limit:                      0.00
  2/2/2017     1007790-IN         2/2/2017                                                0.00              60.72           0.00              0.00               0.00              0.00                60.72       1,062
  4/1/2019     0022586-IN         4/1/2019                                                0.00           1,210.00           0.00              0.00               0.00              0.00             1,210.00         274
  11/5/2019    0024771-IN         11/5/2019                                               0.00           1,375.00           0.00          1,375.00               0.00              0.00                 0.00          56
  12/4/2019    0025088-IN         12/4/2019                                               0.00           1,375.00       1,375.00              0.00               0.00              0.00                 0.00          27
                                                     Customer HIDTA Totals:               0.00           4,020.72       1,375.00          1,375.00               0.00              0.00              1,270.72

HITECH         Hi-tech Products Inc                                     Contact:   Joseph L Carmona                        Phone:     787-257-1707                               Credit Limit:                      0.00
  12/31/2019   1009579-IN         12/31/2019                                              0.00             679.36         679.36                0.00             0.00              0.00                 0.00
                                                   Customer HITECH Totals:                0.00             679.36         679.36                0.00             0.00              0.00                     0.00

HOBART         Hobart Sales & Service                                   Contact:                                           Phone:     787-783-6141                               Credit Limit:                      0.00
  9/10/2018    1008673-IN         9/10/2018                                               0.00              10.00              0.00             0.00             0.00              0.00                10.00        477
                                                  Customer HOBART Totals:                 0.00              10.00              0.00             0.00             0.00              0.00                 10.00

HOLAMI         Hospicio La Milagrosa                                    Contact:                                           Phone:     787-614-0939                               Credit Limit:                      0.00
  12/4/2019    0025090-IN         12/4/2019                                               0.00              49.98          49.98                0.00             0.00              0.00                 0.00         27
                                                   Customer HOLAMI Totals:                0.00              49.98          49.98                0.00             0.00              0.00                     0.00

HSAN           Héctor Santiago                                          Contact:                                           Phone:     787-946-7756                               Credit Limit:                      0.00
  1/2/2019     0021705-IN         1/2/2019                                                0.00              24.99           0.00                0.00             0.00              0.00                24.99        363
  2/1/2019     0021999-IN         2/1/2019                                                0.00              24.99           0.00                0.00             0.00              0.00                24.99        333
  6/4/2019     0023203-IN         6/4/2019                                                0.00              24.99           0.00                0.00             0.00              0.00                24.99        210
  12/4/2019    0025091-IN         12/4/2019                                               0.00              24.99          24.99                0.00             0.00              0.00                 0.00         27
                                                     Customer HSAN Totals:                0.00              99.96          24.99                0.00             0.00              0.00                 74.97

IBC            Instituto de Banca y Comercio                            Contact:                                           Phone:     787-982-3000          Extension:   1081    Credit Limit:                      0.00
  5/28/2014    1006204-IN         5/28/2014                                               0.00              80.35              0.00             0.00             0.00              0.00                80.35       2,043
                                                        Customer IBC Totals:              0.00              80.35              0.00             0.00             0.00              0.00                 80.35

IFV            Industrial Fittings & Valves                             Contact:                                           Phone:     787-251-0840                               Credit Limit:                      0.00
  11/5/2019    0024775-IN         11/5/2019                                               0.00             159.77              0.00        159.77                0.00              0.00                 0.00         56

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  A/R Date: 1/8/2020                                                                                                                                                                                User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 34 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                     Days
Invoice Date   Number             Invoice           Discount   Number           Amount        Balance           Current          30 Days           60 Days          90 Days               120 Days           Delq


  12/4/2019    0025092-IN         12/4/2019                                            0.00        159.77            159.77                0.00              0.00             0.00               0.00          27
                                                      Customer IFV Totals:             0.00        319.54            159.77           159.77                 0.00             0.00                   0.00

IOP            Instituto de Ojos y Piel                              Contact:                                         Phone:     787-769-2477                             Credit Limit:                       0.00
  12/23/2014   1006701-IN         12/23/2014                                           0.00        358.75                 0.00             0.00              0.00             0.00             358.75        1,834
  2/5/2016     0013926-IN         2/5/2016                                             0.00        174.93                 0.00             0.00              0.00             0.00             174.93        1,425
  3/3/2016     0014068-IN         3/3/2016                                             0.00        174.93                 0.00             0.00              0.00             0.00             174.93        1,398
                                                     Customer IOP Totals:              0.00        708.61                 0.00             0.00              0.00             0.00              708.61

IRASAN         Irasema Sánchez Franco                                Contact:                                         Phone:     787-240-2733                             Credit Limit:                       0.00
  12/4/2018    0021423-IN         12/4/2018                                            0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         392
  1/2/2019     0021710-IN         1/2/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         363
  2/1/2019     0022004-IN         2/1/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         333
  3/4/2019     0022297-IN         3/4/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         302
  4/1/2019     0022594-IN         4/1/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         274
  5/3/2019     0022897-IN         5/3/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         242
  6/4/2019     0023208-IN         6/4/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         210
  7/2/2019     0023517-IN         7/2/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         182
  8/5/2019     0023830-IN         8/5/2019                                             0.00         24.99                 0.00             0.00              0.00          0.00                 24.99         148
  9/3/2019     0024149-IN         9/3/2019                                             0.00         24.99                 0.00             0.00              0.00         24.99                  0.00         119
                                                 Customer IRASAN Totals:               0.00        249.90                 0.00             0.00              0.00         24.99                 224.91

ISCAS          Ismael Castro Figueroa                                Contact:                                         Phone:     787-753-3127                             Credit Limit:                       0.00
  7/3/2017     1007978-IN         7/3/2017                                             0.00         80.74                 0.00             0.00              0.00             0.00              80.74         911
  8/1/2017     0017185-IN         8/1/2017                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         882
  9/4/2017     0017421-IN         9/4/2017                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         848
  10/5/2017    0017664-IN         10/5/2017                                            0.00         24.99                 0.00             0.00              0.00             0.00              24.99         817
  11/3/2017    0017911-IN         11/3/2017                                            0.00         24.99                 0.00             0.00              0.00             0.00              24.99         788
  12/1/2017    0018175-IN         12/1/2017                                            0.00         24.99                 0.00             0.00              0.00             0.00              24.99         760
  1/5/2018     0018424-IN         1/5/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         725
  2/1/2018     0018670-IN         2/1/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         698
  3/2/2018     0018939-IN         3/2/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         669
  4/1/2018     0019198-IN         4/1/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         639
  5/1/2018     0019481-IN         5/1/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         609
  6/1/2018     0019766-IN         6/1/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         578
  7/6/2018     0020031-IN         7/6/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         543
  8/2/2018     0020305-IN         8/2/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         516
  9/4/2018     0020577-IN         9/4/2018                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         483
  10/2/2018    0020854-IN         10/2/2018                                            0.00         24.99                 0.00             0.00              0.00             0.00              24.99         455
  11/1/2018    0021134-IN         11/1/2018                                            0.00         24.99                 0.00             0.00              0.00             0.00              24.99         425
  12/4/2018    0021424-IN         12/4/2018                                            0.00         24.99                 0.00             0.00              0.00             0.00              24.99         392
  1/2/2019     0021711-IN         1/2/2019                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         363
  2/1/2019     0022005-IN         2/1/2019                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         333
  3/4/2019     0022298-IN         3/4/2019                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         302
  4/1/2019     0022595-IN         4/1/2019                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         274
  5/3/2019     0022898-IN         5/3/2019                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         242
                                                   Customer ISCAS Totals:              0.00        630.52                 0.00             0.00              0.00             0.00              630.52

ISRIVI         Isnael Rivera Viera                                   Contact:                                         Phone:     787-209-5067                             Credit Limit:                       0.00
  11/15/2019   0151119-PP         11/15/2019                                           0.00             0.67-             0.00             0.67-             0.00             0.00               0.00
                                                   Customer ISRIVI Totals:             0.00             0.67-             0.00             0.67-             0.00             0.00                   0.00

ISRUVA         Ismael Ruiz Vargas                                    Contact:                                         Phone:     787-567-6662                             Credit Limit:                       0.00
  12/27/2019   1009576-IN         12/27/2019                                           0.00         74.99             74.99                0.00              0.00             0.00               0.00           4
                                                 Customer ISRUVA Totals:               0.00         74.99             74.99                0.00              0.00             0.00                   0.00

ITSSYS         ITS Systems Integrators Co.                           Contact:                                         Phone:     787-764-5858                             Credit Limit:                       0.00
  11/1/2016    0015403-IN         11/1/2016                                            0.00             2.80-             0.00             0.00              0.00             0.00               2.80-
                                                  Customer ITSSYS Totals:              0.00             2.80-             0.00             0.00              0.00             0.00                   2.80-

JAM            Pablo Vega/Jam Ambulance                              Contact:                                         Phone:     787-263-0914                             Credit Limit:                       0.00
  11/5/2019    0024781-IN         11/5/2019                                            0.00        402.48              0.00           402.48                 0.00             0.00               0.00          56
  11/5/2019    0024782-IN         11/5/2019                                            0.00         89.97              0.00            89.97                 0.00             0.00               0.00          56
  12/4/2019    0025097-IN         12/4/2019                                            0.00        522.50            522.50             0.00                 0.00             0.00               0.00          27
  12/4/2019    0025098-IN         12/4/2019                                            0.00         89.97             89.97             0.00                 0.00             0.00               0.00          27
                                                     Customer JAM Totals:              0.00      1,104.92            612.47           492.45                 0.00             0.00                   0.00

JAMALU         Jamalu Rental                                         Contact:                                         Phone:     787-795-2100                             Credit Limit:                       0.00
  8/5/2019     0023835-IN         8/5/2019                                             0.00        209.93              0.00             0.00              0.00            0.00                 209.93         148
  8/12/2019    1009283-IN         8/12/2019                                            0.00        149.94              0.00             0.00              0.00            0.00                 149.94         141
  8/12/2019    1009284-IN         8/12/2019                                            0.00         24.99              0.00             0.00              0.00            0.00                  24.99         141
  9/3/2019     0024154-IN         9/3/2019                                             0.00        209.93              0.00             0.00              0.00          209.93                   0.00         119
  10/3/2019    0024468-IN         10/3/2019                                            0.00        179.94              0.00             0.00            179.94            0.00                   0.00          89
  11/5/2019    0024783-IN         11/5/2019                                            0.00        179.94              0.00           179.94              0.00            0.00                   0.00          56
  12/4/2019    0025099-IN         12/4/2019                                            0.00        179.94            179.94             0.00              0.00            0.00                   0.00          27
                                                 Customer JAMALU Totals:               0.00      1,134.61            179.94           179.94            179.94           209.93                 384.86

JANBA          Jan C. Barada Santiago                                Contact:                                         Phone:     787-466-6076                             Credit Limit:                       0.00
  12/4/2018    0021427-IN         12/4/2018                                            0.00         34.43-                0.00             0.00              0.00             0.00              34.43-
  1/2/2019     0021714-IN         1/2/2019                                             0.00         24.99                 0.00             0.00              0.00             0.00              24.99         363
  1/7/2019     1008874-IN         1/7/2019                                             0.00        164.37                 0.00             0.00              0.00             0.00             164.37         358

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  A/R Date: 1/8/2020                                                                                                                                                                         User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                     Desc: Main
Sorted by Customer Number          Document Page 35 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                  Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                   Days
Invoice Date   Number           Invoice           Discount   Number           Amount         Balance          Current          30 Days          60 Days          90 Days               120 Days          Delq


  2/1/2019     0022008-IN       2/1/2019                                              0.00         49.98                0.00          0.00             0.00             0.00                 49.98        333
  3/4/2019     0022301-IN       3/4/2019                                              0.00         49.98                0.00          0.00             0.00             0.00                 49.98        302
  4/1/2019     0022599-IN       4/1/2019                                              0.00         49.98                0.00          0.00             0.00             0.00                 49.98        274
  5/3/2019     0022903-IN       5/3/2019                                              0.00         49.98                0.00          0.00             0.00             0.00                 49.98        242
  6/4/2019     0023214-IN       6/4/2019                                              0.00         49.98                0.00          0.00             0.00             0.00                 49.98        210
  7/2/2019     0023522-IN       7/2/2019                                              0.00         49.98                0.00          0.00             0.00             0.00                 49.98        182
  8/5/2019     0023836-IN       8/5/2019                                              0.00         49.98                0.00          0.00             0.00             0.00                 49.98        148
  9/3/2019     0024155-IN       9/3/2019                                              0.00         49.98                0.00          0.00             0.00            49.98                  0.00        119
  10/3/2019    0024469-IN       10/3/2019                                             0.00         49.98                0.00          0.00            49.98             0.00                  0.00         89
  11/5/2019    0024784-IN       11/5/2019                                             0.00         49.98                0.00         49.98             0.00             0.00                  0.00         56
                                                Customer JANBA Totals:                0.00        654.73                0.00         49.98            49.98            49.98                 504.79

JASA           JASA Construction                                   Contact:                                         Phone:     787-690-4141                            Credit Limit:                      0.00
  6/4/2019     0023215-IN       6/4/2019                                              0.00        114.91             0.00             0.00             0.00            0.00                 114.91        210
  7/2/2019     0023523-IN       7/2/2019                                              0.00        224.91             0.00             0.00             0.00            0.00                 224.91        182
  8/5/2019     0023837-IN       8/5/2019                                              0.00        224.91             0.00             0.00             0.00            0.00                 224.91        148
  9/3/2019     0024156-IN       9/3/2019                                              0.00        224.91             0.00             0.00             0.00          224.91                   0.00        119
  10/3/2019    0024470-IN       10/3/2019                                             0.00        224.91             0.00             0.00           224.91            0.00                   0.00         89
  11/5/2019    0024785-IN       11/5/2019                                             0.00        224.91             0.00           224.91             0.00            0.00                   0.00         56
  12/4/2019    0025100-IN       12/4/2019                                             0.00        224.91           224.91             0.00             0.00            0.00                   0.00         27
                                                  Customer JASA Totals:               0.00      1,464.37           224.91           224.91           224.91           224.91                 564.73

JECA           Jesús Castro                                        Contact:   Jesús Castro                          Phone:     787-309-2046                            Credit Limit:                      0.00
  2/1/2018     0018675-IN       2/1/2018                                              0.00         24.95             0.00             0.00             0.00             0.00                 24.95        698
  3/2/2018     0018944-IN       3/2/2018                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        669
  4/1/2018     0019202-IN       4/1/2018                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        639
  5/1/2018     0019485-IN       5/1/2018                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        609
  6/1/2018     0019770-IN       6/1/2018                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        578
  7/6/2018     0020035-IN       7/6/2018                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        543
  8/2/2018     0020309-IN       8/2/2018                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        516
  9/4/2018     0020581-IN       9/4/2018                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        483
  11/1/2018    0021139-IN       11/1/2018                                             0.00         24.99             0.00             0.00             0.00             0.00                 24.99        425
  12/4/2018    0021429-IN       12/4/2018                                             0.00         24.99             0.00             0.00             0.00             0.00                 24.99        392
  1/2/2019     0021716-IN       1/2/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        363
  2/1/2019     0022010-IN       2/1/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        333
  3/4/2019     0022303-IN       3/4/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        302
  4/1/2019     0022601-IN       4/1/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        274
  5/3/2019     0022905-IN       5/3/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        242
  6/4/2019     0023216-IN       6/4/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        210
  7/2/2019     0023524-IN       7/2/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        182
  8/5/2019     0023838-IN       8/5/2019                                              0.00         24.99             0.00             0.00             0.00             0.00                 24.99        148
  9/3/2019     0024157-IN       9/3/2019                                              0.00         24.99             0.00             0.00             0.00            24.99                  0.00        119
  10/3/2019    0024471-IN       10/3/2019                                             0.00         24.99             0.00             0.00            24.99             0.00                  0.00         89
  11/5/2019    0024786-IN       11/5/2019                                             0.00         24.99             0.00            24.99             0.00             0.00                  0.00         56
  12/4/2019    0025101-IN       12/4/2019                                             0.00         24.99            24.99             0.00             0.00             0.00                  0.00         27
                                                  Customer JECA Totals:               0.00        549.74            24.99            24.99            24.99            24.99                 449.78

JFG            Juan F. García                                      Contact:                                         Phone:                                             Credit Limit:                      0.00
  12/4/2019    0025103-IN       12/4/2019                                             0.00        199.90           199.90                0.00             0.00             0.00               0.00         27
                                                   Customer JFG Totals:               0.00        199.90           199.90                0.00             0.00             0.00                   0.00

JG 911         Junta de Gobierno del Serv911                       Contact:                                         Phone:     787-273-3001                            Credit Limit:                      0.00
  11/13/2019   1009511-IN       11/13/2019                                            0.00      7,057.15                0.00       7,057.15               0.00             0.00               0.00         48
                                                Customer JG 911 Totals:               0.00      7,057.15                0.00       7,057.15               0.00             0.00                   0.00

JLLS           Jones Lang LaSalle                                  Contact:                                         Phone:     787-777-5800                            Credit Limit:                      0.00
  9/2/2011     0006310-IN       9/2/2011                                              0.00         99.80                0.00             0.00             0.00             0.00              99.80 3,042
  2/3/2015     0012251-IN       2/3/2015                                              0.00         99.80-               0.00             0.00             0.00             0.00              99.80-
                                                  Customer JLLS Totals:               0.00             0.00             0.00             0.00             0.00             0.00                   0.00

JMCAB          JM Caribbean Builders Corp                          Contact:                                         Phone:     787-798-7600                            Credit Limit:                      0.00
  5/15/2019    1009136-IN       5/15/2019                                             0.00         39.99-            0.00             0.00             0.00            0.00                  39.99-
  8/5/2019     0023841-IN       8/5/2019                                              0.00        599.74             0.00             0.00             0.00            0.00                 599.74        148
  9/3/2019     0024160-IN       9/3/2019                                              0.00        624.72             0.00             0.00             0.00          624.72                   0.00        119
  9/11/2019    1009381-IN       9/11/2019                                             0.00         44.98             0.00             0.00             0.00           44.98                   0.00        111
  10/3/2019    0024474-IN       10/3/2019                                             0.00        624.72             0.00             0.00           624.72            0.00                   0.00         89
  11/5/2019    0024789-IN       11/5/2019                                             0.00        624.72             0.00           624.72             0.00            0.00                   0.00         56
  12/4/2019    0025104-IN       12/4/2019                                             0.00        624.72           624.72             0.00             0.00            0.00                   0.00         27
                                                Customer JMCAB Totals:                0.00      3,103.61           624.72           624.72           624.72           669.70                 559.75

JOHCO          Johanna Correa Forty                                Contact:                                         Phone:     787-364-9161                            Credit Limit:                      0.00
  12/1/2017    0018183-IN       12/1/2017                                             0.00         49.94                0.00             0.00             0.00             0.00              49.94        760
  1/5/2018     0018432-IN       1/5/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        725
  2/1/2018     0018678-IN       2/1/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        698
  3/2/2018     0018947-IN       3/2/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        669
  4/1/2018     0019205-IN       4/1/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        639
  5/1/2018     0019488-IN       5/1/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        609
  6/1/2018     0019773-IN       6/1/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        578
  7/6/2018     0020039-IN       7/6/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        543
  8/2/2018     0020313-IN       8/2/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        516
  9/4/2018     0020585-IN       9/4/2018                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98        483

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  A/R Date: 1/8/2020                                                                                                                                                                      User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                  Desc: Main
Sorted by Customer Number          Document Page 36 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                               Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                Days
Invoice Date   Number           Invoice           Discount   Number           Amount        Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  10/2/2018    0020862-IN       10/2/2018                                            0.00         49.98           0.00             0.00             0.00             0.00                 49.98        455
  11/1/2018    0021143-IN       11/1/2018                                            0.00         49.98           0.00             0.00             0.00             0.00                 49.98        425
  12/4/2018    0021434-IN       12/4/2018                                            0.00         49.98           0.00             0.00             0.00             0.00                 49.98        392
  1/2/2019     0021720-IN       1/2/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        363
  2/1/2019     0022014-IN       2/1/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        333
  3/4/2019     0022307-IN       3/4/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        302
  4/1/2019     0022605-IN       4/1/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        274
  5/3/2019     0022910-IN       5/3/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        242
  6/4/2019     0023221-IN       6/4/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        210
  7/2/2019     0023530-IN       7/2/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        182
  8/5/2019     0023844-IN       8/5/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        148
  9/3/2019     0024163-IN       9/3/2019                                             0.00         49.98           0.00             0.00             0.00            49.98                  0.00        119
  10/3/2019    0024477-IN       10/3/2019                                            0.00         49.98           0.00             0.00            49.98             0.00                  0.00         89
  11/5/2019    0024792-IN       11/5/2019                                            0.00         49.98           0.00            49.98             0.00             0.00                  0.00         56
  12/4/2019    0025107-IN       12/4/2019                                            0.00         49.98          49.98             0.00             0.00             0.00                  0.00         27
                                                Customer JOHCO Totals:               0.00      1,249.46          49.98            49.98            49.98            49.98               1,049.54

JOLUDAM        José Luis Dávila Mestre                             Contact:                                      Phone:     787-647-4676                            Credit Limit:                      0.00
  12/17/2019   1009556-IN       12/17/2019                                           0.00        133.61         133.61                0.00             0.00             0.00               0.00         14
                                             Customer JOLUDAM Totals:                0.00        133.61         133.61                0.00             0.00             0.00                   0.00

JOMONTA        José Montañez Cruz                                  Contact:                                      Phone:     787-602-1288                            Credit Limit:                      0.00
  4/1/2019     0022607-IN       4/1/2019                                             0.00         49.94           0.00             0.00             0.00             0.00                 49.94        274
  5/3/2019     0022912-IN       5/3/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        242
  6/4/2019     0023223-IN       6/4/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        210
  7/2/2019     0023532-IN       7/2/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        182
  8/5/2019     0023847-IN       8/5/2019                                             0.00         49.98           0.00             0.00             0.00             0.00                 49.98        148
  9/3/2019     0024166-IN       9/3/2019                                             0.00         49.98           0.00             0.00             0.00            49.98                  0.00        119
  10/3/2019    0024480-IN       10/3/2019                                            0.00         49.98           0.00             0.00            49.98             0.00                  0.00         89
  11/5/2019    0024795-IN       11/5/2019                                            0.00         49.98           0.00            49.98             0.00             0.00                  0.00         56
  12/4/2019    0025111-IN       12/4/2019                                            0.00         49.98          49.98             0.00             0.00             0.00                  0.00         27
                                             Customer JOMONTA Totals:                0.00        449.78          49.98            49.98            49.98            49.98                 249.86

JORANI         José M Ramírez Nieves                               Contact:                                      Phone:     787-630-2407                            Credit Limit:                      0.00
  9/3/2019     0024167-IN       9/3/2019                                             0.00         49.98           0.00             0.00             0.00            49.98                  0.00        119
  10/3/2019    0024481-IN       10/3/2019                                            0.00         49.98           0.00             0.00            49.98             0.00                  0.00         89
  11/5/2019    0024796-IN       11/5/2019                                            0.00         49.98           0.00            49.98             0.00             0.00                  0.00         56
  12/4/2019    0025112-IN       12/4/2019                                            0.00         49.98          49.98             0.00             0.00             0.00                  0.00         27
                                               Customer JORANI Totals:               0.00        199.92          49.98            49.98            49.98            49.98                      0.00

JORISA         José J Rivera Sanabria                              Contact:                                      Phone:     787-922-4810                            Credit Limit:                      0.00
  8/5/2019     0023849-IN       8/5/2019                                             0.00         24.99           0.00             0.00             0.00             0.00                 24.99        148
  9/3/2019     0024168-IN       9/3/2019                                             0.00         24.99           0.00             0.00             0.00            24.99                  0.00        119
  10/3/2019    0024482-IN       10/3/2019                                            0.00         24.99           0.00             0.00            24.99             0.00                  0.00         89
  11/5/2019    0024797-IN       11/5/2019                                            0.00         24.99           0.00            24.99             0.00             0.00                  0.00         56
  12/4/2019    0025113-IN       12/4/2019                                            0.00         24.99          24.99             0.00             0.00             0.00                  0.00         27
                                                Customer JORISA Totals:              0.00        124.95          24.99            24.99            24.99            24.99                  24.99

JPA            Javier Perez Andreu                                 Contact:                                      Phone:     787-755-8756                            Credit Limit:                      0.00
  9/4/2018     0020589-IN       9/4/2018                                             0.00         24.95              0.00             0.00          0.00                0.00              24.95        483
  4/1/2019     0022610-IN       4/1/2019                                             0.00         24.95              0.00             0.00          0.00                0.00              24.95        274
  10/3/2019    0024483-IN       10/3/2019                                            0.00         24.95              0.00             0.00         24.95                0.00               0.00         89
                                                   Customer JPA Totals:              0.00         74.85              0.00             0.00         24.95                0.00               49.90

JRUSCBC        J Rodríguez US Customs Broker                       Contact:                                      Phone:     787-705-9136                            Credit Limit:                      0.00
  12/3/2013    0010103-IN       12/3/2013                                            0.00          2.80-             0.00             0.00             0.00             0.00               2.80-
  3/3/2014     0010546-IN       3/3/2014                                             0.00        106.74-             0.00             0.00             0.00             0.00             106.74-
  3/31/2014    1006111-IN       3/31/2014                                            0.00        403.42              0.00             0.00             0.00             0.00             403.42       2,101
  3/31/2014    1006112-IN       3/31/2014                                            0.00        250.00              0.00             0.00             0.00             0.00             250.00       2,101
  4/1/2014     0010696-IN       4/1/2014                                             0.00         20.00-             0.00             0.00             0.00             0.00              20.00-
  6/3/2014     0010988-IN       6/3/2014                                             0.00         59.98-             0.00             0.00             0.00             0.00              59.98-
  8/3/2016     0014867-IN       8/3/2016                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98       1,245
  4/4/2017     0016371-IN       4/4/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98       1,001
  6/1/2017     0016771-IN       6/1/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         943
  7/3/2017     0016976-IN       7/3/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         911
  8/1/2017     0017197-IN       8/1/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         882
  9/4/2017     0017435-IN       9/4/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         848
  10/5/2017    0017678-IN       10/5/2017                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         817
  11/3/2017    0017925-IN       11/3/2017                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         788
  12/1/2017    0018187-IN       12/1/2017                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         760
  1/5/2018     0018437-IN       1/5/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         725
  2/1/2018     0018683-IN       2/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         698
  3/2/2018     0018951-IN       3/2/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         669
  4/1/2018     0019209-IN       4/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         639
  5/1/2018     0019492-IN       5/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         609
  6/1/2018     0019777-IN       6/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         578
  7/6/2018     0020044-IN       7/6/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         543
  8/2/2018     0020318-IN       8/2/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         516
  9/4/2018     0020590-IN       9/4/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         483
  10/2/2018    0020867-IN       10/2/2018                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         455


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  A/R Date: 1/8/2020                                                                                                                                                                   User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number          Document Page 37 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                   Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                   Days
Invoice Date   Number            Invoice           Discount   Number           Amount           Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


                                              Customer JRUSCBC Totals:                0.00         1,603.52              0.00             0.00             0.00             0.00            1,603.52

JUANCR         Juan Carlos Rodriguez Rivera                         Contact:                                         Phone:     787-251-5385                            Credit Limit:                      0.00
  11/5/2019    0024799-IN        11/5/2019                                            0.00             1.40           0.00                1.40             0.00             0.00               0.00         56
  12/4/2019    0025115-IN        12/4/2019                                            0.00           249.90         249.90                0.00             0.00             0.00               0.00         27
                                                Customer JUANCR Totals:               0.00           251.30         249.90                1.40             0.00             0.00                   0.00

JUGOPI         Juan M Gómez Pizarro                                 Contact:                                         Phone:     787-648-4797                            Credit Limit:                      0.00
  12/4/2019    0025116-IN        12/4/2019                                            0.00            49.98          49.98                0.00             0.00             0.00               0.00         27
                                                Customer JUGOPI Totals:               0.00            49.98          49.98                0.00             0.00             0.00                   0.00

JULMAN         Juan L Mantilla                                      Contact:                                         Phone:     787-405-8119                            Credit Limit:                      0.00
  6/1/2018     0019780-IN        6/1/2018                                             0.00             0.01-          0.00             0.00             0.00             0.00                  0.01-
  7/6/2018     0020047-IN        7/6/2018                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        543
  8/2/2018     0020321-IN        8/2/2018                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        516
  9/4/2018     0020593-IN        9/4/2018                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        483
  10/2/2018    0020870-IN        10/2/2018                                            0.00            24.99           0.00             0.00             0.00             0.00                 24.99        455
  11/1/2018    0021150-IN        11/1/2018                                            0.00            24.99           0.00             0.00             0.00             0.00                 24.99        425
  12/4/2018    0021441-IN        12/4/2018                                            0.00            24.99           0.00             0.00             0.00             0.00                 24.99        392
  1/2/2019     0021727-IN        1/2/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        363
  2/1/2019     0022021-IN        2/1/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        333
  3/4/2019     0022315-IN        3/4/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        302
  4/1/2019     0022613-IN        4/1/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        274
  5/3/2019     0022917-IN        5/3/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        242
  6/4/2019     0023229-IN        6/4/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        210
  7/2/2019     0023538-IN        7/2/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        182
  8/5/2019     0023853-IN        8/5/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        148
  9/3/2019     0024172-IN        9/3/2019                                             0.00            24.99           0.00             0.00             0.00            24.99                  0.00        119
  10/3/2019    0024486-IN        10/3/2019                                            0.00            24.99           0.00             0.00            24.99             0.00                  0.00         89
  11/5/2019    0024801-IN        11/5/2019                                            0.00            24.99           0.00            24.99             0.00             0.00                  0.00         56
  12/4/2019    0025117-IN        12/4/2019                                            0.00            24.99          24.99             0.00             0.00             0.00                  0.00         27
                                                Customer JULMAN Totals:               0.00           449.81          24.99            24.99            24.99            24.99                 349.85

KRANE          Krane Solution Inc                                   Contact:                                         Phone:     787-858-7105                            Credit Limit:                      0.00
  10/3/2019    0024488-IN        10/3/2019                                            0.00           105.73              0.00             0.00        105.73                0.00               0.00         89
                                                 Customer KRANE Totals:               0.00           105.73              0.00             0.00        105.73                0.00                   0.00

LAMB           Lizardi Ambulance                                    Contact:                                         Phone:     787-258-7799                            Credit Limit:                      0.00
  11/5/2019    0024805-IN        11/5/2019                                            0.00            49.98           0.00            49.98                0.00             0.00               0.00         56
  12/4/2019    0025121-IN        12/4/2019                                            0.00            49.98          49.98             0.00                0.00             0.00               0.00         27
                                                  Customer LAMB Totals:               0.00            99.96          49.98            49.98                0.00             0.00                   0.00

LAU            Steven Lausell                                       Contact:                                         Phone:     787-381-8584                            Credit Limit:                      0.00
  12/13/2013   1006021-IN        12/13/2013                                           0.00           322.71-          0.00                0.00             0.00             0.00             322.71-
  7/29/2019    7292019-PP        7/29/2019                                            0.00            39.98-          0.00                0.00             0.00             0.00              39.98-
  8/5/2019     0023857-IN        8/5/2019                                             0.00            39.98           0.00                0.00             0.00             0.00              39.98        148
  12/4/2019    0025122-IN        12/4/2019                                            0.00            39.98          39.98                0.00             0.00             0.00               0.00         27
                                                    Customer LAU Totals:              0.00           282.73-         39.98                0.00             0.00             0.00              322.71-

LAUMAL         Laura Maldonado                                      Contact:                                         Phone:     787-513-3463                            Credit Limit:                      0.00
  12/4/2019    0025123-IN        12/4/2019                                            0.00            24.99          24.99                0.00             0.00             0.00               0.00         27
                                                Customer LAUMAL Totals:               0.00            24.99          24.99                0.00             0.00             0.00                   0.00

LAYALAC        Luis Ayala Colón & Suc                               Contact:                                         Phone:     787-792-9000                            Credit Limit:                      0.00
  12/20/2016   1007720-IN        12/20/2016                                           0.00           181.46              0.00             0.00             0.00             0.00             181.46       1,106
                                               Customer LAYALAC Totals:               0.00           181.46              0.00             0.00             0.00             0.00              181.46

LAYAPA         Lázaro Yanes Padrón                                  Contact:                                         Phone:     787-613-7923                            Credit Limit:                      0.00
  11/1/2018    0021156-IN        11/1/2018                                            0.00            24.99           0.00             0.00             0.00             0.00                 24.99        425
  12/4/2018    0021447-IN        12/4/2018                                            0.00            24.99           0.00             0.00             0.00             0.00                 24.99        392
  1/2/2019     0021733-IN        1/2/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        363
  2/1/2019     0022027-IN        2/1/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        333
  3/4/2019     0022321-IN        3/4/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        302
  4/1/2019     0022619-IN        4/1/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        274
  5/3/2019     0022923-IN        5/3/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        242
  6/4/2019     0023235-IN        6/4/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        210
  7/2/2019     0023544-IN        7/2/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        182
  8/5/2019     0023859-IN        8/5/2019                                             0.00            24.99           0.00             0.00             0.00             0.00                 24.99        148
  9/3/2019     0024178-IN        9/3/2019                                             0.00            24.99           0.00             0.00             0.00            24.99                  0.00        119
  10/3/2019    0024493-IN        10/3/2019                                            0.00            24.99           0.00             0.00            24.99             0.00                  0.00         89
  11/5/2019    0024808-IN        11/5/2019                                            0.00            24.99           0.00            24.99             0.00             0.00                  0.00         56
  12/4/2019    0025124-IN        12/4/2019                                            0.00            24.99          24.99             0.00             0.00             0.00                  0.00         27
                                                Customer LAYAPA Totals:               0.00           349.86          24.99            24.99            24.99            24.99                 249.90

LCD            LC Distributors                                      Contact:                                         Phone:     787-704-1425                            Credit Limit:                      0.00
  10/3/2019    0024494-IN        10/3/2019                                            0.00            99.94           0.00             0.00            99.94                0.00               0.00         89
  11/5/2019    0024809-IN        11/5/2019                                            0.00           149.94           0.00           149.94             0.00                0.00               0.00         56
  12/4/2019    0025125-IN        12/4/2019                                            0.00           149.94         149.94             0.00             0.00                0.00               0.00         27
                                                    Customer LCD Totals:              0.00           399.82         149.94           149.94            99.94                0.00                   0.00

LILIAM         Life Link Ambulance                                  Contact:   Wanda Santiago                        Phone:     787-708-4558                            Credit Limit:                      0.00

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          Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                         Desc: Main
Sorted by Customer Number           Document Page 38 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                        Due Dates           Job              Discount                                                                                                                  Days
Invoice Date   Number               Invoice           Discount    Number           Amount          Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  11/5/2019    0024811-IN           11/5/2019                                              0.00          74.97           0.00            74.97                0.00             0.00               0.00         56
  12/4/2019    0025127-IN           12/4/2019                                              0.00          74.97          74.97             0.00                0.00             0.00               0.00         27
                                                     Customer LILIAM Totals:               0.00         149.94          74.97            74.97                0.00             0.00                   0.00

LISHIAM        Life Shield Ambulance Inc                                Contact:   Brunilda Báez                        Phone:     787-698-2506                            Credit Limit:                      0.00
  5/3/2019     0022927-IN           5/3/2019                                               0.00          22.46           0.00             0.00             0.00            0.00                  22.46        242
  6/4/2019     0023239-IN           6/4/2019                                               0.00         622.46           0.00             0.00             0.00            0.00                 622.46        210
  7/2/2019     0023548-IN           7/2/2019                                               0.00         622.46           0.00             0.00             0.00            0.00                 622.46        182
  8/5/2019     0023863-IN           8/5/2019                                               0.00         622.46           0.00             0.00             0.00            0.00                 622.46        148
  9/3/2019     0024182-IN           9/3/2019                                               0.00         622.46           0.00             0.00             0.00          622.46                   0.00        119
  10/3/2019    0024497-IN           10/3/2019                                              0.00         622.46           0.00             0.00           622.46            0.00                   0.00         89
  10/7/2019    1009421-IN           10/7/2019                                              0.00          88.83           0.00             0.00            88.83            0.00                   0.00         85
  11/5/2019    0024812-IN           11/5/2019                                              0.00          99.96           0.00            99.96             0.00            0.00                   0.00         56
  12/4/2019    0025128-IN           12/4/2019                                              0.00          99.96          99.96             0.00             0.00            0.00                   0.00         27
                                                   Customer LISHIAM Totals:                0.00       3,423.51          99.96            99.96           711.29           622.46               1,889.84

LOBE CO        Lobe Construction                                        Contact:                                        Phone:     787-612-8753                            Credit Limit:                      0.00
  7/3/2013     0009382-IN           7/3/2013                                               0.00          23.24           0.00                0.00             0.00             0.00              23.24       2,372
  12/4/2019    0025129-IN           12/4/2019                                              0.00          24.99          24.99                0.00             0.00             0.00               0.00          27
                                                  Customer LOBE CO Totals:                 0.00          48.23          24.99                0.00             0.00             0.00               23.24

LPDN           Laboratorio de Patología Dr.No                           Contact:                                        Phone:                                             Credit Limit:                      0.00
  4/4/2017     0016379-IN           4/4/2017                                               0.00         108.75           0.00             0.00                0.00             0.00             108.75       1,001
  11/13/2019   1009512-IN           11/13/2019                                             0.00          88.83           0.00            88.83                0.00             0.00               0.00          48
  12/4/2019    0025130-IN           12/4/2019                                              0.00         399.84         399.84             0.00                0.00             0.00               0.00          27
                                                      Customer LPDN Totals:                0.00         597.42         399.84            88.83                0.00             0.00              108.75

LPR            LOTERIA DE PUERTO RICO                                   Contact:                                        Phone:     787-759-8842                            Credit Limit:                      0.00
  7/3/2017     0016985-IN           7/3/2017                                               0.00         104.97              0.00             0.00             0.00             0.00             104.97        911
  7/2/2019     0023551-IN           7/2/2019                                               0.00         209.94              0.00             0.00             0.00             0.00             209.94        182
  8/5/2019     0023866-IN           8/5/2019                                               0.00         209.94              0.00             0.00             0.00             0.00             209.94        148
  8/7/2019     0024015-IN           8/7/2019                                               0.00         419.88-             0.00             0.00             0.00             0.00             419.88-
                                                       Customer LPR Totals:                0.00         104.97              0.00             0.00             0.00             0.00              104.97

LRO            Luis Rovira                                              Contact:                                        Phone:     787-922-1742                            Credit Limit:                      0.00
  10/2/2018    0020882-IN           10/2/2018                                              0.00         105.24-          0.00             0.00             0.00             0.00                105.24-
  11/1/2018    0021163-IN           11/1/2018                                              0.00          24.99           0.00             0.00             0.00             0.00                 24.99        425
  12/4/2018    0021453-IN           12/4/2018                                              0.00          24.99           0.00             0.00             0.00             0.00                 24.99        392
  1/2/2019     0021740-IN           1/2/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        363
  2/1/2019     0022033-IN           2/1/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        333
  3/4/2019     0022329-IN           3/4/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        302
  4/1/2019     0022627-IN           4/1/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        274
  5/3/2019     0022931-IN           5/3/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        242
  6/4/2019     0023243-IN           6/4/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        210
  7/2/2019     0023552-IN           7/2/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        182
  8/5/2019     0023867-IN           8/5/2019                                               0.00          24.99           0.00             0.00             0.00             0.00                 24.99        148
  9/3/2019     0024185-IN           9/3/2019                                               0.00          24.99           0.00             0.00             0.00            24.99                  0.00        119
  10/3/2019    0024500-IN           10/3/2019                                              0.00          24.99           0.00             0.00            24.99             0.00                  0.00         89
  11/5/2019    0024815-IN           11/5/2019                                              0.00          24.99           0.00            24.99             0.00             0.00                  0.00         56
  12/4/2019    0025131-IN           12/4/2019                                              0.00          24.99          24.99             0.00             0.00             0.00                  0.00         27
                                                       Customer LRO Totals:                0.00         244.62          24.99            24.99            24.99            24.99                 144.66

LTIRE          Luis Tire Services                                       Contact:                                        Phone:     787-778-8761                            Credit Limit:                      0.00
  8/3/2015     0013101-IN           8/3/2015                                               0.00          19.99              0.00             0.00             0.00             0.00              19.99       1,611
  2/5/2016     0013943-IN           2/5/2016                                               0.00           0.09              0.00             0.00             0.00             0.00               0.09       1,425
                                                     Customer LTIRE Totals:                0.00          20.08              0.00             0.00             0.00             0.00               20.08

LUAYRI         Luis Ayende Rivera                                       Contact:                                        Phone:     787-430-2473                            Credit Limit:                      0.00
  12/4/2019    0025132-IN           12/4/2019                                              0.00          24.99          24.99                0.00             0.00             0.00               0.00         27
                                                    Customer LUAYRI Totals:                0.00          24.99          24.99                0.00             0.00             0.00                   0.00

LUIS I         Luis Ivan Rosario                                        Contact:                                        Phone:     787-830-2500                            Credit Limit:                      0.00
  10/3/2019    0024502-IN           10/3/2019                                              0.00         120.00           0.00             0.00           120.00                0.00               0.00         89
  11/5/2019    0024817-IN           11/5/2019                                              0.00         120.00           0.00           120.00             0.00                0.00               0.00         56
  12/4/2019    0025133-IN           12/4/2019                                              0.00         120.00         120.00             0.00             0.00                0.00               0.00         27
                                                     Customer LUIS I Totals:               0.00         360.00         120.00           120.00           120.00                0.00                   0.00

LUVER          Luis A Verge Vergara                                     Contact:                                        Phone:     787-647-6113                            Credit Limit:                      0.00
  12/4/2019    0025134-IN           12/4/2019                                              0.00          49.98          49.98                0.00             0.00             0.00               0.00         27
                                                    Customer LUVER Totals:                 0.00          49.98          49.98                0.00             0.00             0.00                   0.00

M ALERT        Medical Alert Ambulance                                  Contact:                                        Phone:     787-517-0411                            Credit Limit:                      0.00
  8/5/2019     0023871-IN           8/5/2019                                               0.00          79.94              0.00          0.00             0.00            0.00                  79.94        148
  8/5/2019     0023872-IN           8/5/2019                                               0.00         522.50              0.00          0.00             0.00            0.00                 522.50        148
  9/3/2019     0024189-IN           9/3/2019                                               0.00         209.93              0.00          0.00             0.00          209.93                   0.00        119
  9/3/2019     0024190-IN           9/3/2019                                               0.00         522.50              0.00          0.00             0.00          522.50                   0.00        119
  9/11/2019    1009380-IN           9/11/2019                                              0.00          29.99              0.00          0.00             0.00           29.99                   0.00        111
  10/3/2019    0024504-IN           10/3/2019                                              0.00         239.92              0.00          0.00           239.92            0.00                   0.00         89
  10/3/2019    0024505-IN           10/3/2019                                              0.00         522.50              0.00          0.00           522.50            0.00                   0.00         89
  11/5/2019    0024819-IN           11/5/2019                                              0.00         239.92              0.00        239.92             0.00            0.00                   0.00         56
  11/5/2019    0024820-IN           11/5/2019                                              0.00         522.50              0.00        522.50             0.00            0.00                   0.00         56

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        Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number         Document Page 39 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                   Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                   Days
Invoice Date   Number            Invoice           Discount   Number           Amount           Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  12/4/2019    0025135-IN        12/4/2019                                             0.00          239.92         239.92                0.00             0.00             0.00               0.00         27
  12/4/2019    0025136-IN        12/4/2019                                             0.00          522.50         522.50                0.00             0.00             0.00               0.00         27
  12/31/2019   1009581-IN        12/31/2019                                            0.00           59.98          59.98                0.00             0.00             0.00               0.00
                                                Customer M ALERT Totals:               0.00        3,712.10         822.40           762.42           762.42           762.42                 602.44

MAALVE         Mayaguez Alquiler y Ventas Inc                       Contact:                                         Phone:     787-728-6500                            Credit Limit:                      0.00
  2/1/2019     0022035-IN        2/1/2019                                              0.00          228.56-          0.00                0.00             0.00             0.00             228.56-
  12/4/2019    0025137-IN        12/4/2019                                             0.00           19.99          19.99                0.00             0.00             0.00               0.00         27
                                                Customer MAALVE Totals:                0.00          208.57-         19.99                0.00             0.00             0.00              228.56-

MACO           JB Legacy                                            Contact:   Luis Rodríguez                        Phone:     787-368-0453                            Credit Limit:                      0.00
  11/5/2019    0024822-IN        11/5/2019                                             0.00          299.88           0.00           299.88                0.00             0.00               0.00         56
  12/9/2019    0025285-IN        12/9/2019                                             0.00          299.88-        299.88-            0.00                0.00             0.00               0.00
  12/9/2019    0025286-IN        12/9/2019                                             0.00          149.94         149.94             0.00                0.00             0.00               0.00         22
                                                  Customer MACO Totals:                0.00          149.94         149.94-          299.88                0.00             0.00                   0.00

MAEDIMO        Manuel E Díaz Monzón                                 Contact:   Jorge M Díaz                          Phone:     787-527-6232                            Credit Limit:                      0.00
  8/29/2017    1008083-IN        8/29/2017                                             0.00           80.74              0.00             0.00             0.00             0.00              80.74        854
  9/4/2017     0017451-IN        9/4/2017                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        848
  10/5/2017    0017694-IN        10/5/2017                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        817
  11/3/2017    0017941-IN        11/3/2017                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        788
  12/1/2017    0018203-IN        12/1/2017                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        760
  1/5/2018     0018454-IN        1/5/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        725
                                              Customer MAEDIMO Totals:                 0.00          205.69              0.00             0.00             0.00             0.00              205.69

MANGO          Red Mango                                            Contact:                                         Phone:     787-705-8420                            Credit Limit:                      0.00
  4/1/2018     0019229-IN        4/1/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        639
  5/1/2018     0019512-IN        5/1/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        609
  6/1/2018     0019796-IN        6/1/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        578
  7/6/2018     0020063-IN        7/6/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        543
  8/2/2018     0020337-IN        8/2/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        516
  9/4/2018     0020609-IN        9/4/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        483
  10/2/2018    0020886-IN        10/2/2018                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        455
  11/1/2018    0021167-IN        11/1/2018                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        425
  12/4/2018    0021456-IN        12/4/2018                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        392
  1/2/2019     0021743-IN        1/2/2019                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        363
  2/1/2019     0022036-IN        2/1/2019                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        333
  3/4/2019     0022333-IN        3/4/2019                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        302
                                                 Customer MANGO Totals:                0.00          299.88              0.00             0.00             0.00             0.00              299.88

MAPFRE         MAPFRE                                               Contact:                                         Phone:     787-925-5734                            Credit Limit:                      0.00
  6/27/2013    1005813-IN        6/27/2013                                             0.00          350.00           0.00             0.00             0.00                0.00             350.00       2,378
  5/2/2014     0010853-IN        5/2/2014                                              0.00          713.31           0.00             0.00             0.00                0.00             713.31       2,069
  6/3/2014     0010996-IN        6/3/2014                                              0.00          959.68           0.00             0.00             0.00                0.00             959.68       2,037
  10/1/2014    0011703-IN        10/1/2014                                             0.00            1.00           0.00             0.00             0.00                0.00               1.00       1,917
  4/30/2015    1006818-IN        4/30/2015                                             0.00           77.46           0.00             0.00             0.00                0.00              77.46       1,706
  7/1/2015     0012957-IN        7/1/2015                                              0.00          959.68           0.00             0.00             0.00                0.00             959.68       1,644
  8/10/2015    1006964-IN        8/10/2015                                             0.00          119.96           0.00             0.00             0.00                0.00             119.96       1,604
  8/10/2015    1006965-IN        8/10/2015                                             0.00        1,417.59           0.00             0.00             0.00                0.00           1,417.59       1,604
  8/31/2015    1007001-IN        8/31/2015                                             0.00          236.27           0.00             0.00             0.00                0.00             236.27       1,583
  8/31/2015    1007002-IN        8/31/2015                                             0.00           29.99           0.00             0.00             0.00                0.00              29.99       1,583
  2/24/2016    1007275-IN        2/24/2016                                             0.00           29.99           0.00             0.00             0.00                0.00              29.99       1,406
  3/14/2017    0016275-IN        3/14/2017                                             0.00          116.94-          0.00             0.00             0.00                0.00             116.94-
  3/14/2017    1007847-IN        3/14/2017                                             0.00          189.55           0.00             0.00             0.00                0.00             189.55       1,022
  11/3/2017    0017943-IN        11/3/2017                                             0.00        1,169.61           0.00             0.00             0.00                0.00           1,169.61         788
  10/3/2019    0024508-IN        10/3/2019                                             0.00          959.68           0.00             0.00           959.68                0.00               0.00          89
  11/5/2019    0024824-IN        11/5/2019                                             0.00          959.68           0.00           959.68             0.00                0.00               0.00          56
  12/4/2019    0025140-IN        12/4/2019                                             0.00          779.74         779.74             0.00             0.00                0.00               0.00          27
                                                Customer MAPFRE Totals:                0.00        8,836.25         779.74           959.68           959.68                0.00            6,137.15

MARMA          Marilyn Márquez                                      Contact:                                         Phone:     787-359-2403                            Credit Limit:                      0.00
  8/15/2017    1008028-IN        8/15/2017                                             0.00           80.74              0.00             0.00             0.00             0.00              80.74        868
  9/4/2017     0017454-IN        9/4/2017                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        848
  10/5/2017    0017697-IN        10/5/2017                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        817
  11/3/2017    0017944-IN        11/3/2017                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        788
  12/1/2017    0018206-IN        12/1/2017                                             0.00           24.99              0.00             0.00             0.00             0.00              24.99        760
  1/5/2018     0018457-IN        1/5/2018                                              0.00           24.99              0.00             0.00             0.00             0.00              24.99        725
                                                 Customer MARMA Totals:                0.00          205.69              0.00             0.00             0.00             0.00              205.69

MARMAT         Martín Matos (Grúas)                                 Contact:                                         Phone:     787-579-2345                            Credit Limit:                      0.00
  11/5/2019    0024825-IN        11/5/2019                                             0.00           24.99           0.00            24.99                0.00             0.00               0.00         56
  12/4/2019    0025141-IN        12/4/2019                                             0.00           24.99          24.99             0.00                0.00             0.00               0.00         27
                                                Customer MARMAT Totals:                0.00           49.98          24.99            24.99                0.00             0.00                   0.00

MARTEL         Martel Inc.                                          Contact:                                         Phone:     787-792-2424                            Credit Limit:                      0.00
  12/13/2019   1009547-IN        12/13/2019                                            0.00           94.78          94.78                0.00             0.00             0.00               0.00         18
                                                Customer MARTEL Totals:                0.00           94.78          94.78                0.00             0.00             0.00                   0.00

MASCORP        MAS Corporation                                      Contact:                                         Phone:     787-274-1100                            Credit Limit:                      0.00
  12/4/2019    0025143-IN        12/4/2019                                             0.00          599.76         599.76                0.00             0.00             0.00               0.00         27


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Accounts Receivable Aged Invoice Report                                                                                                                                              Desc: Main
Sorted by Customer Number          Document Page 40 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                            Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                           Days
Invoice Date   Number              Invoice           Discount   Number           Amount             Balance           Current          30 Days          60 Days           90 Days                120 Days           Delq


                                                Customer MASCORP Totals:                 0.00            599.76            599.76                0.00             0.00              0.00                    0.00

MASTER         Master Link Corp.                                      Contact:                                              Phone:     787-846-7655                              Credit Limit:                       0.00
  10/2/2015    0013389-IN          10/2/2015                                             0.00              4.20-                0.00             0.00             0.00              0.00                4.20-
  2/5/2016     0013947-IN          2/5/2016                                              0.00             60.16                 0.00             0.00             0.00              0.00               60.16 1,425
  3/3/2016     0014090-IN          3/3/2016                                              0.00             59.98                 0.00             0.00             0.00              0.00               59.98 1,398
  4/4/2016     0014229-IN          4/4/2016                                              0.00             59.98                 0.00             0.00             0.00              0.00               59.98 1,366
                                                 Customer MASTER Totals:                 0.00            175.92                 0.00             0.00             0.00              0.00               175.92

MAXBI          Maxbilling                                             Contact:   Sheila Otero                               Phone:     787-387-5353                              Credit Limit:                       0.00
  12/4/2019    0025145-IN          12/4/2019                                             0.00             19.99             19.99                0.00             0.00              0.00                0.00          27
                                                    Customer MAXBI Totals:               0.00             19.99             19.99                0.00             0.00              0.00                    0.00

MAYFORD        Mayaguez Ford                                          Contact:                                              Phone:     787-512-1973                              Credit Limit:                       0.00
  4/28/2016    1007359-IN          4/28/2016                                             0.00                 4.47-             0.00             0.00             0.00              0.00                4.47-
                                                Customer MAYFORD Totals:                 0.00                 4.47-             0.00             0.00             0.00              0.00                    4.47-

MBAY           Municipio de Bayamón                                   Contact:                                              Phone:     787-787-7878          Extension:   2316   Credit Limit:                       0.00
  9/10/2018    1008672-IN          9/10/2018                                             0.00             63.50-                0.00             0.00             0.00            0.00                 63.50-
  9/11/2019    1009385-IN          9/11/2019                                             0.00             47.46                 0.00             0.00             0.00           47.46                  0.00         111
                                                    Customer MBAY Totals:                0.00             16.04-                0.00             0.00             0.00           47.46                  63.50-

MC             Municipio de Carolina                                  Contact:   Angel Perez                                Phone:     787-757-2626                              Credit Limit:                       0.00
  10/17/2013   1005957-IN          10/17/2013                                            0.00          2,380.00              0.00              0.00               0.00           0.00               2,380.00        2,266
  9/30/2019    1009409-IN          9/30/2019                                             0.00         10,999.50              0.00              0.00               0.00      10,999.50                   0.00           92
  11/13/2019   1009509-IN          11/13/2019                                            0.00            201.00              0.00            201.00               0.00           0.00                   0.00           48
  11/13/2019   1009510-IN          11/13/2019                                            0.00          3,991.00              0.00          3,991.00               0.00           0.00                   0.00           48
  12/4/2019    0025146-IN          12/4/2019                                             0.00          4,840.00          4,840.00              0.00               0.00           0.00                   0.00           27
  12/4/2019    1009534-IN          12/4/2019                                             0.00         33,240.00         33,240.00              0.00               0.00           0.00                   0.00           27
  12/4/2019    1009535-IN          12/4/2019                                             0.00          2,947.50          2,947.50              0.00               0.00           0.00                   0.00           27
                                                       Customer MC Totals:               0.00         58,599.00         41,027.50          4,192.00               0.00      10,999.50                2,380.00

MCA            Municipio de Caguas                                    Contact:   Hector Reyes                               Phone:     787-746-6100                              Credit Limit:                       0.00
  8/29/2014    1006505-IN          8/29/2014                                             0.00          4,710.00              0.00              0.00            0.00              0.00               4,710.00        1,950
  10/30/2015   1007107-IN          10/30/2015                                            0.00            144.40              0.00              0.00            0.00              0.00                 144.40        1,523
  1/15/2017    1007764-IN          1/15/2017                                             0.00          1,680.00              0.00              0.00            0.00              0.00               1,680.00        1,080
  6/4/2019     0023256-IN          6/4/2019                                              0.00          2,790.00              0.00              0.00            0.00              0.00               2,790.00          210
  7/2/2019     0023567-IN          7/2/2019                                              0.00          2,400.00              0.00              0.00            0.00              0.00               2,400.00          182
  8/5/2019     0023883-IN          8/5/2019                                              0.00          2,400.00              0.00              0.00            0.00              0.00               2,400.00          148
  9/3/2019     0024200-IN          9/3/2019                                              0.00            167.40              0.00              0.00            0.00            167.40                   0.00          119
  9/3/2019     0024201-IN          9/3/2019                                              0.00          2,400.00              0.00              0.00            0.00          2,400.00                   0.00          119
  10/3/2019    0024515-IN          10/3/2019                                             0.00          2,790.00              0.00              0.00        2,790.00              0.00                   0.00           89
  10/3/2019    0024516-IN          10/3/2019                                             0.00          2,400.00              0.00              0.00        2,400.00              0.00                   0.00           89
  11/5/2019    0024831-IN          11/5/2019                                             0.00          2,790.00              0.00          2,790.00            0.00              0.00                   0.00           56
  11/5/2019    0024832-IN          11/5/2019                                             0.00          2,400.00              0.00          2,400.00            0.00              0.00                   0.00           56
  12/4/2019    0025147-IN          12/4/2019                                             0.00          2,790.00          2,790.00              0.00            0.00              0.00                   0.00           27
  12/4/2019    0025148-IN          12/4/2019                                             0.00          2,400.00          2,400.00              0.00            0.00              0.00                   0.00           27
  12/4/2019    1009523-IN          12/4/2019                                             0.00            394.00            394.00              0.00            0.00              0.00                   0.00           27
                                                     Customer MCA Totals:                0.00         32,655.80          5,584.00          5,190.00        5,190.00          2,567.40               14,124.40

MCCAI          Mc QUAY CARIBE INC                                     Contact:                                              Phone:     787-275-1340                              Credit Limit:                       0.00
  6/4/2019     0023258-IN          6/4/2019                                              0.00             24.99              0.00                0.00             0.00              0.00               24.99         210
  12/4/2019    0025149-IN          12/4/2019                                             0.00            199.92            199.92                0.00             0.00              0.00                0.00          27
                                                   Customer MCCAI Totals:                0.00            224.91            199.92                0.00             0.00              0.00                24.99

MCI            Muncipio de Ciales                                     Contact:                                              Phone:     787-871-3500                              Credit Limit:                       0.00
  2/17/2017    1007809-IN          2/17/2017                                             0.00            350.00                 0.00             0.00             0.00              0.00              350.00        1,047
  2/17/2017    1007810-IN          2/17/2017                                             0.00            148.00                 0.00             0.00             0.00              0.00              148.00        1,047
  11/20/2018   1008816-IN          11/20/2018                                            0.00            189.00                 0.00             0.00             0.00              0.00              189.00          406
                                                      Customer MCI Totals:               0.00            687.00                 0.00             0.00             0.00              0.00               687.00

MCOR           Municipio de Corozal                                   Contact:                                              Phone:     787-859-3060                              Credit Limit:                       0.00
  5/23/2016    1007400-IN          5/23/2016                                             0.00            570.98                 0.00             0.00             0.00              0.00              570.98        1,317
  12/5/2016    1007700-IN          12/5/2016                                             0.00          5,975.88                 0.00             0.00             0.00              0.00            5,975.88        1,121
  8/29/2018    1008658-IN          8/29/2018                                             0.00            169.00                 0.00             0.00             0.00              0.00              169.00          489
                                                    Customer MCOR Totals:                0.00          6,715.86                 0.00             0.00             0.00              0.00             6,715.86

MEDEX          Medical Express Rental Equipme                         Contact:                                              Phone:     787-762-7558                              Credit Limit:                       0.00
  9/3/2013     0009683-IN          9/3/2013                                              0.00             20.10              0.00              0.00            0.00               0.00                 20.10        2,310
  10/3/2016    0015243-IN          10/3/2016                                             0.00             49.98              0.00              0.00            0.00               0.00                 49.98        1,184
  9/3/2019     0024203-IN          9/3/2019                                              0.00             74.97              0.00              0.00            0.00              74.97                  0.00          119
  10/3/2019    0024518-IN          10/3/2019                                             0.00             74.97              0.00              0.00           74.97               0.00                  0.00           89
  11/5/2019    0024834-IN          11/5/2019                                             0.00             74.97              0.00             74.97            0.00               0.00                  0.00           56
  12/4/2019    0025150-IN          12/4/2019                                             0.00             74.97             74.97              0.00            0.00               0.00                  0.00           27
                                                   Customer MEDEX Totals:                0.00            369.96             74.97             74.97           74.97              74.97                  70.08

MEDIPR         Medispec Puerto Rico Inc                               Contact:   Rodrigo Guerrero                           Phone:     787-545-5070                              Credit Limit:                       0.00
  12/4/2019    0025151-IN          12/4/2019                                             0.00             24.99             24.99                0.00             0.00              0.00                0.00          27
                                                  Customer MEDIPR Totals:                0.00             24.99             24.99                0.00             0.00              0.00                    0.00

MEDTRAN        Medical Transport Ambulance                            Contact:                                              Phone:     (787) 258-3966                            Credit Limit:                       0.00

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  A/R Date: 1/8/2020                                                                                                                                                                                User Logon: laura
          Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                           Desc: Main
Sorted by Customer Number           Document Page 41 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                        Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                      Days
Invoice Date   Number              Invoice           Discount   Number           Amount            Balance          Current          30 Days          60 Days          90 Days               120 Days          Delq


  6/4/2019     0023261-IN          6/4/2019                                              0.00           672.45             0.00             0.00             0.00                0.00             672.45        210
  6/4/2019     0023262-IN          6/4/2019                                              0.00           522.50             0.00             0.00             0.00                0.00             522.50        210
  10/3/2019    0024520-IN          10/3/2019                                             0.00           149.95             0.00             0.00           149.95                0.00               0.00         89
  11/5/2019    0024836-IN          11/5/2019                                             0.00           149.95             0.00           149.95             0.00                0.00               0.00         56
  12/4/2019    0025152-IN          12/4/2019                                             0.00           149.95           149.95             0.00             0.00                0.00               0.00         27
                                                Customer MEDTRAN Totals:                 0.00         1,644.80           149.95           149.95           149.95                0.00            1,194.95

MEMETRA        Medic Medical Transport                                Contact:   Harrison Ramos                           Phone:     787-612-0911                            Credit Limit:                      0.00
  1/2/2019     0021757-IN          1/2/2019                                              0.00            99.96                0.00             0.00             0.00             0.00              99.96        363
  2/1/2019     0022049-IN          2/1/2019                                              0.00           474.81                0.00             0.00             0.00             0.00             474.81        333
  2/1/2019     0022050-IN          2/1/2019                                              0.00           520.00                0.00             0.00             0.00             0.00             520.00        333
  3/4/2019     0022346-IN          3/4/2019                                              0.00           474.81                0.00             0.00             0.00             0.00             474.81        302
  3/4/2019     0022347-IN          3/4/2019                                              0.00           520.00                0.00             0.00             0.00             0.00             520.00        302
                                                Customer MEMETRA Totals:                 0.00         2,089.58                0.00             0.00             0.00             0.00            2,089.58

MET DES        Met Designers Group Corp                               Contact:                                            Phone:     787-548-9437                            Credit Limit:                      0.00
  8/5/2019     0023888-IN          8/5/2019                                              0.00            49.98             0.00             0.00             0.00             0.00                 49.98        148
  9/3/2019     0024206-IN          9/3/2019                                              0.00            49.98             0.00             0.00             0.00            49.98                  0.00        119
  10/3/2019    0024521-IN          10/3/2019                                             0.00            49.98             0.00             0.00            49.98             0.00                  0.00         89
  11/5/2019    0024837-IN          11/5/2019                                             0.00            49.98             0.00            49.98             0.00             0.00                  0.00         56
  12/4/2019    0025153-IN          12/4/2019                                             0.00            49.98            49.98             0.00             0.00             0.00                  0.00         27
                                                 Customer MET DES Totals:                0.00           249.90            49.98            49.98            49.98            49.98                  49.98

METRO          Metro Diesel, Inc                                      Contact:                                            Phone:     787-565-0144                            Credit Limit:                      0.00
  4/4/2016     0014232-IN          4/4/2016                                              0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,366
  5/3/2016     0014375-IN          5/3/2016                                              0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,337
  6/3/2016     0014536-IN          6/3/2016                                              0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,306
  7/4/2016     0014712-IN          7/4/2016                                              0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,275
  8/3/2016     0014882-IN          8/3/2016                                              0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,245
  9/2/2016     0015064-IN          9/2/2016                                              0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,215
  10/3/2016    0015244-IN          10/3/2016                                             0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,184
  11/1/2016    0015428-IN          11/1/2016                                             0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,155
  12/1/2016    0015619-IN          12/1/2016                                             0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,125
  1/5/2017     0015808-IN          1/5/2017                                              0.00           199.90                0.00             0.00             0.00             0.00             199.90       1,090
                                                   Customer METRO Totals:                0.00         1,999.00                0.00             0.00             0.00             0.00            1,999.00

MF             Municipio de Florida                                   Contact:   Ramonita Colon                           Phone:     822-3514                                Credit Limit:                      0.00
  12/4/2019    1009536-IN          12/4/2019                                             0.00           381.65           381.65                0.00             0.00             0.00               0.00         27
  12/4/2019    1009539-IN          12/4/2019                                             0.00           700.00           700.00                0.00             0.00             0.00               0.00         27
                                                       Customer MF Totals:               0.00         1,081.65         1,081.65                0.00             0.00             0.00                   0.00

MFS            Master Facility Services                               Contact:                                            Phone:     787-963-1900                            Credit Limit:                      0.00
  12/4/2018    0021471-IN          12/4/2018                                             0.00           100.00-            0.00             0.00             0.00            0.00                 100.00-
  5/3/2019     0022952-IN          5/3/2019                                              0.00           344.84             0.00             0.00             0.00            0.00                 344.84        242
  6/4/2019     0023263-IN          6/4/2019                                              0.00           344.84             0.00             0.00             0.00            0.00                 344.84        210
  7/2/2019     0023573-IN          7/2/2019                                              0.00           344.84             0.00             0.00             0.00            0.00                 344.84        182
  8/5/2019     0023889-IN          8/5/2019                                              0.00           344.84             0.00             0.00             0.00            0.00                 344.84        148
  9/3/2019     0024207-IN          9/3/2019                                              0.00           344.84             0.00             0.00             0.00          344.84                   0.00        119
  10/3/2019    0024522-IN          10/3/2019                                             0.00           344.84             0.00             0.00           344.84            0.00                   0.00         89
  11/5/2019    0024838-IN          11/5/2019                                             0.00           344.84             0.00           344.84             0.00            0.00                   0.00         56
  12/4/2019    0025154-IN          12/4/2019                                             0.00           344.84           344.84             0.00             0.00            0.00                   0.00         27
                                                      Customer MFS Totals:               0.00         2,658.72           344.84           344.84           344.84           344.84               1,279.36

MGUAYA         Municipio de Guayama                                   Contact:                                            Phone:     787-864-0600                            Credit Limit:                      0.00
  12/27/2019   1009577-IN          12/27/2019                                            0.00           176.00           176.00                0.00             0.00             0.00               0.00          4
                                                 Customer MGUAYA Totals:                 0.00           176.00           176.00                0.00             0.00             0.00                   0.00

MIRONI         Miguel A Rosario Nieves                                Contact:                                            Phone:     787-922-8713                            Credit Limit:                      0.00
  12/4/2019    0025156-IN          12/4/2019                                             0.00            24.99            24.99                0.00             0.00             0.00               0.00         27
                                                   Customer MIRONI Totals:               0.00            24.99            24.99                0.00             0.00             0.00                   0.00

MISTOLI        Mistolin Caribe Inc.                                   Contact:                                            Phone:     787-785-6805                            Credit Limit:                      0.00
  11/5/2019    0024840-IN          11/5/2019                                             0.00            99.96             0.00            99.96                0.00             0.00               0.00         56
  12/4/2019    0025157-IN          12/4/2019                                             0.00            99.96            99.96             0.00                0.00             0.00               0.00         27
                                                  Customer MISTOLI Totals:               0.00           199.92            99.96            99.96                0.00             0.00                   0.00

MLAJAS         Municipio de Lajas                                     Contact:                                            Phone:     787-899-1450                            Credit Limit:                      0.00
  6/24/2019    1009202-IN          6/24/2019                                             0.00           140.00                0.00             0.00          0.00                0.00             140.00        190
  8/23/2019    1009337-IN          8/23/2019                                             0.00         3,104.00                0.00             0.00          0.00                0.00           3,104.00        130
  10/7/2019    1009434-IN          10/7/2019                                             0.00         7,995.00                0.00             0.00      7,995.00                0.00               0.00         85
                                                  Customer MLAJAS Totals:                0.00        11,239.00                0.00             0.00      7,995.00                0.00            3,244.00

MM             Municipio de Manatí                                    Contact:   Yahaira Lozada                           Phone:     787-854-2024                            Credit Limit:                      0.00
  11/26/2012   1005582-IN          11/26/2012                                            0.00           562.64-               0.00             0.00             0.00             0.00             562.64-
                                                       Customer MM Totals:               0.00           562.64-               0.00             0.00             0.00             0.00              562.64-

MMAY           Municipio de Mayaguez                                  Contact:   Epifanio Trabal                          Phone:     787-834-8585                            Credit Limit:                      0.00
  2/6/2019     1008902-IN          2/6/2019                                              0.00                0.04             0.00             0.00             0.00             0.00               0.04        328
                                                    Customer MMAY Totals:                0.00                0.04             0.00             0.00             0.00             0.00                   0.04

MMT            Medina Medical Transport                               Contact:                                            Phone:     787-404-2220                            Credit Limit:                      0.00

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  A/R Date: 1/8/2020                                                                                                                                                                            User Logon: laura
        Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                                 Desc: Main
Sorted by Customer Number         Document Page 42 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                              Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job             Discount                                                                                                                            Days
Invoice Date   Number             Invoice           Discount   Number          Amount              Balance             Current          30 Days             60 Days          90 Days               120 Days        Delq


  2/1/2019     0022054-IN         2/1/2019                                              0.00               40.00              0.00                0.00             0.00                0.00              40.00      333
  2/11/2019    0022174-IN         2/11/2019                                             0.00              429.52              0.00                0.00             0.00                0.00             429.52      323
  4/10/2019    0022769-IN         4/10/2019                                             0.00              287.38              0.00                0.00             0.00                0.00             287.38      265
  10/3/2019    0024525-IN         10/3/2019                                             0.00              522.50              0.00                0.00           522.50                0.00               0.00       89
  12/4/2019    0025158-IN         12/4/2019                                             0.00               22.50             22.50                0.00             0.00                0.00               0.00       27
  12/9/2019    0025287-IN         12/9/2019                                             0.00              235.00            235.00                0.00             0.00                0.00               0.00       22
                                                    Customer MMT Totals:                0.00            1,536.90            257.50                0.00           522.50                0.00              756.90

MONSANT        Monsanto Isabela                                     Contact:                                                 Phone:                                                Credit Limit:                    0.00
  10/4/2017    1008130-IN         10/4/2017                                             0.00                  97.17-             0.00             0.00                0.00             0.00              97.17-
                                               Customer MONSANT Totals:                 0.00                  97.17-             0.00             0.00                0.00             0.00               97.17-

MPWB           Millenium Pure Water Bottlers                        Contact:   Eileen Benitez                                Phone:     787-748-74782                              Credit Limit:                    0.00
  8/5/2019     0023893-IN         8/5/2019                                              0.00                  24.99           0.00              0.00               0.00             0.00                 24.99      148
  9/3/2019     0024211-IN         9/3/2019                                              0.00                  24.99           0.00              0.00               0.00            24.99                  0.00      119
  10/3/2019    0024526-IN         10/3/2019                                             0.00                  24.99           0.00              0.00              24.99             0.00                  0.00       89
  11/5/2019    0024842-IN         11/5/2019                                             0.00                  24.99           0.00             24.99               0.00             0.00                  0.00       56
  12/4/2019    0025159-IN         12/4/2019                                             0.00                  24.99          24.99              0.00               0.00             0.00                  0.00       27
                                                   Customer MPWB Totals:                0.00              124.95             24.99             24.99              24.99            24.99                  24.99

MRD            MR Drilling                                          Contact:   Ramos                                         Phone:     787-884-4433/9449                          Credit Limit:                    0.00
  5/1/2018     0019531-IN         5/1/2018                                              0.00                  99.62              0.00             0.00                0.00             0.00              99.62      609
  6/1/2018     0019814-IN         6/1/2018                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      578
  7/6/2018     0020081-IN         7/6/2018                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      543
  8/2/2018     0020355-IN         8/2/2018                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      516
  9/4/2018     0020628-IN         9/4/2018                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      483
  10/2/2018    0020905-IN         10/2/2018                                             0.00                  99.80              0.00             0.00                0.00             0.00              99.80      455
  11/1/2018    0021186-IN         11/1/2018                                             0.00                  99.80              0.00             0.00                0.00             0.00              99.80      425
  12/4/2018    0021476-IN         12/4/2018                                             0.00                  99.80              0.00             0.00                0.00             0.00              99.80      392
  1/2/2019     0021763-IN         1/2/2019                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      363
  2/1/2019     0022056-IN         2/1/2019                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      333
  3/4/2019     0022353-IN         3/4/2019                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      302
  4/1/2019     0022650-IN         4/1/2019                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      274
  5/3/2019     0022957-IN         5/3/2019                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80      242
                                                    Customer MRD Totals:                0.00            1,297.22                 0.00             0.00                0.00             0.00            1,297.22

MSJ            Municipio de San Juan                                Contact:   Servicio al Cliente/Directos                  Phone:     787-480-4000                               Credit Limit:                    0.00
  1/12/2012    0006785-IN         1/12/2012                                             0.00           2,817.65                  0.00             0.00                0.00             0.00           2,817.65     2,910
  3/12/2012    0007148-IN         3/12/2012                                             0.00           2,877.60                  0.00             0.00                0.00             0.00           2,877.60     2,850
  3/12/2012    1005186-IN         3/12/2012                                             0.00          15,600.00                  0.00             0.00                0.00             0.00          15,600.00     2,850
  4/2/2012     0007390-IN         4/2/2012                                              0.00           3,202.85                  0.00             0.00                0.00             0.00           3,202.85     2,829
  4/2/2012     0007392-IN         4/2/2012                                              0.00           2,877.60                  0.00             0.00                0.00             0.00           2,877.60     2,829
  4/9/2012     1005231-IN         4/9/2012                                              0.00           3,310.00                  0.00             0.00                0.00             0.00           3,310.00     2,822
  5/1/2012     0007391-IN         5/1/2012                                              0.00           3,202.85                  0.00             0.00                0.00             0.00           3,202.85     2,800
  5/1/2012     0007393-IN         5/1/2012                                              0.00           2,997.50                  0.00             0.00                0.00             0.00           2,997.50     2,800
  6/4/2012     0007521-IN         6/4/2012                                              0.00           2,997.50                  0.00             0.00                0.00             0.00           2,997.50     2,766
  6/4/2012     0007522-IN         6/4/2012                                              0.00           3,202.85                  0.00             0.00                0.00             0.00           3,202.85     2,766
  6/14/2012    1005346-IN         6/14/2012                                             0.00         143,139.00                  0.00             0.00                0.00             0.00         143,139.00     2,756
  7/2/2012     0008174-IN         7/2/2012                                              0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00     2,738
  7/2/2012     0008178-IN         7/2/2012                                              0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48     2,738
  7/11/2012    1005388-IN         7/11/2012                                             0.00             400.00                  0.00             0.00                0.00             0.00             400.00     2,729
  8/2/2012     0008175-IN         8/2/2012                                              0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00     2,707
  8/2/2012     0008179-IN         8/2/2012                                              0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48     2,707
  8/21/2012    1005457-CM                                                               0.00           5,530.00-                 0.00             0.00                0.00             0.00           5,530.00-
  8/31/2012    1005469-IN         8/31/2012                                             0.00           1,680.00                  0.00             0.00                0.00             0.00           1,680.00     2,678
  9/3/2012     0008180-IN         9/3/2012                                              0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48     2,675
  9/28/2012    1005512-IN         9/28/2012                                             0.00           7,084.00                  0.00             0.00                0.00             0.00           7,084.00     2,650
  10/2/2012    0008176-IN         10/2/2012                                             0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00     2,646
  10/2/2012    0008177-IN         10/2/2012                                             0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00     2,646
  10/2/2012    0008181-IN         10/2/2012                                             0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48     2,646
  10/31/2012   1005557-IN         10/31/2012                                            0.00             437.50                  0.00             0.00                0.00             0.00             437.50     2,617
  11/1/2012    0008449-IN         11/1/2012                                             0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00     2,616
  11/1/2012    0008452-IN         11/1/2012                                             0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48     2,616
  11/26/2012   1005578-IN         11/26/2012                                            0.00          77,350.00                  0.00             0.00                0.00             0.00          77,350.00     2,591
  12/5/2012    0008450-IN         12/5/2012                                             0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00     2,582
  12/5/2012    0008451-IN         12/5/2012                                             0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48     2,582
  12/6/2012    1005598-IN         12/6/2012                                             0.00             875.00                  0.00             0.00                0.00             0.00             875.00     2,581
  3/7/2013     1005711-IN         3/7/2013                                              0.00           2,319.00                  0.00             0.00                0.00             0.00           2,319.00     2,490
  5/3/2013     0009157-IN         5/3/2013                                              0.00               0.08-                 0.00             0.00                0.00             0.00               0.08-
  9/3/2013     0009685-IN         9/3/2013                                              0.00           2,747.25                  0.00             0.00                0.00             0.00           2,747.25     2,310
  9/3/2013     0009686-IN         9/3/2013                                              0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00     2,310
  10/7/2013    1005930-IN         10/7/2013                                             0.00               0.40-                 0.00             0.00                0.00             0.00               0.40-
  8/5/2014     1006422-IN         8/5/2014                                              0.00             915.00                  0.00             0.00                0.00             0.00             915.00     1,974
  8/5/2014     1006424-IN         8/5/2014                                              0.00             915.00                  0.00             0.00                0.00             0.00             915.00     1,974
  8/8/2014     1006444-IN         8/8/2014                                              0.00           1,995.00                  0.00             0.00                0.00             0.00           1,995.00     1,971
  12/28/2015   1007179-IN         12/28/2015                                            0.00           8,500.04                  0.00             0.00                0.00             0.00           8,500.04     1,464
  1/29/2016    1007225-IN         1/29/2016                                             0.00           7,340.00                  0.00             0.00                0.00             0.00           7,340.00     1,432
  1/29/2016    1007226-IN         1/29/2016                                             0.00           6,960.18                  0.00             0.00                0.00             0.00           6,960.18     1,432
  2/24/2016    1007269-IN         2/24/2016                                             0.00           5,439.00                  0.00             0.00                0.00             0.00           5,439.00     1,406
  7/19/2016    1007472-IN         7/19/2016                                             0.00             284.00                  0.00             0.00                0.00             0.00             284.00     1,260
  7/29/2016    1007494-IN         7/29/2016                                             0.00             197.00                  0.00             0.00                0.00             0.00             197.00     1,250

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        Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number         Document Page 43 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                         Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                         Days
Invoice Date   Number            Invoice           Discount   Number           Amount              Balance        Current          30 Days          60 Days           90 Days                 120 Days          Delq


  10/17/2016   1007613-IN        10/17/2016                                            0.00          20,908.33           0.00              0.00            0.00              0.00               20,908.33       1,170
  6/24/2019    1009186-IN        6/24/2019                                             0.00           7,775.00           0.00              0.00            0.00              0.00                7,775.00         190
  7/2/2019     0023579-IN        7/2/2019                                              0.00           9,000.00           0.00              0.00            0.00              0.00                9,000.00         182
  7/22/2019    1009253-IN        7/22/2019                                             0.00             990.00           0.00              0.00            0.00              0.00                  990.00         162
  8/5/2019     0023894-IN        8/5/2019                                              0.00           3,200.00           0.00              0.00            0.00              0.00                3,200.00         148
  8/5/2019     0023895-IN        8/5/2019                                              0.00           9,000.00           0.00              0.00            0.00              0.00                9,000.00         148
  9/3/2019     0024212-IN        9/3/2019                                              0.00           3,200.00           0.00              0.00            0.00          3,200.00                    0.00         119
  9/3/2019     0024213-IN        9/3/2019                                              0.00           9,000.00           0.00              0.00            0.00          9,000.00                    0.00         119
  9/3/2019     0024214-IN        9/3/2019                                              0.00             946.80           0.00              0.00            0.00            946.80                    0.00         119
  9/11/2019    1009372-IN        9/11/2019                                             0.00           7,312.00           0.00              0.00            0.00          7,312.00                    0.00         111
  9/30/2019    1009411-IN        9/30/2019                                             0.00           5,118.40           0.00              0.00            0.00          5,118.40                    0.00          92
  10/3/2019    0024527-IN        10/3/2019                                             0.00           3,200.00           0.00              0.00        3,200.00              0.00                    0.00          89
  10/3/2019    0024528-IN        10/3/2019                                             0.00           9,000.00           0.00              0.00        9,000.00              0.00                    0.00          89
  10/3/2019    0024529-IN        10/3/2019                                             0.00             946.80           0.00              0.00          946.80              0.00                    0.00          89
  10/22/2019   1009461-IN        10/22/2019                                            0.00           1,250.00           0.00              0.00        1,250.00              0.00                    0.00          70
  10/22/2019   1009470-IN        10/22/2019                                            0.00             750.00           0.00              0.00          750.00              0.00                    0.00          70
  11/5/2019    0024843-IN        11/5/2019                                             0.00           3,200.00           0.00          3,200.00            0.00              0.00                    0.00          56
  11/5/2019    0024844-IN        11/5/2019                                             0.00           9,000.00           0.00          9,000.00            0.00              0.00                    0.00          56
  11/5/2019    0024845-IN        11/5/2019                                             0.00             946.80           0.00            946.80            0.00              0.00                    0.00          56
  11/5/2019    1009490-IN        11/5/2019                                             0.00             750.00           0.00            750.00            0.00              0.00                    0.00          56
  11/5/2019    1009491-IN        11/5/2019                                             0.00           1,250.00           0.00          1,250.00            0.00              0.00                    0.00          56
  11/8/2019    1009498-IN        11/8/2019                                             0.00          32,993.45           0.00         32,993.45            0.00              0.00                    0.00          53
  12/4/2019    0025160-IN        12/4/2019                                             0.00           3,200.00       3,200.00              0.00            0.00              0.00                    0.00          27
  12/4/2019    0025161-IN        12/4/2019                                             0.00           9,000.00       9,000.00              0.00            0.00              0.00                    0.00          27
  12/4/2019    0025162-IN        12/4/2019                                             0.00             946.80         946.80              0.00            0.00              0.00                    0.00          27
  12/4/2019    1009527-IN        12/4/2019                                             0.00           2,100.00       2,100.00              0.00            0.00              0.00                    0.00          27
  12/4/2019    1009537-IN        12/4/2019                                             0.00           5,764.00       5,764.00              0.00            0.00              0.00                    0.00          27
  12/4/2019    1009540-IN        12/4/2019                                             0.00             750.00         750.00              0.00            0.00              0.00                    0.00          27
  12/13/2019   1009552-IN        12/13/2019                                            0.00           2,165.00       2,165.00              0.00            0.00              0.00                    0.00          18
  12/26/2019   1009565-IN        12/26/2019                                            0.00           4,505.00       4,505.00              0.00            0.00              0.00                    0.00           5
                                                    Customer MSJ Totals:               0.00         515,122.15      28,430.80         48,140.25       15,146.80         25,577.20               397,827.10

MUNCABO        Municipio de Cabo Rojo                               Contact:                                            Phone:     787-851-0300                               Credit Limit:                      0.00
  6/11/2018    1008523-IN        6/11/2018                                             0.00             194.00              0.00             0.00             0.00              0.00               194.00        568
                                              Customer MUNCABO Totals:                 0.00             194.00              0.00             0.00             0.00              0.00                194.00

MUNCAMU        Municipio de Camuy                                   Contact:                                            Phone:     787-898-2160                               Credit Limit:                      0.00
  5/15/2019    1009125-IN        5/15/2019                                             0.00             420.00              0.00             0.00             0.00              0.00               420.00        230
                                              Customer MUNCAMU Totals:                 0.00             420.00              0.00             0.00             0.00              0.00                420.00

MUNCAN         Municipio de Canóvanas                               Contact:                                            Phone:     787-876-2328                               Credit Limit:                      0.00
  12/26/2019   1009564-IN        12/26/2019                                            0.00             700.00         700.00                0.00             0.00              0.00                 0.00          5
                                               Customer MUNCAN Totals:                 0.00             700.00         700.00                0.00             0.00              0.00                     0.00

MUNCIDR        Municipio de Cidra                                   Contact:                                            Phone:                                                Credit Limit:                      0.00
  8/1/2017     0017227-IN        8/1/2017                                              0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        882
  8/4/2017     1008012-IN        8/4/2017                                              0.00             371.00              0.00             0.00             0.00             0.00                371.00        879
  9/4/2017     0017469-IN        9/4/2017                                              0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        848
  10/5/2017    0017712-IN        10/5/2017                                             0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        817
  11/3/2017    0017960-IN        11/3/2017                                             0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        788
  12/1/2017    0018222-IN        12/1/2017                                             0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        760
  1/5/2018     0018476-IN        1/5/2018                                              0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        725
  2/1/2018     0018723-IN        2/1/2018                                              0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        698
  4/1/2018     0019252-IN        4/1/2018                                              0.00           1,620.00              0.00             0.00             0.00             0.00              1,620.00        639
  5/1/2018     0019535-IN        5/1/2018                                              0.00             120.00              0.00             0.00             0.00             0.00                120.00        609
  6/1/2018     0019818-IN        6/1/2018                                              0.00             160.00              0.00             0.00             0.00             0.00                160.00        578
  9/30/2019    1009410-IN        9/30/2019                                             0.00             196.00              0.00             0.00             0.00           196.00                  0.00         92
                                              Customer MUNCIDR Totals:                 0.00          13,807.00              0.00             0.00             0.00           196.00              13,611.00

MUNP           Municipio Ponce                                      Contact:   Eliezer Maldonado                        Phone:     (787)284-4141         Extension:   2106    Credit Limit:                      0.00
  3/29/2012    1005224-IN        3/29/2012                                             0.00             202.78              0.00             0.00             0.00              0.00               202.78       2,833
  4/30/2012    1005272-IN        4/30/2012                                             0.00           9,000.00              0.00             0.00             0.00              0.00             9,000.00       2,801
  8/7/2012     1005426-IN        8/7/2012                                              0.00           1,805.69              0.00             0.00             0.00              0.00             1,805.69       2,702
  12/29/2015   1007192-IN        12/29/2015                                            0.00             555.08              0.00             0.00             0.00              0.00               555.08       1,463
  2/11/2016    1007256-IN        2/11/2016                                             0.00             555.08              0.00             0.00             0.00              0.00               555.08       1,419
  6/27/2016    1007440-IN        6/27/2016                                             0.00           3,207.00              0.00             0.00             0.00              0.00             3,207.00       1,282
  5/23/2017    1007937-IN        5/23/2017                                             0.00             173.00              0.00             0.00             0.00              0.00               173.00         952
  1/5/2018     0018477-IN        1/5/2018                                              0.00             463.00              0.00             0.00             0.00              0.00               463.00         725
  6/26/2018    1008553-IN        6/26/2018                                             0.00             190.43-             0.00             0.00             0.00              0.00               190.43-
  7/6/2018     0020085-IN        7/6/2018                                              0.00             539.00              0.00             0.00             0.00              0.00               539.00        543
  9/19/2018    1008695-IN        9/19/2018                                             0.00             675.80              0.00             0.00             0.00              0.00               675.80        468
  2/6/2019     1009230-IN        2/6/2019                                              0.00           2,384.00              0.00             0.00             0.00              0.00             2,384.00        328
  2/6/2019     1009231-IN        2/6/2019                                              0.00           3,762.80              0.00             0.00             0.00              0.00             3,762.80        328
  5/3/2019     0022961-IN        5/3/2019                                              0.00             539.00              0.00             0.00             0.00              0.00               539.00        242
  6/4/2019     0023271-IN        6/4/2019                                              0.00             539.00              0.00             0.00             0.00              0.00               539.00        210
  6/4/2019     0023273-IN        6/4/2019                                              0.00             257.00              0.00             0.00             0.00              0.00               257.00        210
  7/2/2019     0023581-IN        7/2/2019                                              0.00             539.00              0.00             0.00             0.00              0.00               539.00        182
  7/2/2019     0023582-IN        7/2/2019                                              0.00              32.00              0.00             0.00             0.00              0.00                32.00        182
  7/2/2019     0023583-IN        7/2/2019                                              0.00             257.00              0.00             0.00             0.00              0.00               257.00        182
  7/10/2019    7102019-PP        7/10/2019                                             0.00             170.00-             0.00             0.00             0.00              0.00               170.00-
  8/5/2019     0023898-IN        8/5/2019                                              0.00              38.00              0.00             0.00             0.00              0.00                38.00        148

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  A/R Date: 1/8/2020                                                                                                                                                                             User Logon: laura
        Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                    Desc: Main
Sorted by Customer Number         Document Page 44 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                 Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                 Days
Invoice Date   Number            Invoice           Discount   Number           Amount         Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  8/5/2019     0023899-IN        8/5/2019                                             0.00         257.00           0.00              0.00            0.00            0.00                 257.00        148
  8/5/2019     0023900-IN        8/5/2019                                             0.00         336.00           0.00              0.00            0.00            0.00                 336.00        148
  8/30/2019    1009347-IN        8/30/2019                                            0.00       1,937.00           0.00              0.00            0.00            0.00               1,937.00        123
  9/3/2019     0024216-IN        9/3/2019                                             0.00          38.00           0.00              0.00            0.00           38.00                   0.00        119
  9/3/2019     0024217-IN        9/3/2019                                             0.00         342.00           0.00              0.00            0.00          342.00                   0.00        119
  9/3/2019     0024218-IN        9/3/2019                                             0.00         336.00           0.00              0.00            0.00          336.00                   0.00        119
  9/30/2019    1009415-IN        9/30/2019                                            0.00         231.00           0.00              0.00            0.00          231.00                   0.00         92
  10/3/2019    0024530-IN        10/3/2019                                            0.00         539.00           0.00              0.00          539.00            0.00                   0.00         89
  10/3/2019    0024531-IN        10/3/2019                                            0.00          38.00           0.00              0.00           38.00            0.00                   0.00         89
  10/3/2019    0024532-IN        10/3/2019                                            0.00         342.00           0.00              0.00          342.00            0.00                   0.00         89
  10/3/2019    0024533-IN        10/3/2019                                            0.00         336.00           0.00              0.00          336.00            0.00                   0.00         89
  10/17/2019   1009452-IN        10/17/2019                                           0.00       8,976.00           0.00              0.00        8,976.00            0.00                   0.00         75
  11/1/2019    0291019-PP        11/1/2019                                            0.00          20.07-          0.00              0.00           20.07-           0.00                   0.00
  11/5/2019    0024846-IN        11/5/2019                                            0.00         539.00           0.00            539.00            0.00            0.00                   0.00         56
  11/5/2019    0024847-IN        11/5/2019                                            0.00          38.00           0.00             38.00            0.00            0.00                   0.00         56
  11/5/2019    0024848-IN        11/5/2019                                            0.00         342.00           0.00            342.00            0.00            0.00                   0.00         56
  11/5/2019    0024849-IN        11/5/2019                                            0.00         336.00           0.00            336.00            0.00            0.00                   0.00         56
  11/5/2019    1009493-IN        11/5/2019                                            0.00       2,058.00           0.00          2,058.00            0.00            0.00                   0.00         56
  12/4/2019    0025163-IN        12/4/2019                                            0.00         539.00         539.00              0.00            0.00            0.00                   0.00         27
  12/4/2019    0025164-IN        12/4/2019                                            0.00          38.00          38.00              0.00            0.00            0.00                   0.00         27
  12/4/2019    0025165-IN        12/4/2019                                            0.00         342.00         342.00              0.00            0.00            0.00                   0.00         27
  12/4/2019    0025166-IN        12/4/2019                                            0.00         336.00         336.00              0.00            0.00            0.00                   0.00         27
  12/4/2019    1009541-IN        12/4/2019                                            0.00       5,560.00       5,560.00              0.00            0.00            0.00                   0.00         27
  12/18/2019   0181219-PP        12/18/2019                                           0.00         539.00-        539.00-             0.00            0.00            0.00                   0.00
                                                  Customer MUNP Totals:               0.00      48,440.73       6,276.00          3,313.00       10,210.93           947.00              27,693.80

MUNSAL         Municipio de Salinas                                 Contact:   Brenda Colón                        Phone:     787-824-3060                            Credit Limit:                      0.00
  3/31/2016    1007324-IN        3/31/2016                                            0.00         340.00              0.00             0.00             0.00             0.00             340.00       1,370
                                               Customer MUNSAL Totals:                0.00         340.00              0.00             0.00             0.00             0.00              340.00

MUNSI          Municipio de Santa Isabel                            Contact:                                       Phone:     787-845-4040                            Credit Limit:                      0.00
  3/23/2016    1007399-IN        3/23/2016                                            0.00         570.98              0.00             0.00             0.00             0.00             570.98       1,378
  8/12/2016    0014954-IN        8/12/2016                                            0.00         360.00              0.00             0.00             0.00             0.00             360.00       1,236
  9/2/2016     0015072-IN        9/2/2016                                             0.00          60.00              0.00             0.00             0.00             0.00              60.00       1,215
  10/3/2016    0015252-IN        10/3/2016                                            0.00          60.00              0.00             0.00             0.00             0.00              60.00       1,184
  11/1/2016    0015437-IN        11/1/2016                                            0.00          60.00              0.00             0.00             0.00             0.00              60.00       1,155
  12/1/2016    0015628-IN        12/1/2016                                            0.00          60.00              0.00             0.00             0.00             0.00              60.00       1,125
                                                 Customer MUNSI Totals:               0.00       1,170.98              0.00             0.00             0.00             0.00            1,170.98

MUNSL          Municipio de San Lorenzo                             Contact:                                       Phone:     787-736-3511                            Credit Limit:                      0.00
  11/28/2014   1006678-IN        11/28/2014                                           0.00         795.80-             0.00             0.00          0.00                0.00             795.80-
  10/7/2019    1009438-IN        10/7/2019                                            0.00       1,462.00              0.00             0.00      1,462.00                0.00               0.00         85
                                                 Customer MUNSL Totals:               0.00         666.20              0.00             0.00      1,462.00                0.00              795.80-

MUPA           Municipio de Patillas                                Contact:                                       Phone:     787-839-4120                            Credit Limit:                      0.00
  3/9/2012     1005182-IN        3/9/2012                                             0.00       9,785.59              0.00             0.00             0.00             0.00           9,785.59       2,853
  3/31/2014    1006114-IN        3/31/2014                                            0.00         500.00              0.00             0.00             0.00             0.00             500.00       2,101
                                                  Customer MUPA Totals:               0.00      10,285.59              0.00             0.00             0.00             0.00           10,285.59

MUTA           Municipio de Toa Alta                                Contact:   Waleska, Ana                        Phone:     787-870-1550                            Credit Limit:                      0.00
  11/11/2016   1007669-IN        11/11/2016                                           0.00       8,113.32              0.00             0.00             0.00             0.00           8,113.32       1,145
  1/24/2017    7397B-IN          1/24/2017                                            0.00       1,800.00              0.00             0.00             0.00             0.00           1,800.00       1,071
                                                  Customer MUTA Totals:               0.00       9,913.32              0.00             0.00             0.00             0.00            9,913.32

MVB            Municipio de Vega Baja                               Contact:                                       Phone:     787-855-2500                            Credit Limit:                      0.00
  2/24/2011    1004610-IN        2/24/2011                                            0.00          75.00           0.00             0.00             0.00            0.00                  75.00       3,232
  6/1/2017     0016799-IN        6/1/2017                                             0.00         279.93           0.00             0.00             0.00            0.00                 279.93         943
  7/6/2018     0020086-IN        7/6/2018                                             0.00         559.86           0.00             0.00             0.00            0.00                 559.86         543
  8/2/2018     0020360-IN        8/2/2018                                             0.00         559.86           0.00             0.00             0.00            0.00                 559.86         516
  9/4/2018     0020633-IN        9/4/2018                                             0.00         559.86           0.00             0.00             0.00            0.00                 559.86         483
  12/4/2018    0021481-IN        12/4/2018                                            0.00         559.86           0.00             0.00             0.00            0.00                 559.86         392
  7/2/2019     0023585-IN        7/2/2019                                             0.00         559.86           0.00             0.00             0.00            0.00                 559.86         182
  8/5/2019     0023901-IN        8/5/2019                                             0.00         559.86           0.00             0.00             0.00            0.00                 559.86         148
  9/3/2019     0024219-IN        9/3/2019                                             0.00         559.86           0.00             0.00             0.00          559.86                   0.00         119
  10/3/2019    0024534-IN        10/3/2019                                            0.00         559.86           0.00             0.00           559.86            0.00                   0.00          89
  10/7/2019    1009437-IN        10/7/2019                                            0.00         125.00           0.00             0.00           125.00            0.00                   0.00          85
  11/5/2019    0024850-IN        11/5/2019                                            0.00         559.86           0.00           559.86             0.00            0.00                   0.00          56
  12/4/2019    0025167-IN        12/4/2019                                            0.00         559.86         559.86             0.00             0.00            0.00                   0.00          27
                                                    Customer MVB Totals:              0.00       6,078.53         559.86           559.86           684.86           559.86               3,714.09

MY             Municipio de Yauco                                   Contact:                                       Phone:     787-856-1274                            Credit Limit:                      0.00
  12/26/2019   1009562-IN        12/26/2019                                           0.00      33,275.90      33,275.90                0.00             0.00             0.00               0.00          5
                                                     Customer MY Totals:              0.00      33,275.90      33,275.90                0.00             0.00             0.00                   0.00

NAMAGO         Nadja Martínez González                              Contact:                                       Phone:     787-661-8371                            Credit Limit:                      0.00
  11/1/2018    0021192-IN        11/1/2018                                            0.00          24.99              0.00             0.00             0.00             0.00              24.99        425
  12/4/2018    0021482-IN        12/4/2018                                            0.00          24.99              0.00             0.00             0.00             0.00              24.99        392
  1/2/2019     0021769-IN        1/2/2019                                             0.00          24.99              0.00             0.00             0.00             0.00              24.99        363
  2/1/2019     0022065-IN        2/1/2019                                             0.00          24.99              0.00             0.00             0.00             0.00              24.99        333
  3/4/2019     0022362-IN        3/4/2019                                             0.00          24.99              0.00             0.00             0.00             0.00              24.99        302
  4/1/2019     0022659-IN        4/1/2019                                             0.00          24.99              0.00             0.00             0.00             0.00              24.99        274

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         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                    Desc: Main
Sorted by Customer Number          Document Page 45 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                 Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                 Days
Invoice Date   Number            Invoice           Discount   Number           Amount        Balance        Current          30 Days          60 Days           90 Days               120 Days          Delq


  5/3/2019     0022966-IN        5/3/2019                                             0.00         24.99              0.00             0.00          0.00              0.00                 24.99        242
  6/4/2019     0023276-IN        6/4/2019                                             0.00         24.99              0.00             0.00          0.00              0.00                 24.99        210
  7/2/2019     0023586-IN        7/2/2019                                             0.00         24.99              0.00             0.00          0.00              0.00                 24.99        182
  8/5/2019     0023902-IN        8/5/2019                                             0.00         24.99              0.00             0.00          0.00              0.00                 24.99        148
  9/3/2019     0024220-IN        9/3/2019                                             0.00         24.99              0.00             0.00          0.00             24.99                  0.00        119
  10/3/2019    0024535-IN        10/3/2019                                            0.00         24.99              0.00             0.00         24.99              0.00                  0.00         89
                                               Customer NAMAGO Totals:                0.00        299.88              0.00             0.00         24.99             24.99                 249.90

NECI           Neftalí Cintrón                                      Contact:                                      Phone:     787-473-0366                             Credit Limit:                      0.00
  9/3/2019     0024221-IN        9/3/2019                                             0.00         51.14-          0.00             0.00             0.00            51.14-                  0.00
  10/3/2019    0024536-IN        10/3/2019                                            0.00         19.99           0.00             0.00            19.99             0.00                   0.00         89
  10/7/2019    1009420-IN        10/7/2019                                            0.00         88.83           0.00             0.00            88.83             0.00                   0.00         85
  11/5/2019    0024851-IN        11/5/2019                                            0.00         19.99           0.00            19.99             0.00             0.00                   0.00         56
  12/4/2019    0025168-IN        12/4/2019                                            0.00         19.99          19.99             0.00             0.00             0.00                   0.00         27
                                                   Customer NECI Totals:              0.00         97.66          19.99            19.99           108.82             51.14-                     0.00

NEPTUNO        Neptuno Media                                        Contact:                                      Phone:     787-774-0018                             Credit Limit:                      0.00
  4/24/2019    1009090-IN        4/24/2019                                            0.00        239.37           0.00                0.00          0.00              0.00                239.37        251
  4/24/2019    1009095-IN        4/24/2019                                            0.00      5,225.00           0.00                0.00          0.00              0.00              5,225.00        251
  9/11/2019    1009368-IN        9/11/2019                                            0.00      3,260.40           0.00                0.00          0.00          3,260.40                  0.00        111
  9/18/2019    1009392-IN        9/18/2019                                            0.00     53,059.30           0.00                0.00          0.00         53,059.30                  0.00        104
  10/4/2019    1009419-IN        10/4/2019                                            0.00      6,989.56           0.00                0.00      6,989.56              0.00                  0.00         88
  10/7/2019    1009441-IN        10/7/2019                                            0.00        714.99           0.00                0.00        714.99              0.00                  0.00         85
  10/7/2019    1009448-IN        10/7/2019                                            0.00        620.36           0.00                0.00        620.36              0.00                  0.00         85
  12/31/2019   1009582-IN        12/31/2019                                           0.00        501.20         501.20                0.00          0.00              0.00                  0.00
                                              Customer NEPTUNO Totals:                0.00     70,610.18         501.20                0.00      8,324.91         56,319.70               5,464.37

NEVAMB         Nevárez Ambulance                                    Contact:                                      Phone:     787-802-2727                             Credit Limit:                      0.00
  4/1/2019     0022661-IN        4/1/2019                                             0.00         80.00           0.00             0.00             0.00             0.00                  80.00        274
  5/3/2019     0022968-IN        5/3/2019                                             0.00        522.50           0.00             0.00             0.00             0.00                 522.50        242
  6/4/2019     0023278-IN        6/4/2019                                             0.00        522.50           0.00             0.00             0.00             0.00                 522.50        210
  7/2/2019     0023588-IN        7/2/2019                                             0.00        522.50           0.00             0.00             0.00             0.00                 522.50        182
  8/5/2019     0023904-IN        8/5/2019                                             0.00        522.50           0.00             0.00             0.00             0.00                 522.50        148
  9/3/2019     0024222-IN        9/3/2019                                             0.00        522.50           0.00             0.00             0.00           522.50                   0.00        119
  10/3/2019    0024537-IN        10/3/2019                                            0.00        522.50           0.00             0.00           522.50             0.00                   0.00         89
  11/5/2019    0024852-IN        11/5/2019                                            0.00        522.50           0.00           522.50             0.00             0.00                   0.00         56
  12/4/2019    0025169-IN        12/4/2019                                            0.00        522.50         522.50             0.00             0.00             0.00                   0.00         27
                                               Customer NEVAMB Totals:                0.00      4,260.00         522.50           522.50           522.50            522.50               2,170.00

NIBA           NIBA International                                   Contact:                                      Phone:     787-523-2386                             Credit Limit:                      0.00
  10/3/2019    0024538-IN        10/3/2019                                            0.00        224.91              0.00             0.00        224.91                 0.00               0.00         89
                                                   Customer NIBA Totals:              0.00        224.91              0.00             0.00        224.91                 0.00                   0.00

NILODI         Nicolás López Díaz                                   Contact:                                      Phone:     787-448-0911                             Credit Limit:                      0.00
  3/4/2019     0022366-IN        3/4/2019                                             0.00         79.96           0.00             0.00             0.00             0.00                  79.96        302
  4/1/2019     0022663-IN        4/1/2019                                             0.00        119.96           0.00             0.00             0.00             0.00                 119.96        274
  5/3/2019     0022970-IN        5/3/2019                                             0.00        119.96           0.00             0.00             0.00             0.00                 119.96        242
  6/4/2019     0023280-IN        6/4/2019                                             0.00        119.96           0.00             0.00             0.00             0.00                 119.96        210
  7/2/2019     0023590-IN        7/2/2019                                             0.00        119.96           0.00             0.00             0.00             0.00                 119.96        182
  8/5/2019     0023906-IN        8/5/2019                                             0.00        119.96           0.00             0.00             0.00             0.00                 119.96        148
  9/3/2019     0024224-IN        9/3/2019                                             0.00        119.96           0.00             0.00             0.00           119.96                   0.00        119
  10/3/2019    0024539-IN        10/3/2019                                            0.00        119.96           0.00             0.00           119.96             0.00                   0.00         89
  11/5/2019    0024854-IN        11/5/2019                                            0.00        119.96           0.00           119.96             0.00             0.00                   0.00         56
  12/4/2019    0025171-IN        12/4/2019                                            0.00        119.96         119.96             0.00             0.00             0.00                   0.00         27
                                                 Customer NILODI Totals:              0.00      1,159.60         119.96           119.96           119.96            119.96                 679.76

NINE           Nilsa Negrón                                         Contact:                                      Phone:     787-547-3205                             Credit Limit:                      0.00
  7/3/2017     0017009-IN        7/3/2017                                             0.00         24.99              0.00             0.00             0.00              0.00              24.99        911
  8/1/2017     0017233-IN        8/1/2017                                             0.00         24.99              0.00             0.00             0.00              0.00              24.99        882
  9/4/2017     0017475-IN        9/4/2017                                             0.00         24.99              0.00             0.00             0.00              0.00              24.99        848
  10/5/2017    0017718-IN        10/5/2017                                            0.00         24.99              0.00             0.00             0.00              0.00              24.99        817
  11/3/2017    0017966-IN        11/3/2017                                            0.00         24.99              0.00             0.00             0.00              0.00              24.99        788
  12/1/2017    0018228-IN        12/1/2017                                            0.00         24.99              0.00             0.00             0.00              0.00              24.99        760
  1/5/2018     0018482-IN        1/5/2018                                             0.00         24.99              0.00             0.00             0.00              0.00              24.99        725
  2/1/2018     0018730-IN        2/1/2018                                             0.00         24.99              0.00             0.00             0.00              0.00              24.99        698
  3/2/2018     0018998-IN        3/2/2018                                             0.00         24.99              0.00             0.00             0.00              0.00              24.99        669
  4/1/2018     0019260-IN        4/1/2018                                             0.00         24.99              0.00             0.00             0.00              0.00              24.99        639
                                                   Customer NINE Totals:              0.00        249.90              0.00             0.00             0.00              0.00              249.90

NM             New Modern                                           Contact:                                      Phone:     787-752-7000                             Credit Limit:                      0.00
  8/2/2018     0020365-IN        8/2/2018                                             0.00        149.94           0.00                0.00             0.00              0.00             149.94        516
  5/3/2019     0022971-IN        5/3/2019                                             0.00        149.94           0.00                0.00             0.00              0.00             149.94        242
  12/4/2019    0025172-IN        12/4/2019                                            0.00        149.94         149.94                0.00             0.00              0.00               0.00         27
                                                     Customer NM Totals:              0.00        449.82         149.94                0.00             0.00              0.00              299.88

NORTHWS        Northwestern Selecta                                 Contact:                                      Phone:     787-781-1950                             Credit Limit:                      0.00
  6/5/2017     1007956-IN        6/5/2017                                             0.00         24.89              0.00             0.00             0.00              0.00              24.89        939
  3/4/2019     1009003-IN        3/4/2019                                             0.00        234.98              0.00             0.00             0.00              0.00             234.98        302
  10/9/2019    0091019-PP        10/9/2019                                            0.00          9.92-             0.00             0.00             9.92-             0.00               0.00
                                              Customer NORTHWS Totals:                0.00        249.95              0.00             0.00             9.92-             0.00              259.87


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Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 46 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                     Days
Invoice Date   Number            Invoice           Discount   Number           Amount            Balance        Current          30 Days          60 Days           90 Days               120 Days          Delq



NSES           NSES INC                                             Contact:   SPINET                                 Phone:     787-774-0828                             Credit Limit:                      0.00
  5/15/2017    1007923-IN        5/15/2017                                               0.00          12.00              0.00             0.00             0.00              0.00              12.00        960
                                                   Customer NSES Totals:                 0.00          12.00              0.00             0.00             0.00              0.00               12.00

NST            New Service Transport                                Contact:                                          Phone:     787-263-1986                             Credit Limit:                      0.00
  11/3/2017    0017969-IN        11/3/2017                                               0.00         156.00-          0.00                0.00             0.00              0.00             156.00-
  12/4/2019    0025174-IN        12/4/2019                                               0.00         379.81         379.81                0.00             0.00              0.00               0.00         27
                                                    Customer NST Totals:                 0.00         223.81         379.81                0.00             0.00              0.00              156.00-

NVG            San Lorenzo Vending Machines                         Contact:                                          Phone:     787-462-1423                             Credit Limit:                      0.00
  9/3/2013     0009690-IN        9/3/2013                                                0.00          14.70-          0.00                0.00             0.00              0.00              14.70-
  12/3/2013    0010126-IN        12/3/2013                                               0.00         209.93           0.00                0.00             0.00              0.00             209.93 2,219
  12/4/2019    0025175-IN        12/4/2019                                               0.00         199.92         199.92                0.00             0.00              0.00               0.00    27
                                                    Customer NVG Totals:                 0.00         395.15         199.92                0.00             0.00              0.00              195.23

NYROMAR        Nydia E Rodríguez Martínez                           Contact:                                          Phone:     787-762-9292                             Credit Limit:                      0.00
  8/5/2019     0023911-IN        8/5/2019                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99        148
                                              Customer NYROMAR Totals:                   0.00          24.99              0.00             0.00             0.00              0.00               24.99

OASP           Ofic Asuntos Seguridad Pública                       Contact:                                          Phone:     787-763-3424                             Credit Limit:                      0.00
  9/27/2012    1006134-IN        9/27/2012                                               0.00       2,471.38              0.00             0.00             0.00              0.00           2,471.38       2,651
  11/26/2012   1006136-IN        11/26/2012                                              0.00         104.34              0.00             0.00             0.00              0.00             104.34       2,591
                                                  Customer OASP Totals:                  0.00       2,575.72              0.00             0.00             0.00              0.00            2,575.72

OFICINA        Oficina del Contralor                                Contact:                                          Phone:     787756-6500           Extension:   270   Credit Limit:                      0.00
  12/4/2019    0025176-IN        12/4/2019                                               0.00         144.95         144.95                0.00             0.00              0.00               0.00         27
                                                Customer OFICINA Totals:                 0.00         144.95         144.95                0.00             0.00              0.00                   0.00

OLIVER         Oliver Ambulance LLC                                 Contact:   Rubén D Olivera                        Phone:     787-453-6012                             Credit Limit:                      0.00
  11/5/2019    0024860-IN        11/5/2019                                               0.00          89.97           0.00            89.97                0.00              0.00               0.00         56
  12/4/2019    0025177-IN        12/4/2019                                               0.00          89.97          89.97             0.00                0.00              0.00               0.00         27
  12/26/2019   1009569-IN        12/26/2019                                              0.00          29.99          29.99             0.00                0.00              0.00               0.00          5
                                                 Customer OLIVER Totals:                 0.00         209.93         119.96            89.97                0.00              0.00                   0.00

OLMORE         Olmo Refrigeration                                   Contact:                                          Phone:     787-993-1919                             Credit Limit:                      0.00
  8/21/2017    1008052-IN        8/21/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        862
  9/4/2017     0017481-IN        9/4/2017                                                0.00          49.98              0.00             0.00             0.00              0.00              49.98        848
  10/5/2017    0017724-IN        10/5/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        817
  11/3/2017    0017972-IN        11/3/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        788
  12/1/2017    0018234-IN        12/1/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        760
  1/5/2018     0018488-IN        1/5/2018                                                0.00          49.98              0.00             0.00             0.00              0.00              49.98        725
  2/1/2018     0018736-IN        2/1/2018                                                0.00          49.98              0.00             0.00             0.00              0.00              49.98        698
                                                Customer OLMORE Totals:                  0.00         349.86              0.00             0.00             0.00              0.00              349.86

OMI            PR Wireless, LLC.-RAUL HNDZ FO                       Contact:   Morales                                Phone:     787-972-7001                             Credit Limit:                      0.00
  11/5/2019    0024861-IN        11/5/2019                                               0.00       2,205.54           0.00          2,205.54               0.00              0.00               0.00         56
  12/4/2019    0025178-IN        12/4/2019                                               0.00       3,773.49       3,773.49              0.00               0.00              0.00               0.00         27
                                                    Customer OMI Totals:                 0.00       5,979.03       3,773.49          2,205.54               0.00              0.00                   0.00

ONEGON         Oneill González                                      Contact:                                          Phone:     787-312-6682                             Credit Limit:                      0.00
  12/4/2019    0025179-IN        12/4/2019                                               0.00          24.99-         24.99-               0.00             0.00              0.00               0.00
                                               Customer ONEGON Totals:                   0.00          24.99-         24.99-               0.00             0.00              0.00                   0.00

ORO            La Orocoveña Biscuit                                 Contact:                                          Phone:     787-867-3310                             Credit Limit:                      0.00
  11/3/2017    0017974-IN        11/3/2017                                               0.00          55.48-          0.00                0.00             0.00              0.00              55.48-
  12/4/2019    0025180-IN        12/4/2019                                               0.00         224.55         224.55                0.00             0.00              0.00               0.00         27
                                                   Customer ORO Totals:                  0.00         169.07         224.55                0.00             0.00              0.00               55.48-

OSESOR         Oscar E Ortíz Guzmán                                 Contact:                                          Phone:     787-717-9211                             Credit Limit:                      0.00
  9/3/2019     0024233-IN        9/3/2019                                                0.00          49.98           0.00             0.00             0.00             49.98                  0.00        119
  10/3/2019    0024548-IN        10/3/2019                                               0.00          49.98           0.00             0.00            49.98              0.00                  0.00         89
  11/5/2019    0024864-IN        11/5/2019                                               0.00          49.98           0.00            49.98             0.00              0.00                  0.00         56
  12/4/2019    0025181-IN        12/4/2019                                               0.00          49.98          49.98             0.00             0.00              0.00                  0.00         27
                                                Customer OSESOR Totals:                  0.00         199.92          49.98            49.98            49.98             49.98                      0.00

PAC            Universidad Carlos Albizu                            Contact:                                          Phone:                                              Credit Limit:                      0.00
  12/4/2019    1009531-IN        12/4/2019                                               0.00       1,170.75       1,170.75                0.00             0.00              0.00               0.00         27
                                                    Customer PAC Totals:                 0.00       1,170.75       1,170.75                0.00             0.00              0.00                   0.00

PACEA          Pace Analytical                                      Contact:                                          Phone:     787-892-2650                             Credit Limit:                      0.00
  11/5/2019    0024866-IN        11/5/2019                                               0.00         144.93           0.00           144.93                0.00              0.00               0.00         56
  12/4/2019    0025183-IN        12/4/2019                                               0.00         144.93         144.93             0.00                0.00              0.00               0.00         27
                                                 Customer PACEA Totals:                  0.00         289.86         144.93           144.93                0.00              0.00                   0.00

PACHECO        PACHECO PALLETS                                      Contact:                                          Phone:     787-637-7021                             Credit Limit:                      0.00
  7/2/2019     0023602-IN        7/2/2019                                                0.00          39.98              0.00          0.00             0.00              0.00                 39.98        182
  8/5/2019     0023919-IN        8/5/2019                                                0.00          39.98              0.00          0.00             0.00              0.00                 39.98        148
  9/3/2019     0024236-IN        9/3/2019                                                0.00          39.98              0.00          0.00             0.00             39.98                  0.00        119
  10/3/2019    0024551-IN        10/3/2019                                               0.00          39.98              0.00          0.00            39.98              0.00                  0.00         89
  11/5/2019    0024867-IN        11/5/2019                                               0.00          39.98              0.00         39.98             0.00              0.00                  0.00         56

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         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number          Document Page 47 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                   Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                   Days
Invoice Date   Number             Invoice           Discount   Number           Amount        Balance          Current          30 Days          60 Days          90 Days               120 Days           Delq


  12/4/2019    0025184-IN         12/4/2019                                            0.00         39.98            39.98                0.00             0.00             0.00               0.00          27
                                                Customer PACHECO Totals:               0.00        239.88            39.98             39.98           39.98            39.98                  79.96

PAX            Pax Chem                                              Contact:                                        Phone:     787-567-2436                            Credit Limit:                       0.00
  11/3/2015    0013545-IN         11/3/2015                                            0.00          0.04-            0.00              0.00               0.00             0.00               0.04-
  11/5/2019    0024868-IN         11/5/2019                                            0.00         24.99             0.00             24.99               0.00             0.00               0.00          56
  12/4/2019    0025185-IN         12/4/2019                                            0.00         24.99            24.99              0.00               0.00             0.00               0.00          27
                                                     Customer PAX Totals:              0.00         49.94            24.99             24.99               0.00             0.00                   0.04-

PEPSICO        Pepsi Cola Manufacturing                              Contact:                                        Phone:     787-739-8411                            Credit Limit:                       0.00
  8/1/2012     0007877-IN         8/1/2012                                             0.00         27.89                0.00             0.00             0.00             0.00              27.89        2,708
  9/5/2012     0008009-IN         9/5/2012                                             0.00         29.99                0.00             0.00             0.00             0.00              29.99        2,673
  2/3/2015     0012278-IN         2/3/2015                                             0.00         29.99                0.00             0.00             0.00             0.00              29.99        1,792
                                                Customer PEPSICO Totals:               0.00         87.87                0.00             0.00             0.00             0.00               87.87

PEST           Pest Master Exterminating                             Contact:                                        Phone:     787-376-1818                            Credit Limit:                       0.00
  6/1/2018     0019838-IN         6/1/2018                                             0.00         49.75                0.00             0.00             0.00          0.00                 49.75         578
  7/6/2018     0020103-IN         7/6/2018                                             0.00         79.98                0.00             0.00             0.00          0.00                 79.98         543
  8/2/2018     0020377-IN         8/2/2018                                             0.00         79.98                0.00             0.00             0.00          0.00                 79.98         516
  9/4/2018     0020651-IN         9/4/2018                                             0.00         79.98                0.00             0.00             0.00          0.00                 79.98         483
  10/2/2018    0020928-IN         10/2/2018                                            0.00         79.98                0.00             0.00             0.00          0.00                 79.98         455
  11/1/2018    0021211-IN         11/1/2018                                            0.00         49.98                0.00             0.00             0.00          0.00                 49.98         425
  12/4/2018    0021501-IN         12/4/2018                                            0.00         49.98                0.00             0.00             0.00          0.00                 49.98         392
  1/2/2019     0021787-IN         1/2/2019                                             0.00         49.98                0.00             0.00             0.00          0.00                 49.98         363
  2/1/2019     0022083-IN         2/1/2019                                             0.00         49.98                0.00             0.00             0.00          0.00                 49.98         333
  3/4/2019     0022380-IN         3/4/2019                                             0.00         49.98                0.00             0.00             0.00          0.00                 49.98         302
  4/1/2019     0022677-IN         4/1/2019                                             0.00         49.98                0.00             0.00             0.00          0.00                 49.98         274
  5/3/2019     0022984-IN         5/3/2019                                             0.00         49.98                0.00             0.00             0.00          0.00                 49.98         242
  7/2/2019     0023604-IN         7/2/2019                                             0.00         49.98                0.00             0.00             0.00          0.00                 49.98         182
  8/5/2019     0023921-IN         8/5/2019                                             0.00         49.98                0.00             0.00             0.00          0.00                 49.98         148
  9/3/2019     0024238-IN         9/3/2019                                             0.00         49.98                0.00             0.00             0.00         49.98                  0.00         119
                                                    Customer PEST Totals:              0.00        869.47                0.00             0.00             0.00         49.98                 819.49

PHABIO         Pharma-Bio Serv                                       Contact:                                        Phone:     787-278-2709                            Credit Limit:                       0.00
  11/21/2019   0201119-PP         11/21/2019                                           0.00         19.99-            0.00             19.99-              0.00             0.00               0.00
  12/4/2019    0025186-IN         12/4/2019                                            0.00         19.99            19.99              0.00               0.00             0.00               0.00          27
                                                  Customer PHABIO Totals:              0.00             0.00         19.99             19.99-              0.00             0.00                   0.00

PHCS           Pre Hospital Care Solution Inc                        Contact:                                        Phone:     (787) 646-2124                          Credit Limit:                       0.00
  9/4/2014     0011577-IN         9/4/2014                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,944
  10/1/2014    0011720-IN         10/1/2014                                            0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,917
  11/3/2014    0011861-IN         11/3/2014                                            0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,884
  12/3/2014    0011999-IN         12/3/2014                                            0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,854
  1/12/2015    0012140-IN         1/12/2015                                            0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,814
  2/3/2015     0012280-IN         2/3/2015                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,792
  3/3/2015     0012416-IN         3/3/2015                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,764
  4/1/2015     0012557-IN         4/1/2015                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,735
  5/5/2015     0012695-IN         5/5/2015                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,701
                                                    Customer PHCS Totals:              0.00        719.82                0.00             0.00             0.00             0.00              719.82

PLHOL          PL Holdings, LLC                                      Contact:                                        Phone:     787-520-6136                            Credit Limit:                       0.00
  9/4/2018     0020653-IN         9/4/2018                                             0.00         24.99                0.00             0.00             0.00             0.00              24.99         483
                                                   Customer PLHOL Totals:              0.00         24.99                0.00             0.00             0.00             0.00               24.99

PMSER          Pereira Medical Service                               Contact:                                        Phone:     939-717-6840                            Credit Limit:                       0.00
  3/4/2019     0022382-IN         3/4/2019                                             0.00        322.54             0.00              0.00            0.00            0.00                 322.54         302
  3/4/2019     0022383-IN         3/4/2019                                             0.00         49.98             0.00              0.00            0.00            0.00                  49.98         302
  4/1/2019     0022679-IN         4/1/2019                                             0.00        520.00             0.00              0.00            0.00            0.00                 520.00         274
  5/3/2019     0022986-IN         5/3/2019                                             0.00        322.46             0.00              0.00            0.00            0.00                 322.46         242
  7/2/2019     0023606-IN         7/2/2019                                             0.00        522.50             0.00              0.00            0.00            0.00                 522.50         182
  7/2/2019     0023607-IN         7/2/2019                                             0.00         49.98             0.00              0.00            0.00            0.00                  49.98         182
  8/5/2019     0023923-IN         8/5/2019                                             0.00        522.50             0.00              0.00            0.00            0.00                 522.50         148
  8/5/2019     0023924-IN         8/5/2019                                             0.00         49.98             0.00              0.00            0.00            0.00                  49.98         148
  9/3/2019     0024240-IN         9/3/2019                                             0.00        522.50             0.00              0.00            0.00          522.50                   0.00         119
  9/3/2019     0024241-IN         9/3/2019                                             0.00         49.98             0.00              0.00            0.00           49.98                   0.00         119
  10/3/2019    0024554-IN         10/3/2019                                            0.00        522.50             0.00              0.00          522.50            0.00                   0.00          89
  10/3/2019    0024555-IN         10/3/2019                                            0.00         49.98             0.00              0.00           49.98            0.00                   0.00          89
  11/5/2019    0024870-IN         11/5/2019                                            0.00        522.50             0.00            522.50            0.00            0.00                   0.00          56
  11/5/2019    0024871-IN         11/5/2019                                            0.00         49.98             0.00             49.98            0.00            0.00                   0.00          56
  12/4/2019    0025187-IN         12/4/2019                                            0.00        522.50           522.50              0.00            0.00            0.00                   0.00          27
  12/4/2019    0025188-IN         12/4/2019                                            0.00         49.98            49.98              0.00            0.00            0.00                   0.00          27
                                                  Customer PMSER Totals:               0.00      4,649.86           572.48            572.48          572.48           572.48               2,359.94

PMT            PMT Service Inc.                                      Contact:                                        Phone:     787-859-3577                            Credit Limit:                       0.00
  9/4/2017     0017491-IN         9/4/2017                                             0.00         57.98                0.00             0.00             0.00             0.00              57.98         848
  10/5/2017    0017734-IN         10/5/2017                                            0.00         57.98                0.00             0.00             0.00             0.00              57.98         817
  2/1/2019     0022087-IN         2/1/2019                                             0.00         57.98                0.00             0.00             0.00             0.00              57.98         333
  3/4/2019     0022384-IN         3/4/2019                                             0.00         57.98                0.00             0.00             0.00             0.00              57.98         302
  4/1/2019     0022681-IN         4/1/2019                                             0.00         57.98                0.00             0.00             0.00             0.00              57.98         274
  5/3/2019     0022988-IN         5/3/2019                                             0.00         57.98                0.00             0.00             0.00             0.00              57.98         242
  6/4/2019     0023298-IN         6/4/2019                                             0.00         57.98                0.00             0.00             0.00             0.00              57.98         210

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  A/R Date: 1/8/2020                                                                                                                                                                       User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                     Desc: Main
Sorted by Customer Number          Document Page 48 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                  Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                  Days
Invoice Date   Number            Invoice           Discount   Number           Amount          Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  7/2/2019     0023608-IN        7/2/2019                                             0.00           57.98           0.00              0.00            0.00             0.00                 57.98        182
  8/5/2019     0023925-IN        8/5/2019                                             0.00           57.98           0.00              0.00            0.00             0.00                 57.98        148
  9/3/2019     0024242-IN        9/3/2019                                             0.00           57.98           0.00              0.00            0.00            57.98                  0.00        119
  10/3/2019    0024556-IN        10/3/2019                                            0.00           57.98           0.00              0.00           57.98             0.00                  0.00         89
  11/5/2019    0024872-IN        11/5/2019                                            0.00           57.98           0.00             57.98            0.00             0.00                  0.00         56
  12/4/2019    0025189-IN        12/4/2019                                            0.00           57.98          57.98              0.00            0.00             0.00                  0.00         27
                                                    Customer PMT Totals:              0.00          753.74          57.98             57.98           57.98            57.98                 521.82

PORTOSA        Portosan Inc                                         Contact:                                        Phone:     787-257-7772                            Credit Limit:                      0.00
  2/1/2019     0022088-IN        2/1/2019                                             0.00          852.55-             0.00             0.00             0.00             0.00             852.55-
                                              Customer PORTOSA Totals:                0.00          852.55-             0.00             0.00             0.00             0.00              852.55-

POWNETL        PowerNetLine LLC                                     Contact:                                        Phone:     787-672-1488                            Credit Limit:                      0.00
  12/4/2019    0025191-IN        12/4/2019                                            0.00           49.98          49.98                0.00             0.00             0.00               0.00         27
                                              Customer POWNETL Totals:                0.00           49.98          49.98                0.00             0.00             0.00                   0.00

PRANG          PR Air National Guard                                Contact:                                        Phone:     787-253-5238                            Credit Limit:                      0.00
  6/19/2013    1005803-IN        6/19/2013                                            0.00        2,188.00              0.00             0.00             0.00             0.00           2,188.00       2,386
                                                 Customer PRANG Totals:               0.00        2,188.00              0.00             0.00             0.00             0.00            2,188.00

PREVMAI        Preventive Maintenance                               Contact:                                        Phone:     787-754-6605                            Credit Limit:                      0.00
  4/27/2011    1004701-IN        4/27/2011                                            0.00          349.99              0.00             0.00             0.00             0.00             349.99       3,170
  3/1/2017     0016217-IN        3/1/2017                                             0.00          139.65              0.00             0.00             0.00             0.00             139.65       1,035
  6/1/2017     0016818-IN        6/1/2017                                             0.00          139.65              0.00             0.00             0.00             0.00             139.65         943
  7/3/2017     0017026-IN        7/3/2017                                             0.00          139.65              0.00             0.00             0.00             0.00             139.65         911
  8/1/2017     0017250-IN        8/1/2017                                             0.00          139.65              0.00             0.00             0.00             0.00             139.65         882
  9/4/2017     0017494-IN        9/4/2017                                             0.00          139.65              0.00             0.00             0.00             0.00             139.65         848
  10/5/2017    0017737-IN        10/5/2017                                            0.00          139.65              0.00             0.00             0.00             0.00             139.65         817
  11/3/2017    0017985-IN        11/3/2017                                            0.00          139.65              0.00             0.00             0.00             0.00             139.65         788
                                               Customer PREVMAI Totals:               0.00        1,327.54              0.00             0.00             0.00             0.00            1,327.54

PRIHEAC        Prime Health Care                                    Contact:   Mario A Ramos                        Phone:     787-238-2648                            Credit Limit:                      0.00
  12/26/2019   1009566-IN        12/26/2019                                           0.00          139.97         139.97                0.00             0.00             0.00               0.00          5
                                               Customer PRIHEAC Totals:               0.00          139.97         139.97                0.00             0.00             0.00                   0.00

PRIJAN         Prime Janitorial Services                            Contact:                                        Phone:     787-840-3942                            Credit Limit:                      0.00
  2/13/2014    1006048-IN        2/13/2014                                            0.00           76.21              0.00             0.00             0.00             0.00              76.21       2,147
  7/3/2019     1009218-IN        7/3/2019                                             0.00            8.92              0.00             0.00             0.00             0.00               8.92         181
                                                 Customer PRIJAN Totals:              0.00           85.13              0.00             0.00             0.00             0.00               85.13

PRIME          Prime Security                                       Contact:                                        Phone:     (787) 475-5432                          Credit Limit:                      0.00
  12/4/2019    0025193-IN        12/4/2019                                            0.00           89.99-         89.99-               0.00             0.00             0.00               0.00
                                                  Customer PRIME Totals:              0.00           89.99-         89.99-               0.00             0.00             0.00                   0.00

PROH           Pro Health Ambulance                                 Contact:                                        Phone:     787-212-4700                            Credit Limit:                      0.00
  2/6/2018     0018817-IN        2/6/2018                                             0.00          322.38           0.00                0.00             0.00             0.00             322.38        693
  3/2/2018     0019017-IN        3/2/2018                                             0.00          520.00           0.00                0.00             0.00             0.00             520.00        669
  12/13/2019   1009546-IN        12/13/2019                                           0.00           88.83          88.83                0.00             0.00             0.00               0.00         18
                                                  Customer PROH Totals:               0.00          931.21          88.83                0.00             0.00             0.00              842.38

PROMED         Promed Critical Care Corp                            Contact:                                        Phone:     787-539-2202                            Credit Limit:                      0.00
  11/5/2019    0024879-IN        11/5/2019                                            0.00           59.98           0.00             59.98               0.00             0.00               0.00         56
  11/5/2019    0024880-IN        11/5/2019                                            0.00          522.50           0.00            522.50               0.00             0.00               0.00         56
  12/4/2019    0025197-IN        12/4/2019                                            0.00           59.98          59.98              0.00               0.00             0.00               0.00         27
  12/4/2019    0025198-IN        12/4/2019                                            0.00          522.50         522.50              0.00               0.00             0.00               0.00         27
                                               Customer PROMED Totals:                0.00        1,164.96         582.48            582.48               0.00             0.00                   0.00

PROVIL         Provisiones Villafañe Inc                            Contact:                                        Phone:     787-894-5000                            Credit Limit:                      0.00
  9/3/2019     0024249-IN        9/3/2019                                             0.00           99.95              0.00             0.00             0.00         99.95                  0.00        119
                                                Customer PROVIL Totals:               0.00           99.95              0.00             0.00             0.00         99.95                      0.00

PRPR           Puerto Rico Pallet Recycling                         Contact:                                        Phone:     787-270-2198                            Credit Limit:                      0.00
  2/1/2019     0022095-IN        2/1/2019                                             0.00           29.98              0.00             0.00             0.00             0.00              29.98        333
  3/4/2019     0022391-IN        3/4/2019                                             0.00           29.99              0.00             0.00             0.00             0.00              29.99        302
  4/1/2019     0022688-IN        4/1/2019                                             0.00           29.99              0.00             0.00             0.00             0.00              29.99        274
  5/3/2019     0022995-IN        5/3/2019                                             0.00            5.00              0.00             0.00             0.00             0.00               5.00        242
  6/4/2019     0023305-IN        6/4/2019                                             0.00           29.99              0.00             0.00             0.00             0.00              29.99        210
  6/29/2019    1009208-IN        6/29/2019                                            0.00           24.99              0.00             0.00             0.00             0.00              24.99        185
                                                  Customer PRPR Totals:               0.00          149.94              0.00             0.00             0.00             0.00              149.94

PRSTAR         PR Star Logistic LLC                                 Contact:                                        Phone:     787-619-9162                            Credit Limit:                      0.00
  11/5/2019    0024884-IN        11/5/2019                                            0.00           49.98           0.00             49.98               0.00             0.00               0.00         56
  12/4/2019    0025202-IN        12/4/2019                                            0.00           49.98          49.98              0.00               0.00             0.00               0.00         27
                                                Customer PRSTAR Totals:               0.00           99.96          49.98             49.98               0.00             0.00                   0.00

PUEBLO         Pueblo Inc.                                          Contact:                                        Phone:     787-757-3131                            Credit Limit:                      0.00
  3/2/2018     0019020-IN        3/2/2018                                             0.00           37.19           0.00              0.00               0.00             0.00              37.19        669
  11/5/2019    0024885-IN        11/5/2019                                            0.00           69.98           0.00             69.98               0.00             0.00               0.00         56
  12/4/2019    0025203-IN        12/4/2019                                            0.00           69.98          69.98              0.00               0.00             0.00               0.00         27
                                                Customer PUEBLO Totals:               0.00          177.15          69.98             69.98               0.00             0.00               37.19


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         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number          Document Page 49 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                    Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                     Days
Invoice Date   Number           Invoice           Discount   Number           Amount        Balance        Current          30 Days             60 Days           90 Days                120 Days          Delq



QUINGRI        Quintero Group/United Emergecy                      Contact:                                      Phone:     787-730-8666                                 Credit Limit:                      0.00
  8/5/2019     0023936-IN       8/5/2019                                             0.00        708.91           0.00              0.00               0.00              0.00                 708.91        148
  9/3/2019     0024254-IN       9/3/2019                                             0.00      2,214.75           0.00              0.00               0.00          2,214.75                   0.00        119
  9/27/2019    1009407-IN       9/27/2019                                            0.00        376.20           0.00              0.00               0.00            376.20                   0.00         95
  9/30/2019    0024336-IN       9/30/2019                                            0.00        282.00           0.00              0.00               0.00            282.00                   0.00         92
  10/7/2019    1009424-IN       10/7/2019                                            0.00        174.93           0.00              0.00             174.93              0.00                   0.00         85
  11/5/2019    0024886-IN       11/5/2019                                            0.00      3,102.18           0.00          3,102.18               0.00              0.00                   0.00         56
  11/5/2019    0024962-IN       11/5/2019                                            0.00        459.00           0.00            459.00               0.00              0.00                   0.00         56
  11/5/2019    1009477-IN       11/5/2019                                            0.00         24.99           0.00             24.99               0.00              0.00                   0.00         56
  12/4/2019    0025204-IN       12/4/2019                                            0.00      2,752.17       2,752.17              0.00               0.00              0.00                   0.00         27
  12/9/2019    0025282-IN       12/9/2019                                            0.00      1,080.00-      1,080.00-             0.00               0.00              0.00                   0.00
  12/9/2019    0025283-IN       12/9/2019                                            0.00        282.15         282.15              0.00               0.00              0.00                   0.00         22
  12/16/2019   0161219-PP       12/16/2019                                           0.00          0.25-          0.25-             0.00               0.00              0.00                   0.00
                                              Customer QUINGRI Totals:               0.00      9,297.03       1,954.07          3,586.17             174.93          2,872.95                  708.91

RACAN          Ramón Canela Inc.                                   Contact:                                      Phone:     787-752-6975                                 Credit Limit:                      0.00
  1/5/2018     0018507-IN       1/5/2018                                             0.00         39.98              0.00             0.00                0.00              0.00               39.98        725
  2/2/2018     0018568-IN       2/2/2018                                             0.00        103.33              0.00             0.00                0.00              0.00              103.33        697
                                                Customer RACAN Totals:               0.00        143.31              0.00             0.00                0.00              0.00               143.31

RACARAZ        Rafael Carazo                                       Contact:                                      Phone:     787-708-1094                                 Credit Limit:                      0.00
  9/3/2019     0024255-IN       9/3/2019                                             0.00         24.99              0.00             0.00                0.00           24.99                  0.00        119
                                             Customer RACARAZ Totals:                0.00         24.99              0.00             0.00                0.00           24.99                      0.00

RADTHE         Radiation Theraphy Cancer Cent                      Contact:                                      Phone:     787-771-7396                                 Credit Limit:                      0.00
  2/7/2019     1008944-IN       2/7/2019                                             0.00         38.42           0.00                0.00                0.00              0.00               38.42        327
  12/4/2019    0025205-IN       12/4/2019                                            0.00         24.99          24.99                0.00                0.00              0.00                0.00         27
                                               Customer RADTHE Totals:               0.00         63.41          24.99                0.00                0.00              0.00                38.42

RAPRES         Rapid Response                                      Contact:                                      Phone:     787-946-1082                                 Credit Limit:                      0.00
  11/5/2019    0024889-IN       11/5/2019                                            0.00         24.99           0.00             24.99                  0.00              0.00                0.00         56
  12/4/2019    0025207-IN       12/4/2019                                            0.00        622.46         622.46              0.00                  0.00              0.00                0.00         27
                                               Customer RAPRES Totals:               0.00        647.45         622.46             24.99                  0.00              0.00                    0.00

RAROTO         Ramón L Román Torres                                Contact:                                      Phone:     787-942-1515                                 Credit Limit:                      0.00
  10/3/2019    0024574-IN       10/3/2019                                            0.00         49.54           0.00                0.00            49.54                 0.00                0.00         89
  12/4/2019    0025208-IN       12/4/2019                                            0.00         49.98          49.98                0.00             0.00                 0.00                0.00         27
                                              Customer RAROTO Totals:                0.00         99.52          49.98                0.00            49.54                 0.00                    0.00

RAULRL         Raul Rivera Lopez                                   Contact:                                      Phone:     787-613-4184                                 Credit Limit:                      0.00
  10/3/2019    0024575-IN       10/3/2019                                            0.00         29.98           0.00              0.00              29.98                 0.00                0.00         89
  11/5/2019    0024891-IN       11/5/2019                                            0.00         49.98           0.00             49.98               0.00                 0.00                0.00         56
  12/4/2019    0025209-IN       12/4/2019                                            0.00         49.98          49.98              0.00               0.00                 0.00                0.00         27
                                               Customer RAULRL Totals:               0.00        129.94          49.98             49.98              29.98                 0.00                    0.00

RCIS           RC Insulation Services                              Contact:                                      Phone:     787-739-1696                                 Credit Limit:                      0.00
  11/1/2012    0008293-IN       11/1/2012                                            0.00         44.66           0.00             0.00                0.00                 0.00               44.66       2,616
  2/3/2015     0012287-IN       2/3/2015                                             0.00         99.80           0.00             0.00                0.00                 0.00               99.80       1,792
  3/3/2015     0012423-IN       3/3/2015                                             0.00        174.65           0.00             0.00                0.00                 0.00              174.65       1,764
  12/3/2015    0013694-IN       12/3/2015                                            0.00        174.65           0.00             0.00                0.00                 0.00              174.65       1,489
  12/28/2015   1007186-IN       12/28/2015                                           0.00         74.97           0.00             0.00                0.00                 0.00               74.97       1,464
  1/8/2016     0013831-IN       1/8/2016                                             0.00        174.65           0.00             0.00                0.00                 0.00              174.65       1,453
  10/5/2017    0017748-IN       10/5/2017                                            0.00        224.55           0.00             0.00                0.00                 0.00              224.55         817
  11/3/2017    0017996-IN       11/3/2017                                            0.00        224.55           0.00             0.00                0.00                 0.00              224.55         788
  10/22/2018   1008752-IN       10/22/2018                                           0.00         24.99           0.00             0.00                0.00                 0.00               24.99         435
  10/3/2019    0024576-IN       10/3/2019                                            0.00        274.45           0.00             0.00              274.45                 0.00                0.00          89
  10/7/2019    1009442-IN       10/7/2019                                            0.00        174.93           0.00             0.00              174.93                 0.00                0.00          85
  11/5/2019    0024892-IN       11/5/2019                                            0.00        299.88           0.00           299.88                0.00                 0.00                0.00          56
  12/4/2019    0025210-IN       12/4/2019                                            0.00        299.88         299.88             0.00                0.00                 0.00                0.00          27
  12/9/2019    0091219-PP       12/9/2019                                            0.00        449.38-        449.38-            0.00                0.00                 0.00                0.00
                                                  Customer RCIS Totals:              0.00      1,817.23         149.50-          299.88              449.38                 0.00             1,217.47

RCM            Recinto Ciencias Medicas                            Contact:                                      Phone:     758-2525/548-0836        Extension:   1760   Credit Limit:                      0.00
  12/17/2019   1009553-IN       12/17/2019                                           0.00      9,096.00       9,096.00                0.00                0.00              0.00                0.00         14
                                                   Customer RCM Totals:              0.00      9,096.00       9,096.00                0.00                0.00              0.00                    0.00

RDELM          La Rosa Del Monte                                   Contact:                                      Phone:     787-779-0009                                 Credit Limit:                      0.00
  11/3/2017    0017997-IN       11/3/2017                                            0.00         82.47              0.00             0.00                0.00              0.00               82.47        788
  1/30/2018    1008334-IN       1/30/2018                                            0.00         88.40              0.00             0.00                0.00              0.00               88.40        700
  12/4/2018    0021519-IN       12/4/2018                                            0.00      1,124.55              0.00             0.00                0.00              0.00            1,124.55        392
                                                Customer RDELM Totals:               0.00      1,295.42              0.00             0.00                0.00              0.00             1,295.42

REALLE         Real Legacy                                         Contact:   Odalys Cruz                        Phone:     787-275-8833                                 Credit Limit:                      0.00
  12/27/2017   1008279-IN       12/27/2017                                           0.00        630.20-             0.00             0.00                0.00              0.00              630.20-
                                                Customer REALLE Totals:              0.00        630.20-             0.00             0.00                0.00              0.00               630.20-

REPR           RE-PR Corp                                          Contact:                                      Phone:     787-439-0808                                 Credit Limit:                      0.00
  6/1/2017     0016831-IN       6/1/2017                                             0.00         19.99              0.00             0.00                0.00              0.00               19.99        943
  7/3/2017     0017039-IN       7/3/2017                                             0.00         19.99              0.00             0.00                0.00              0.00               19.99        911
  8/1/2017     0017264-IN       8/1/2017                                             0.00         19.99              0.00             0.00                0.00              0.00               19.99        882

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         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                              Desc: Main
Sorted by Customer Number          Document Page 50 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                         Days
Invoice Date   Number              Invoice           Discount   Number           Amount              Balance        Current          30 Days             60 Days          90 Days               120 Days          Delq


  9/4/2017     0017508-IN          9/4/2017                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        848
  10/5/2017    0017750-IN          10/5/2017                                             0.00              19.99              0.00             0.00                0.00             0.00              19.99        817
  11/3/2017    0017998-IN          11/3/2017                                             0.00              19.99              0.00             0.00                0.00             0.00              19.99        788
  12/1/2017    0018259-IN          12/1/2017                                             0.00              19.99              0.00             0.00                0.00             0.00              19.99        760
  1/5/2018     0018513-IN          1/5/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        725
  2/1/2018     0018760-IN          2/1/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        698
  3/2/2018     0019027-IN          3/2/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        669
  4/1/2018     0019291-IN          4/1/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        639
  5/1/2018     0019573-IN          5/1/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        609
  6/1/2018     0019856-IN          6/1/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        578
  7/6/2018     0020122-IN          7/6/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        543
  8/2/2018     0020396-IN          8/2/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        516
  9/4/2018     0020670-IN          9/4/2018                                              0.00              19.99              0.00             0.00                0.00             0.00              19.99        483
  10/2/2018    0020946-IN          10/2/2018                                             0.00              19.99              0.00             0.00                0.00             0.00              19.99        455
                                                    Customer REPR Totals:                0.00             339.83              0.00             0.00                0.00             0.00              339.83

REROVAZ        Rey F Román Vázquez                                    Contact:                                            Phone:     787-562-3350                               Credit Limit:                      0.00
  11/5/2019    0024893-IN          11/5/2019                                             0.00              24.99           0.00             24.99                  0.00             0.00               0.00         56
  12/4/2019    0025211-IN          12/4/2019                                             0.00              24.99          24.99              0.00                  0.00             0.00               0.00         27
                                                Customer REROVAZ Totals:                 0.00              49.98          24.99             24.99                  0.00             0.00                   0.00

RESA           Reimundo E. Santiago Díaz                              Contact:                                            Phone:     787-409-7743                               Credit Limit:                      0.00
  4/1/2019     0022698-IN          4/1/2019                                              0.00             599.76              0.00             0.00                0.00             0.00             599.76        274
  5/3/2019     0023006-IN          5/3/2019                                              0.00             599.76              0.00             0.00                0.00             0.00             599.76        242
  6/4/2019     0023316-IN          6/4/2019                                              0.00             599.76              0.00             0.00                0.00             0.00             599.76        210
                                                    Customer RESA Totals:                0.00            1,799.28             0.00             0.00                0.00             0.00            1,799.28

RESAMB         Rescue Ambulance                                       Contact:   Anselmo Rodríguez                        Phone:     787-292-3360                               Credit Limit:                      0.00
  6/4/2019     0023317-IN          6/4/2019                                              0.00             169.91           0.00              0.00               0.00            0.00                 169.91        210
  7/2/2019     0023628-IN          7/2/2019                                              0.00             269.91           0.00              0.00               0.00            0.00                 269.91        182
  8/5/2019     0023944-IN          8/5/2019                                              0.00             269.91           0.00              0.00               0.00            0.00                 269.91        148
  9/3/2019     0024263-IN          9/3/2019                                              0.00             269.91           0.00              0.00               0.00          269.91                   0.00        119
  10/3/2019    0024578-IN          10/3/2019                                             0.00             269.91           0.00              0.00             269.91            0.00                   0.00         89
  11/5/2019    0024894-IN          11/5/2019                                             0.00             269.91           0.00            269.91               0.00            0.00                   0.00         56
  12/4/2019    0025212-IN          12/4/2019                                             0.00             269.91         269.91              0.00               0.00            0.00                   0.00         27
                                                 Customer RESAMB Totals:                 0.00            1,789.37        269.91            269.91             269.91           269.91                 709.73

RETOLO         Reinaldo Torres Lopez                                  Contact:   Reinaldo Torres Lopez                    Phone:     (787) 319-7850                             Credit Limit:                      0.00
  5/6/2019     1009120-IN          5/6/2019                                              0.00              38.85           0.00              0.00               0.00             0.00                 38.85        239
  6/4/2019     0023318-IN          6/4/2019                                              0.00              49.98           0.00              0.00               0.00             0.00                 49.98        210
  7/2/2019     0023629-IN          7/2/2019                                              0.00              49.98           0.00              0.00               0.00             0.00                 49.98        182
  8/5/2019     0023945-IN          8/5/2019                                              0.00              49.98           0.00              0.00               0.00             0.00                 49.98        148
  9/3/2019     0024264-IN          9/3/2019                                              0.00              49.98           0.00              0.00               0.00            49.98                  0.00        119
  10/3/2019    0024579-IN          10/3/2019                                             0.00              49.98           0.00              0.00              49.98             0.00                  0.00         89
  11/5/2019    0024895-IN          11/5/2019                                             0.00              49.98           0.00             49.98               0.00             0.00                  0.00         56
  12/4/2019    0025213-IN          12/4/2019                                             0.00              49.98          49.98              0.00               0.00             0.00                  0.00         27
  12/17/2019   1009559-IN          12/17/2019                                            0.00             177.65         177.65              0.00               0.00             0.00                  0.00         14
                                                  Customer RETOLO Totals:                0.00             566.36         227.63             49.98              49.98            49.98                 188.79

RIAX           Riaxx Contractors                                      Contact:                                            Phone:     787-754-6420/6410                          Credit Limit:                      0.00
  6/1/2018     0019859-IN          6/1/2018                                              0.00              89.55           0.00              0.00               0.00                0.00              89.55        578
  10/3/2019    0024582-IN          10/3/2019                                             0.00             124.95           0.00              0.00             124.95                0.00               0.00         89
  11/5/2019    0024898-IN          11/5/2019                                             0.00             124.95           0.00            124.95               0.00                0.00               0.00         56
  12/4/2019    0025216-IN          12/4/2019                                             0.00             124.95         124.95              0.00               0.00                0.00               0.00         27
                                                     Customer RIAX Totals:               0.00             464.40         124.95            124.95             124.95                0.00               89.55

RIRITO         Ricardo L Rios Torres                                  Contact:                                            Phone:     787-565-9530                               Credit Limit:                      0.00
  6/4/2019     0023323-IN          6/4/2019                                              0.00              24.99           0.00              0.00               0.00             0.00                 24.99        210
  7/2/2019     0023634-IN          7/2/2019                                              0.00              24.99           0.00              0.00               0.00             0.00                 24.99        182
  8/5/2019     0023950-IN          8/5/2019                                              0.00              24.99           0.00              0.00               0.00             0.00                 24.99        148
  9/3/2019     0024269-IN          9/3/2019                                              0.00              24.99           0.00              0.00               0.00            24.99                  0.00        119
  10/3/2019    0024584-IN          10/3/2019                                             0.00              24.99           0.00              0.00              24.99             0.00                  0.00         89
  11/5/2019    0024901-IN          11/5/2019                                             0.00              24.99           0.00             24.99               0.00             0.00                  0.00         56
  12/4/2019    0025219-IN          12/4/2019                                             0.00              24.99          24.99              0.00               0.00             0.00                  0.00         27
                                                   Customer RIRITO Totals:               0.00             174.93          24.99             24.99              24.99            24.99                  74.97

RJNIDO         Rafael J. Nido                                         Contact:                                            Phone:     787-251-1000                               Credit Limit:                      0.00
  11/13/2014   1006666-IN          11/13/2014                                            0.00             335.04              0.00             0.00                0.00             0.00             335.04       1,874
  8/3/2015     0013132-IN          8/3/2015                                              0.00             149.94              0.00             0.00                0.00             0.00             149.94       1,611
                                                  Customer RJNIDO Totals:                0.00             484.98              0.00             0.00                0.00             0.00              484.98

RJT            RJ Towing                                              Contact:                                            Phone:     787-662-4552                               Credit Limit:                      0.00
  11/5/2019    0024902-IN          11/5/2019                                             0.00              88.83           0.00             88.83                  0.00             0.00               0.00         56
  12/4/2019    0025220-IN          12/4/2019                                             0.00             199.92         199.92              0.00                  0.00             0.00               0.00         27
                                                      Customer RJT Totals:               0.00             288.75         199.92             88.83                  0.00             0.00                   0.00

RLSS           Respiratory Leasing & Sales Se                         Contact:                                            Phone:     787-604-3210                               Credit Limit:                      0.00
  9/3/2019     0090319-PP          9/3/2019                                              0.00             109.95-             0.00           0.00               0.00          109.95-                  0.00
  10/29/2019   1009486-IN          10/29/2019                                            0.00              24.99              0.00           0.00              24.99            0.00                   0.00         63
  11/5/2019    0024903-IN          11/5/2019                                             0.00             119.94              0.00         119.94               0.00            0.00                   0.00         56


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         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                            Desc: Main
Sorted by Customer Number          Document Page 51 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                         Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                          Days
Invoice Date   Number            Invoice           Discount   Number           Amount              Balance           Current          30 Days          60 Days          90 Days               120 Days           Delq


                                                   Customer RLSS Totals:               0.00              34.98                 0.00        119.94            24.99           109.95-                     0.00

RME            Rivera Munich, Eliza & Hernand                       Contact:                                               Phone:     787-622-2323                            Credit Limit:                       0.00
  4/1/2015     0012569-IN        4/1/2015                                              0.00               0.80              0.00                0.00             0.00             0.00               0.80        1,735
  9/3/2015     0013275-IN        9/3/2015                                              0.00              29.99              0.00                0.00             0.00             0.00              29.99        1,580
  10/2/2015    0013419-IN        10/2/2015                                             0.00              29.99              0.00                0.00             0.00             0.00              29.99        1,551
  11/3/2015    0013558-IN        11/3/2015                                             0.00              29.99              0.00                0.00             0.00             0.00              29.99        1,519
  12/3/2015    0013697-IN        12/3/2015                                             0.00              29.99              0.00                0.00             0.00             0.00              29.99        1,489
  12/14/2015   1007346-IN        12/14/2015                                            0.00             231.27              0.00                0.00             0.00             0.00             231.27        1,478
  10/5/2017    0017757-IN        10/5/2017                                             0.00              24.99              0.00                0.00             0.00             0.00              24.99          817
  8/2/2018     0020405-IN        8/2/2018                                              0.00              24.99              0.00                0.00             0.00             0.00              24.99          516
  12/4/2019    0025222-IN        12/4/2019                                             0.00              24.99             24.99                0.00             0.00             0.00               0.00           27
                                                    Customer RME Totals:               0.00             427.00             24.99                0.00             0.00             0.00              402.01

ROBERTE        Robert G. Miller Eimen                               Contact:                                               Phone:     787-735-8144                            Credit Limit:                       0.00
  2/1/2018     0018769-IN        2/1/2018                                              0.00             299.90-                0.00             0.00             0.00             0.00             299.90-
                                              Customer ROBERTE Totals:                 0.00             299.90-                0.00             0.00             0.00             0.00              299.90-

ROCOBU         Roanny Colón Burgos                                  Contact:                                               Phone:     787-923-9563                            Credit Limit:                       0.00
  7/21/2017    1007993-IN        7/21/2017                                             0.00              55.75                 0.00             0.00             0.00             0.00              55.75         893
  9/4/2017     0017517-IN        9/4/2017                                              0.00              24.99                 0.00             0.00             0.00             0.00              24.99         848
  10/5/2017    0017759-IN        10/5/2017                                             0.00              24.99                 0.00             0.00             0.00             0.00              24.99         817
  11/3/2017    0018007-IN        11/3/2017                                             0.00              24.99                 0.00             0.00             0.00             0.00              24.99         788
  12/1/2017    0018269-IN        12/1/2017                                             0.00              24.99                 0.00             0.00             0.00             0.00              24.99         760
  1/5/2018     0018523-IN        1/5/2018                                              0.00              24.99                 0.00             0.00             0.00             0.00              24.99         725
                                                Customer ROCOBU Totals:                0.00             180.70                 0.00             0.00             0.00             0.00              180.70

ROMOAL         Roberto Montañez Alcázar                             Contact:                                               Phone:     787-403-2449                            Credit Limit:                       0.00
  12/4/2019    0025224-IN        12/4/2019                                             0.00              24.99             24.99                0.00             0.00             0.00               0.00          27
                                                Customer ROMOAL Totals:                0.00              24.99             24.99                0.00             0.00             0.00                   0.00

ROMOAY         Roberto Luis Morales Ayala                           Contact:                                               Phone:     787-317-8538                            Credit Limit:                       0.00
  7/2/2019     0023639-IN        7/2/2019                                              0.00              60.00              0.00             0.00             0.00             0.00                 60.00         182
  8/5/2019     0023955-IN        8/5/2019                                              0.00              99.96              0.00             0.00             0.00             0.00                 99.96         148
  9/3/2019     0024274-IN        9/3/2019                                              0.00              99.96              0.00             0.00             0.00            99.96                  0.00         119
  10/3/2019    0024590-IN        10/3/2019                                             0.00              99.96              0.00             0.00            99.96             0.00                  0.00          89
  11/5/2019    0024907-IN        11/5/2019                                             0.00              99.96              0.00            99.96             0.00             0.00                  0.00          56
  12/4/2019    0025225-IN        12/4/2019                                             0.00              99.96             99.96             0.00             0.00             0.00                  0.00          27
                                                Customer ROMOAY Totals:                0.00             559.80             99.96            99.96            99.96            99.96                 159.96

RPS            RPS Medical                                          Contact:                                               Phone:     787-854-1479                            Credit Limit:                       0.00
  6/3/2015     0012848-IN        6/3/2015                                              0.00              63.18                 0.00             0.00             0.00             0.00              63.18        1,672
                                                    Customer RPS Totals:               0.00              63.18                 0.00             0.00             0.00             0.00               63.18

RRHEAVY        RR Heavy Services, LLC                               Contact:   Ricardo Rodríguez                           Phone:     787-520-9978                            Credit Limit:                       0.00
  5/1/2018     0019585-IN        5/1/2018                                              0.00              62.81              0.00             0.00             0.00            0.00                  62.81         609
  7/6/2018     0020136-IN        7/6/2018                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         543
  8/2/2018     0020409-IN        8/2/2018                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         516
  9/4/2018     0020683-IN        9/4/2018                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         483
  10/2/2018    0020959-IN        10/2/2018                                             0.00             224.91              0.00             0.00             0.00            0.00                 224.91         455
  11/1/2018    0021242-IN        11/1/2018                                             0.00             224.91              0.00             0.00             0.00            0.00                 224.91         425
  12/4/2018    0021534-IN        12/4/2018                                             0.00             224.91              0.00             0.00             0.00            0.00                 224.91         392
  1/2/2019     0021820-IN        1/2/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         363
  2/1/2019     0022116-IN        2/1/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         333
  3/4/2019     0022413-IN        3/4/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         302
  4/1/2019     0022712-IN        4/1/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         274
  5/3/2019     0023020-IN        5/3/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         242
  6/4/2019     0023330-IN        6/4/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         210
  7/2/2019     0023641-IN        7/2/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         182
  8/5/2019     0023957-IN        8/5/2019                                              0.00             224.91              0.00             0.00             0.00            0.00                 224.91         148
  9/3/2019     0024276-IN        9/3/2019                                              0.00             224.91              0.00             0.00             0.00          224.91                   0.00         119
  10/3/2019    0024592-IN        10/3/2019                                             0.00             224.91              0.00             0.00           224.91            0.00                   0.00          89
  11/5/2019    0024909-IN        11/5/2019                                             0.00             224.91              0.00           224.91             0.00            0.00                   0.00          56
  12/4/2019    0025227-IN        12/4/2019                                             0.00             224.91            224.91             0.00             0.00            0.00                   0.00          27
                                              Customer RRHEAVY Totals:                 0.00           4,111.19            224.91           224.91           224.91           224.91               3,211.55

RSDIST         RS Distribution                                      Contact:                                               Phone:     787-922-0643                            Credit Limit:                       0.00
  9/3/2013     0009714-IN        9/3/2013                                              0.00              24.95                 0.00             0.00             0.00             0.00              24.95        2,310
                                                 Customer RSDIST Totals:               0.00              24.95                 0.00             0.00             0.00             0.00               24.95

RSOTO          Radamés Soto Bosques                                 Contact:                                               Phone:     787-896-2107                            Credit Limit:                       0.00
  10/1/2013    0009860-IN        10/1/2013                                             0.00              26.74                 0.00             0.00             0.00             0.00              26.74 2,282
  7/3/2017     0017049-IN        7/3/2017                                              0.00              29.15-                0.00             0.00             0.00             0.00              29.15-
                                                 Customer RSOTO Totals:                0.00                  2.41-             0.00             0.00             0.00             0.00                   2.41-

RTC            Radiation Therapy Cancer Insti                       Contact:                                               Phone:     787-774-5555                            Credit Limit:                       0.00
  6/4/2019     0023331-IN        6/4/2019                                              0.00             209.93-             0.00             0.00                0.00             0.00             209.93-
  11/5/2019    0024911-IN        11/5/2019                                             0.00             179.94              0.00           179.94                0.00             0.00               0.00          56
  12/4/2019    0025229-IN        12/4/2019                                             0.00             179.94            179.94             0.00                0.00             0.00               0.00          27
                                                    Customer RTC Totals:               0.00             149.95            179.94           179.94                0.00             0.00              209.93-


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         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                           Desc: Main
Sorted by Customer Number          Document Page 52 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                        Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                      Days
Invoice Date   Number              Invoice           Discount   Number           Amount              Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq



RVALU          RV Aluminum                                            Contact:   Victor Rodríguez                         Phone:     787-276-7175                            Credit Limit:                      0.00
  6/4/2019     0023332-IN          6/4/2019                                              0.00              49.98           0.00             0.00             0.00             0.00                 49.98        210
  7/2/2019     0023643-IN          7/2/2019                                              0.00              49.98           0.00             0.00             0.00             0.00                 49.98        182
  8/5/2019     0023959-IN          8/5/2019                                              0.00              49.98           0.00             0.00             0.00             0.00                 49.98        148
  9/3/2019     0024278-IN          9/3/2019                                              0.00              49.98           0.00             0.00             0.00            49.98                  0.00        119
  10/3/2019    0024595-IN          10/3/2019                                             0.00              49.98           0.00             0.00            49.98             0.00                  0.00         89
  11/5/2019    0024912-IN          11/5/2019                                             0.00              49.98           0.00            49.98             0.00             0.00                  0.00         56
  12/4/2019    0025230-IN          12/4/2019                                             0.00              49.98          49.98             0.00             0.00             0.00                  0.00         27
                                                   Customer RVALU Totals:                0.00             349.86          49.98            49.98            49.98            49.98                 149.94

SACAR          Samuel Carmona                                         Contact:                                            Phone:     787-536-8041                            Credit Limit:                      0.00
  7/2/2019     0023644-IN          7/2/2019                                              0.00               0.56           0.00             0.00             0.00             0.00                  0.56        182
  8/5/2019     0023960-IN          8/5/2019                                              0.00              99.96           0.00             0.00             0.00             0.00                 99.96        148
  9/3/2019     0024279-IN          9/3/2019                                              0.00              99.96           0.00             0.00             0.00            99.96                  0.00        119
  10/3/2019    0024596-IN          10/3/2019                                             0.00              99.96           0.00             0.00            99.96             0.00                  0.00         89
  11/5/2019    0024913-IN          11/5/2019                                             0.00              99.96           0.00            99.96             0.00             0.00                  0.00         56
  12/4/2019    0025231-IN          12/4/2019                                             0.00              99.96          99.96             0.00             0.00             0.00                  0.00         27
                                                   Customer SACAR Totals:                0.00             500.36          99.96            99.96            99.96            99.96                 100.52

SAFE           Safe Life Ambulance Inc.                               Contact:                                            Phone:     787-951-0858                            Credit Limit:                      0.00
  9/4/2018     0020687-IN          9/4/2018                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        483
  10/2/2018    0020963-IN          10/2/2018                                             0.00              49.98              0.00             0.00          0.00             0.00                 49.98        455
  11/1/2018    0021246-IN          11/1/2018                                             0.00              49.98              0.00             0.00          0.00             0.00                 49.98        425
  12/4/2018    0021538-IN          12/4/2018                                             0.00              49.98              0.00             0.00          0.00             0.00                 49.98        392
  1/2/2019     0021824-IN          1/2/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        363
  2/1/2019     0022120-IN          2/1/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        333
  3/4/2019     0022417-IN          3/4/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        302
  4/1/2019     0022716-IN          4/1/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        274
  5/3/2019     0023024-IN          5/3/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        242
  6/4/2019     0023334-IN          6/4/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        210
  7/2/2019     0023645-IN          7/2/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        182
  8/5/2019     0023961-IN          8/5/2019                                              0.00              49.98              0.00             0.00          0.00             0.00                 49.98        148
  9/3/2019     0024280-IN          9/3/2019                                              0.00              49.98              0.00             0.00          0.00            49.98                  0.00        119
  10/3/2019    0024597-IN          10/3/2019                                             0.00              49.98              0.00             0.00         49.98             0.00                  0.00         89
                                                     Customer SAFE Totals:               0.00             699.72              0.00             0.00         49.98            49.98                 599.76

SAVE           Save Green Corp.                                       Contact:                                            Phone:     787-790-2525                            Credit Limit:                      0.00
  3/4/2019     0022419-IN          3/4/2019                                              0.00             180.00-          0.00                0.00             0.00             0.00             180.00-
  12/4/2019    0025233-IN          12/4/2019                                             0.00             810.00         810.00                0.00             0.00             0.00               0.00         27
                                                     Customer SAVE Totals:               0.00             630.00         810.00                0.00             0.00             0.00              180.00-

SCIENZA        Scienza Lab, Inc.                                      Contact:                                            Phone:     787-278-2709                            Credit Limit:                      0.00
  5/1/2018     0019590-IN          5/1/2018                                              0.00              15.79           0.00                0.00             0.00          0.00                 15.79        609
  11/1/2018    0021249-IN          11/1/2018                                             0.00              39.98           0.00                0.00             0.00          0.00                 39.98        425
  7/2/2019     0023648-IN          7/2/2019                                              0.00              39.98           0.00                0.00             0.00          0.00                 39.98        182
  9/3/2019     0024283-IN          9/3/2019                                              0.00              39.98           0.00                0.00             0.00         39.98                  0.00        119
  12/4/2019    0025234-IN          12/4/2019                                             0.00              39.98          39.98                0.00             0.00          0.00                  0.00         27
                                                 Customer SCIENZA Totals:                0.00             175.71          39.98                0.00             0.00         39.98                  95.75

SDES           Super Destapes                                         Contact:                                            Phone:     787-268-6000                            Credit Limit:                      0.00
  6/4/2019     0023339-IN          6/4/2019                                              0.00              79.96              0.00             0.00             0.00             0.00              79.96        210
                                                    Customer SDES Totals:                0.00              79.96              0.00             0.00             0.00             0.00               79.96

SEALY          Sealy Mattress Company of PR                           Contact:   Enrique Caballero                        Phone:     787-769-0295                            Credit Limit:                      0.00
  12/3/2014    0012017-IN          12/3/2014                                             0.00              55.78           0.00                0.00             0.00             0.00              55.78       1,854
  5/3/2019     0023030-IN          5/3/2019                                              0.00              69.98           0.00                0.00             0.00             0.00              69.98         242
  12/4/2019    0025236-IN          12/4/2019                                             0.00              49.98          49.98                0.00             0.00             0.00               0.00          27
                                                   Customer SEALY Totals:                0.00             175.74          49.98                0.00             0.00             0.00              125.76

SECC           Superior Emergency Care, Corp                          Contact:                                            Phone:     787-297-8904                            Credit Limit:                      0.00
  9/3/2019     0024287-IN          9/3/2019                                              0.00             139.92           0.00             0.00             0.00          139.92                   0.00        119
  10/3/2019    0024604-IN          10/3/2019                                             0.00             239.92           0.00             0.00           239.92            0.00                   0.00         89
  11/5/2019    0024919-IN          11/5/2019                                             0.00             239.92           0.00           239.92             0.00            0.00                   0.00         56
  12/4/2019    0025237-IN          12/4/2019                                             0.00             239.92         239.92             0.00             0.00            0.00                   0.00         27
                                                    Customer SECC Totals:                0.00             859.68         239.92           239.92           239.92           139.92                      0.00

SEPTIX         SEPTIX                                                 Contact:                                            Phone:     787-840-9090                            Credit Limit:                      0.00
  11/13/2019   1009503-IN          11/13/2019                                            0.00               4.02           0.00                4.02             0.00             0.00               0.00         48
  12/4/2019    0025238-IN          12/4/2019                                             0.00             587.97         587.97                0.00             0.00             0.00               0.00         27
                                                   Customer SEPTIX Totals:               0.00             591.99         587.97                4.02             0.00             0.00                   0.00

SETAS          Setas de PR                                            Contact:                                            Phone:     787-294-6006                            Credit Limit:                      0.00
  7/6/2018     0020146-IN          7/6/2018                                              0.00              24.99           0.00                0.00             0.00             0.00              24.99        543
  4/1/2019     0022724-IN          4/1/2019                                              0.00              74.97           0.00                0.00             0.00             0.00              74.97        274
  12/4/2019    0025239-IN          12/4/2019                                             0.00              74.97          74.97                0.00             0.00             0.00               0.00         27
                                                   Customer SETAS Totals:                0.00             174.93          74.97                0.00             0.00             0.00               99.96

SJDIST         San Juan Distillers LLC                                Contact:                                            Phone:     787-222-1633                            Credit Limit:                      0.00
  8/5/2019     0023971-IN          8/5/2019                                              0.00              49.98              0.00             0.00             0.00          0.00                 49.98        148
  9/3/2019     0024290-IN          9/3/2019                                              0.00              49.98              0.00             0.00             0.00         49.98                  0.00        119

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  A/R Date: 1/8/2020                                                                                                                                                                            User Logon: laura
        Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                            Desc: Main
Sorted by Customer Number         Document Page 53 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                          Days
Invoice Date   Number             Invoice           Discount   Number           Amount             Balance          Current          30 Days          60 Days           90 Days                 120 Days          Delq


  10/3/2019    0024607-IN         10/3/2019                                             0.00             49.98             0.00             0.00            49.98                 0.00                 0.00         89
  10/22/2019   1009455-IN         10/22/2019                                            0.00             88.83             0.00             0.00            88.83                 0.00                 0.00         70
  11/5/2019    0024922-IN         11/5/2019                                             0.00             49.98             0.00            49.98             0.00                 0.00                 0.00         56
  12/4/2019    0025240-IN         12/4/2019                                             0.00             49.98            49.98             0.00             0.00                 0.00                 0.00         27
                                                  Customer SJDIST Totals:               0.00            338.73            49.98            49.98           138.81               49.98                  49.98

SKS            SkyTrackers Sale                                      Contact:                                             Phone:                                                Credit Limit:                      0.00
  7/31/2015    1006955-IN         7/31/2015                                             0.00            278.75                0.00             0.00             0.00              0.00               278.75       1,614
                                                     Customer SKS Totals:               0.00            278.75                0.00             0.00             0.00              0.00                278.75

SN             Smith & Nephew                                        Contact:   jorge soto                                Phone:     787-764-5115                               Credit Limit:                      0.00
  7/1/2014     0011173-IN         7/1/2014                                              0.00            179.94                0.00             0.00             0.00              0.00               179.94       2,009
  11/3/2015    0013565-IN         11/3/2015                                             0.00            119.96                0.00             0.00             0.00              0.00               119.96       1,519
                                                      Customer SN Totals:               0.00            299.90                0.00             0.00             0.00              0.00                299.90

SOFCAM         Sofrito Campesino                                     Contact:   Lourdes Valentín                          Phone:     787-898-1165                               Credit Limit:                      0.00
  8/5/2019     0023972-IN         8/5/2019                                              0.00             99.96             0.00             0.00             0.00                0.00                 99.96        148
  9/3/2019     0024291-IN         9/3/2019                                              0.00             99.96             0.00             0.00             0.00               99.96                  0.00        119
  10/3/2019    0024608-IN         10/3/2019                                             0.00             99.96             0.00             0.00            99.96                0.00                  0.00         89
  11/5/2019    0024923-IN         11/5/2019                                             0.00             99.96             0.00            99.96             0.00                0.00                  0.00         56
  12/4/2019    0025241-IN         12/4/2019                                             0.00             99.96            99.96             0.00             0.00                0.00                  0.00         27
                                                Customer SOFCAM Totals:                 0.00            499.80            99.96            99.96            99.96               99.96                  99.96

SOP            Specialty Office Products                             Contact:                                             Phone:     305-342-4880                               Credit Limit:                      0.00
  10/2/2015    0013427-IN         10/2/2015                                             0.00             29.99                0.00             0.00             0.00              0.00                29.99       1,551
  11/3/2015    0013566-IN         11/3/2015                                             0.00             29.99                0.00             0.00             0.00              0.00                29.99       1,519
                                                     Customer SOP Totals:               0.00             59.98                0.00             0.00             0.00              0.00                 59.98

SOUTHWA        South West Ambulance                                  Contact:                                             Phone:     787-394-3297                               Credit Limit:                      0.00
  11/5/2019    0024924-IN         11/5/2019                                             0.00             99.96             0.00            99.96                0.00              0.00                 0.00         56
  12/4/2019    0025242-IN         12/4/2019                                             0.00             99.96            99.96             0.00                0.00              0.00                 0.00         27
                                               Customer SOUTHWA Totals:                 0.00            199.92            99.96            99.96                0.00              0.00                     0.00

SPECTRA        Specialty Training Group Inc                          Contact:   Alexandra Rodríguez                       Phone:     787-688-5712                               Credit Limit:                      0.00
  12/4/2018    0021550-IN         12/4/2018                                             0.00             13.43             0.00             0.00             0.00                0.00                 13.43        392
  12/26/2018   1008850-IN         12/26/2018                                            0.00             88.40             0.00             0.00             0.00                0.00                 88.40        370
  1/2/2019     0021836-IN         1/2/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        363
  2/1/2019     0022132-IN         2/1/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        333
  3/4/2019     0022429-IN         3/4/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        302
  4/1/2019     0022728-IN         4/1/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        274
  5/3/2019     0023036-IN         5/3/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        242
  6/4/2019     0023347-IN         6/4/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        210
  7/2/2019     0023658-IN         7/2/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        182
  8/5/2019     0023974-IN         8/5/2019                                              0.00            149.94             0.00             0.00             0.00                0.00                149.94        148
  9/3/2019     0024293-IN         9/3/2019                                              0.00            149.94             0.00             0.00             0.00              149.94                  0.00        119
  10/3/2019    0024610-IN         10/3/2019                                             0.00            149.94             0.00             0.00           149.94                0.00                  0.00         89
  11/5/2019    0024925-IN         11/5/2019                                             0.00            149.94             0.00           149.94             0.00                0.00                  0.00         56
  12/4/2019    0025243-IN         12/4/2019                                             0.00            149.94           149.94             0.00             0.00                0.00                  0.00         27
                                               Customer SPECTRA Totals:                 0.00          1,901.11           149.94           149.94           149.94              149.94               1,301.35

SPM            SP Management                                         Contact:                                             Phone:     787-758-6415                               Credit Limit:                      0.00
  8/30/2016    1007568-IN         8/30/2016                                             0.00            385.00             0.00             0.00                0.00              0.00               385.00       1,218
  1/29/2018    1008322-IN         1/29/2018                                             0.00             63.83             0.00             0.00                0.00              0.00                63.83         701
  6/1/2018     0019881-IN         6/1/2018                                              0.00             21.28             0.00             0.00                0.00              0.00                21.28         578
  8/14/2019    1009303-IN         8/14/2019                                             0.00             63.83             0.00             0.00                0.00              0.00                63.83         139
  11/5/2019    0024926-IN         11/5/2019                                             0.00            980.00             0.00           980.00                0.00              0.00                 0.00          56
  11/5/2019    1009481-IN         11/5/2019                                             0.00             83.63             0.00            83.63                0.00              0.00                 0.00          56
  12/4/2019    0025244-IN         12/4/2019                                             0.00            980.00           980.00             0.00                0.00              0.00                 0.00          27
                                                     Customer SPM Totals:               0.00          2,577.57           980.00          1,063.63               0.00              0.00                533.94

SSS            TRIPLE SSS Propiedad                                  Contact:                                             Phone:     787-273-1110          Extension:   4720    Credit Limit:                      0.00
  8/5/2019     0023976-IN         8/5/2019                                              0.00                 7.98             0.00             0.00             0.00              0.00                 7.98        148
  9/3/2019     0024295-IN         9/3/2019                                              0.00                 7.98             0.00             0.00             0.00              7.98                 0.00        119
  10/3/2019    0024612-IN         10/3/2019                                             0.00                 7.98             0.00             0.00             7.98              0.00                 0.00         89
  11/5/2019    0024927-IN         11/5/2019                                             0.00                 7.98             0.00             7.98             0.00              0.00                 0.00         56
  12/4/2019    0025245-IN         12/4/2019                                             0.00                 7.98             7.98             0.00             0.00              0.00                 0.00         27
                                                     Customer SSS Totals:               0.00             39.90                7.98             7.98             7.98              7.98                     7.98

STERI          Stericycle                                            Contact:                                             Phone:     787-752-1377                               Credit Limit:                      0.00
  10/3/2019    0024613-IN         10/3/2019                                             0.00            527.79             0.00                0.00        527.79                 0.00                 0.00         89
  12/4/2019    0025246-IN         12/4/2019                                             0.00            569.78           569.78                0.00          0.00                 0.00                 0.00         27
                                                   Customer STERI Totals:               0.00          1,097.57           569.78                0.00        527.79                 0.00                     0.00

STI            Sindiemar Transport Inc                               Contact:                                             Phone:     787-412-8356                               Credit Limit:                      0.00
  4/28/2016    1007364-IN         4/28/2016                                             0.00             74.97                0.00             0.00             0.00              0.00                74.97       1,342
  6/3/2016     0014580-IN         6/3/2016                                              0.00             74.97                0.00             0.00             0.00              0.00                74.97       1,306
  7/4/2016     0014758-IN         7/4/2016                                              0.00             74.97                0.00             0.00             0.00              0.00                74.97       1,275
  8/3/2016     0014929-IN         8/3/2016                                              0.00             74.97                0.00             0.00             0.00              0.00                74.97       1,245
  9/2/2016     0015114-IN         9/2/2016                                              0.00             74.97                0.00             0.00             0.00              0.00                74.97       1,215
  10/3/2016    0015294-IN         10/3/2016                                             0.00             74.97                0.00             0.00             0.00              0.00                74.97       1,184
  11/1/2016    0015481-IN         11/1/2016                                             0.00             74.97                0.00             0.00             0.00              0.00                74.97       1,155

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          Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                               Desc: Main
Sorted by Customer Number           Document Page 54 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                            Skytec, Inc. (ST2)

Customer/         Invoice                     Due Dates            Job              Discount                                                                                                                       Days
Invoice Date      Number            Invoice           Discount     Number           Amount            Balance           Current          30 Days          60 Days          90 Days               120 Days          Delq


     12/1/2016    0015672-IN        12/1/2016                                               0.00               74.97              0.00             0.00             0.00             0.00              74.97       1,125
                                                         Customer STI Totals:               0.00              599.76              0.00             0.00             0.00             0.00              599.76

STONE             Stone & Tile                                           Contact:                                             Phone:                                             Credit Limit:                      0.00
     11/1/2016    0015482-IN        11/1/2016                                               0.00               39.95           0.00                0.00             0.00             0.00              39.95       1,155
     8/2/2018     0020426-IN        8/2/2018                                                0.00               49.98           0.00                0.00             0.00             0.00              49.98         516
     12/4/2019    0025247-IN        12/4/2019                                               0.00               49.98          49.98                0.00             0.00             0.00               0.00          27
                                                     Customer STONE Totals:                 0.00              139.91          49.98                0.00             0.00             0.00               89.93

SUNCOOL           Suncool Air Conditioning                               Contact:                                             Phone:     787-791-6971                            Credit Limit:                      0.00
     1/3/2014     0010311-IN        1/3/2014                                                0.00               38.67              0.00             0.00             0.00             0.00              38.67       2,188
     9/2/2016     0015116-IN        9/2/2016                                                0.00               19.99              0.00             0.00             0.00             0.00              19.99       1,215
                                                   Customer SUNCOOL Totals:                 0.00               58.66              0.00             0.00             0.00             0.00               58.66

SUNNY             Sunny Ambulance Inc                                    Contact:                                             Phone:     787-667-7753                            Credit Limit:                      0.00
     9/4/2018     0020702-IN        9/4/2018                                                0.00               40.00           0.00                0.00             0.00             0.00              40.00        483
     10/2/2018    0020978-IN        10/2/2018                                               0.00              520.00           0.00                0.00             0.00             0.00             520.00        455
     1/2/2019     0021841-IN        1/2/2019                                                0.00              520.00           0.00                0.00             0.00             0.00             520.00        363
     12/4/2019    0025248-IN        12/4/2019                                               0.00              522.50         522.50                0.00             0.00             0.00               0.00         27
                                                     Customer SUNNY Totals:                 0.00             1,602.50        522.50                0.00             0.00             0.00            1,080.00

SYSH              System Shred                                           Contact:                                             Phone:     787-397-8496                            Credit Limit:                      0.00
     11/1/2018    0021263-IN        11/1/2018                                               0.00               49.98           0.00             0.00             0.00                0.00              49.98        425
     12/4/2018    0021556-IN        12/4/2018                                               0.00               49.98           0.00             0.00             0.00                0.00              49.98        392
     10/3/2019    0024616-IN        10/3/2019                                               0.00               49.98           0.00             0.00            49.98                0.00               0.00         89
     11/5/2019    0024931-IN        11/5/2019                                               0.00               49.98           0.00            49.98             0.00                0.00               0.00         56
     12/4/2019    0025249-IN        12/4/2019                                               0.00               49.98          49.98             0.00             0.00                0.00               0.00         27
                                                       Customer SYSH Totals:                0.00              249.90          49.98            49.98            49.98                0.00               99.96

TCSI              Trinidad Contractor Services I                         Contact:   Manuel Trinidad                           Phone:     787-273-6309                            Credit Limit:                      0.00
     7/2/2019     0023666-IN        7/2/2019                                                0.00               99.96           0.00             0.00             0.00             0.00                 99.96        182
     8/5/2019     0023982-IN        8/5/2019                                                0.00               99.96           0.00             0.00             0.00             0.00                 99.96        148
     9/3/2019     0024301-IN        9/3/2019                                                0.00               99.96           0.00             0.00             0.00            99.96                  0.00        119
     10/3/2019    0024618-IN        10/3/2019                                               0.00               99.96           0.00             0.00            99.96             0.00                  0.00         89
     10/29/2019   1009482-IN        10/29/2019                                              0.00               24.99           0.00             0.00            24.99             0.00                  0.00         63
     11/5/2019    0024933-IN        11/5/2019                                               0.00               99.96           0.00            99.96             0.00             0.00                  0.00         56
     12/4/2019    0025251-IN        12/4/2019                                               0.00              124.95         124.95             0.00             0.00             0.00                  0.00         27
                                                        Customer TCSI Totals:               0.00              649.74         124.95            99.96           124.95            99.96                 199.92

TELCON            Telcon US                                              Contact:                                             Phone:     214-724-6978                            Credit Limit:                      0.00
     8/6/2014     1006434-IN        8/6/2014                                                0.00               50.00              0.00             0.00             0.00             0.00              50.00       1,973
                                                    Customer TELCON Totals:                 0.00               50.00              0.00             0.00             0.00             0.00               50.00

THODIA            Thomas Díaz                                            Contact:                                             Phone:     787-784-5606                            Credit Limit:                      0.00
     1/2/2019     0021845-IN        1/2/2019                                                0.00               49.98              0.00             0.00             0.00             0.00              49.98        363
                                                     Customer THODIA Totals:                0.00               49.98              0.00             0.00             0.00             0.00               49.98

THY               ThyssenKrupp Elevator Inc.                             Contact:   Gilda Reyes                               Phone:     787-708-5605                            Credit Limit:                      0.00
     11/16/2010   0005569-IN        11/16/2010                                              0.00               54.85-             0.00             0.00             0.00             0.00              54.85-
                                                        Customer THY Totals:                0.00               54.85-             0.00             0.00             0.00             0.00               54.85-

TINT              Tint Solutions Corp                                    Contact:                                             Phone:     787-705-7313                            Credit Limit:                      0.00
     10/3/2019    0024620-IN        10/3/2019                                               0.00               24.99           0.00             0.00            24.99                0.00               0.00         89
     11/5/2019    0024935-IN        11/5/2019                                               0.00               24.99           0.00            24.99             0.00                0.00               0.00         56
     12/4/2019    0025253-IN        12/4/2019                                               0.00               24.99          24.99             0.00             0.00                0.00               0.00         27
                                                        Customer TINT Totals:               0.00               74.97          24.99            24.99            24.99                0.00                   0.00

TL                Transcon Lighting System, Inc.                         Contact:                                             Phone:     787-755-2088                            Credit Limit:                      0.00
     12/4/2019    0025254-IN        12/4/2019                                               0.00               39.98          39.98                0.00             0.00             0.00               0.00         27
                                                          Customer TL Totals:               0.00               39.98          39.98                0.00             0.00             0.00                   0.00

TMAXX             Tire Maxx Puerto Rico LLC                              Contact:                                             Phone:     787-634-4716                            Credit Limit:                      0.00
     11/5/2019    0024937-IN        11/5/2019                                               0.00               24.99           0.00            24.99                0.00             0.00               0.00         56
     12/4/2019    0025255-IN        12/4/2019                                               0.00               24.99          24.99             0.00                0.00             0.00               0.00         27
                                                     Customer TMAXX Totals:                 0.00               49.98          24.99            24.99                0.00             0.00                   0.00

TOMAS             Tomás Cuerda                                           Contact:                                             Phone:     787-758-7830                            Credit Limit:                      0.00
     8/3/2016     0014935-IN        8/3/2016                                                0.00              120.96           0.00             0.00             0.00            0.00                 120.96       1,245
     9/2/2016     0015121-IN        9/2/2016                                                0.00              199.92           0.00             0.00             0.00            0.00                 199.92       1,215
     9/3/2019     0024307-IN        9/3/2019                                                0.00              199.92           0.00             0.00             0.00          199.92                   0.00         119
     10/3/2019    0024624-IN        10/3/2019                                               0.00              199.92           0.00             0.00           199.92            0.00                   0.00          89
     11/5/2019    0024939-IN        11/5/2019                                               0.00              199.92           0.00           199.92             0.00            0.00                   0.00          56
     12/4/2019    0025257-IN        12/4/2019                                               0.00              199.92         199.92             0.00             0.00            0.00                   0.00          27
                                                     Customer TOMAS Totals:                 0.00             1,120.56        199.92           199.92           199.92           199.92                 320.88

TOTAL E           Total Equipment                                        Contact:                                             Phone:     787-748-0000                            Credit Limit:                      0.00
     11/5/2019    0024940-IN        11/5/2019                                               0.00              139.94              0.00        139.94                0.00             0.00               0.00         56
     11/5/2019    1009476-IN        11/5/2019                                               0.00               24.99              0.00         24.99                0.00             0.00               0.00         56
                                                    Customer TOTAL E Totals:                0.00              164.93              0.00        164.93                0.00             0.00                   0.00

TRANCRU           Transporte Cruz                                        Contact:   Gilberto Cruz González                    Phone:     787-429-7017                            Credit Limit:                      0.00

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     A/R Date: 1/8/2020                                                                                                                                                                             User Logon: laura
         Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                               Desc: Main
Sorted by Customer Number          Document Page 55 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                              Skytec, Inc. (ST2)

Customer/      Invoice                        Due Dates          Job              Discount                                                                                                                           Days
Invoice Date   Number               Invoice           Discount   Number           Amount            Balance           Current          30 Days           60 Days           90 Days                 120 Days          Delq


  11/5/2019    0024941-IN           11/5/2019                                              0.00           19.99              0.00             19.99                0.00              0.00                 0.00         56
  12/4/2019    0025259-IN           12/4/2019                                              0.00           19.99             19.99              0.00                0.00              0.00                 0.00         27
                                                 Customer TRANCRU Totals:                  0.00           39.98             19.99             19.99                0.00              0.00                     0.00

TRANSME        Transmedic Ambulance Services                           Contact:   José A. Gautier                           Phone:     787-761-0911                                Credit Limit:                      0.00
  3/4/2019     0022445-IN           3/4/2019                                               0.00        1,942.91                 0.00             0.00           0.00                0.00              1,942.91        302
  4/1/2019     0022744-IN           4/1/2019                                               0.00          520.00                 0.00             0.00           0.00                0.00                520.00        274
  5/3/2019     0023053-IN           5/3/2019                                               0.00          522.50                 0.00             0.00           0.00                0.00                522.50        242
  6/4/2019     0023364-IN           6/4/2019                                               0.00          522.50                 0.00             0.00           0.00                0.00                522.50        210
  7/2/2019     0023675-IN           7/2/2019                                               0.00          522.50                 0.00             0.00           0.00                0.00                522.50        182
  8/5/2019     0023991-IN           8/5/2019                                               0.00          522.50                 0.00             0.00           0.00                0.00                522.50        148
  9/3/2019     0024310-IN           9/3/2019                                               0.00          522.50                 0.00             0.00           0.00              522.50                  0.00        119
  10/3/2019    0024627-IN           10/3/2019                                              0.00          522.50                 0.00             0.00         522.50                0.00                  0.00         89
                                                 Customer TRANSME Totals:                  0.00        5,597.91                 0.00             0.00         522.50              522.50               4,552.91

TRG            The Retail Group Inc.                                   Contact:                                             Phone:     787-622-9212                                Credit Limit:                      0.00
  3/3/2015     0012439-IN           3/3/2015                                               0.00           59.98              0.00              0.00             0.00                 0.00                59.98       1,764
  12/1/2017    0018294-IN           12/1/2017                                              0.00           74.97              0.00              0.00             0.00                 0.00                74.97         760
  7/6/2018     0020164-IN           7/6/2018                                               0.00           74.97              0.00              0.00             0.00                 0.00                74.97         543
  9/28/2018    1008711-IN           9/28/2018                                              0.00           23.00              0.00              0.00             0.00                 0.00                23.00         459
  10/3/2019    0024628-IN           10/3/2019                                              0.00           10.00              0.00              0.00            10.00                 0.00                 0.00          89
  11/5/2019    0024942-IN           11/5/2019                                              0.00           10.00              0.00             10.00             0.00                 0.00                 0.00          56
  12/4/2019    0025260-IN           12/4/2019                                              0.00           99.96             99.96              0.00             0.00                 0.00                 0.00          27
                                                       Customer TRG Totals:                0.00          352.88             99.96             10.00            10.00                 0.00                232.92

UMDIST         UM Distributors                                         Contact:   Ulises Mayo                               Phone:     787-283-8765                                Credit Limit:                      0.00
  11/5/2019    0024943-IN           11/5/2019                                              0.00               0.02-             0.00             0.02-             0.00              0.00                 0.00
                                                   Customer UMDIST Totals:                 0.00               0.02-             0.00             0.02-             0.00              0.00                     0.00

UNICAAM        Universal Care Ambulance                                Contact:                                             Phone:     787-975-2706                                Credit Limit:                      0.00
  7/2/2019     0023678-IN           7/2/2019                                               0.00          572.48              0.00              0.00             0.00                0.00                572.48        182
  8/5/2019     0023994-IN           8/5/2019                                               0.00          572.48              0.00              0.00             0.00                0.00                572.48        148
  9/3/2019     0024313-IN           9/3/2019                                               0.00          572.48              0.00              0.00             0.00              572.48                  0.00        119
  10/3/2019    0024630-IN           10/3/2019                                              0.00          572.48              0.00              0.00           572.48                0.00                  0.00         89
  11/5/2019    0024944-IN           11/5/2019                                              0.00          572.48              0.00            572.48             0.00                0.00                  0.00         56
  12/4/2019    0025262-IN           12/4/2019                                              0.00          522.50            522.50              0.00             0.00                0.00                  0.00         27
                                                  Customer UNICAAM Totals:                 0.00        3,384.90            522.50            572.48           572.48              572.48               1,144.96

UPR MAY        Universidad de PR Mayaguez                              Contact:                                             Phone:     787-833-8433           Extension:   2221    Credit Limit:                      0.00
  12/4/2019    1009526-IN           12/4/2019                                              0.00       34,066.20         34,066.20                0.00              0.00              0.00                 0.00         27
                                                  Customer UPR MAY Totals:                 0.00       34,066.20         34,066.20                0.00              0.00              0.00                     0.00

VALEN          Valenciano Ambulance Services                           Contact:                                             Phone:     787-568-4079                                Credit Limit:                      0.00
  8/5/2019     0023995-IN           8/5/2019                                               0.00           24.99                 0.00             0.00           0.00                0.00                 24.99        148
  9/3/2019     0024314-IN           9/3/2019                                               0.00           24.99                 0.00             0.00           0.00               24.99                  0.00        119
  10/3/2019    0024631-IN           10/3/2019                                              0.00           24.99                 0.00             0.00          24.99                0.00                  0.00         89
                                                    Customer VALEN Totals:                 0.00           74.97                 0.00             0.00          24.99               24.99                  24.99

VALVILA        Valvila Petroleum                                       Contact:   María I Vilá                              Phone:     787-262-7001                                Credit Limit:                      0.00
  12/17/2019   1009557-IN           12/17/2019                                             0.00           69.99             69.99                0.00              0.00              0.00                 0.00         14
                                                   Customer VALVILA Totals:                0.00           69.99             69.99                0.00              0.00              0.00                     0.00

VARISAN        Vanessa Rivera Santiago                                 Contact:                                             Phone:     787-870-6124                                Credit Limit:                      0.00
  5/3/2017     0016660-IN           5/3/2017                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        972
  6/1/2017     0016864-IN           6/1/2017                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        943
  7/3/2017     0017072-IN           7/3/2017                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        911
  8/1/2017     0017298-IN           8/1/2017                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        882
  9/4/2017     0017544-IN           9/4/2017                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        848
  10/5/2017    0017786-IN           10/5/2017                                              0.00           24.99                 0.00             0.00              0.00              0.00                24.99        817
  11/3/2017    0018034-IN           11/3/2017                                              0.00           24.99                 0.00             0.00              0.00              0.00                24.99        788
  12/1/2017    0018296-IN           12/1/2017                                              0.00           24.99                 0.00             0.00              0.00              0.00                24.99        760
  1/5/2018     0018550-IN           1/5/2018                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        725
  2/1/2018     0018796-IN           2/1/2018                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        698
  3/2/2018     0019062-IN           3/2/2018                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        669
  4/1/2018     0019331-IN           4/1/2018                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        639
                                                  Customer VARISAN Totals:                 0.00          299.88                 0.00             0.00              0.00              0.00                299.88

VEGANO         Vegano Don Juan Imports                                 Contact:                                             Phone:     787--281-0466                               Credit Limit:                      0.00
  8/1/2012     0007903-IN           8/1/2012                                               0.00          199.95                 0.00             0.00              0.00              0.00               199.95       2,708
                                                  Customer VEGANO Totals:                  0.00          199.95                 0.00             0.00              0.00              0.00                199.95

VENTO          Vento Distributors                                      Contact:                                             Phone:     787-783-1074                                Credit Limit:                      0.00
  11/5/2019    0024946-IN           11/5/2019                                              0.00          179.91                 0.00         179.91                0.00              0.00                 0.00         56
                                                    Customer VENTO Totals:                 0.00          179.91                 0.00         179.91                0.00              0.00                     0.00

VENTURE        Venture Distributors                                    Contact:                                             Phone:     787-793-5750                                Credit Limit:                      0.00
  5/3/2017     0016663-IN           5/3/2017                                               0.00          150.00                 0.00             0.00              0.00              0.00               150.00        972
                                                 Customer VENTURE Totals:                  0.00          150.00                 0.00             0.00              0.00              0.00                150.00

VESAN          Verónica Sánchez                                        Contact:                                             Phone:     787-466-8668                                Credit Limit:                      0.00
  1/2/2019     0021860-IN           1/2/2019                                               0.00           24.99                 0.00             0.00              0.00              0.00                24.99        363

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  A/R Date: 1/8/2020                                                                                                                                                                                  User Logon: laura
          Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number           Document Page 56 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                       Skytec, Inc. (ST2)

Customer/        Invoice                       Due Dates          Job               Discount                                                                                                                  Days
Invoice Date     Number              Invoice           Discount   Number            Amount           Balance       Current          30 Days          60 Days          90 Days               120 Days          Delq


  2/1/2019       0022156-IN          2/1/2019                                              0.00            24.99          0.00             0.00             0.00             0.00                 24.99        333
  3/4/2019       0022453-IN          3/4/2019                                              0.00            24.99          0.00             0.00             0.00             0.00                 24.99        302
  4/1/2019       0022752-IN          4/1/2019                                              0.00            24.99          0.00             0.00             0.00             0.00                 24.99        274
  5/3/2019       0023061-IN          5/3/2019                                              0.00            24.99          0.00             0.00             0.00             0.00                 24.99        242
  6/4/2019       0023372-IN          6/4/2019                                              0.00            24.99          0.00             0.00             0.00             0.00                 24.99        210
  7/2/2019       0023683-IN          7/2/2019                                              0.00            24.99          0.00             0.00             0.00             0.00                 24.99        182
  8/5/2019       0023999-IN          8/5/2019                                              0.00            24.99          0.00             0.00             0.00             0.00                 24.99        148
  9/3/2019       0024318-IN          9/3/2019                                              0.00            24.99          0.00             0.00             0.00            24.99                  0.00        119
  10/3/2019      0024635-IN          10/3/2019                                             0.00            24.99          0.00             0.00            24.99             0.00                  0.00         89
  11/5/2019      0024948-IN          11/5/2019                                             0.00            24.99          0.00            24.99             0.00             0.00                  0.00         56
  12/4/2019      0025266-IN          12/4/2019                                             0.00            24.99         24.99             0.00             0.00             0.00                  0.00         27
                                                     Customer VESAN Totals:                0.00           299.88         24.99            24.99            24.99            24.99                 199.92

VF               Vista Farms, SE                                         Contact:                                        Phone:     787-837-9077                            Credit Limit:                      0.00
  10/3/2019      0024636-IN          10/3/2019                                             0.00           149.94          0.00             0.00           149.94                0.00               0.00         89
  11/5/2019      0024949-IN          11/5/2019                                             0.00           149.94          0.00           149.94             0.00                0.00               0.00         56
  12/4/2019      0025267-IN          12/4/2019                                             0.00           149.94        149.94             0.00             0.00                0.00               0.00         27
                                                         Customer VF Totals:               0.00           449.82        149.94           149.94           149.94                0.00                   0.00

VICCA            Victor M Cachola                                        Contact:                                        Phone:     939-270-5892                            Credit Limit:                      0.00
  8/15/2017      1008026-IN          8/15/2017                                             0.00            80.74             0.00             0.00             0.00             0.00              80.74        868
  9/4/2017       0017550-IN          9/4/2017                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        848
  10/5/2017      0017792-IN          10/5/2017                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99        817
  11/3/2017      0018040-IN          11/3/2017                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99        788
  12/1/2017      0018302-IN          12/1/2017                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99        760
  1/5/2018       0018556-IN          1/5/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        725
  2/1/2018       0018802-IN          2/1/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        698
  3/2/2018       0019068-IN          3/2/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        669
  4/1/2018       0019337-IN          4/1/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        639
  5/1/2018       0019621-IN          5/1/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        609
  6/1/2018       0019904-IN          6/1/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        578
  7/6/2018       0020171-IN          7/6/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        543
  8/2/2018       0020446-IN          8/2/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        516
  9/4/2018       0020721-IN          9/4/2018                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        483
  11/1/2018      0021282-IN          11/1/2018                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99        425
  12/4/2018      0021576-IN          12/4/2018                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99        392
  1/2/2019       0021862-IN          1/2/2019                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99        363
                                                      Customer VICCA Totals:               0.00           480.58             0.00             0.00             0.00             0.00              480.58

VICRIV           Victor Rivera Vázquez                                   Contact:                                        Phone:     787-486-5112                            Credit Limit:                      0.00
  12/4/2019      0025268-IN          12/4/2019                                             0.00            49.98         49.98                0.00             0.00             0.00               0.00         27
                                                     Customer VICRIV Totals:               0.00            49.98         49.98                0.00             0.00             0.00                   0.00

VIFA             Viviana Falcón                                          Contact:                                        Phone:     787-565-2838                            Credit Limit:                      0.00
  5/3/2016       0014430-IN          5/3/2016                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,337
  6/3/2016       0014594-IN          6/3/2016                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,306
  7/4/2016       0014773-IN          7/4/2016                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,275
  8/3/2016       0014944-IN          8/3/2016                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,245
  9/2/2016       0015130-IN          9/2/2016                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,215
  10/3/2016      0015310-IN          10/3/2016                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,184
  11/1/2016      0015498-IN          11/1/2016                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,155
  12/1/2016      0015689-IN          12/1/2016                                             0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,125
  1/5/2017       0015879-IN          1/5/2017                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,090
  3/1/2017       0016264-IN          3/1/2017                                              0.00            24.99             0.00             0.00             0.00             0.00              24.99       1,035
                                                       Customer VIFA Totals:               0.00           249.90             0.00             0.00             0.00             0.00              249.90

VIP              VIP Ambulance Corp                                      Contact:   Wanda Santiago                       Phone:     787-708-4558                            Credit Limit:                      0.00
  12/4/2019      0025269-IN          12/4/2019                                             0.00           188.79        188.79                0.00             0.00             0.00               0.00         27
                                                         Customer VIP Totals:              0.00           188.79        188.79                0.00             0.00             0.00                   0.00

VITAL            Vital Emergency Response LLC                            Contact:   Juan C Ramos                         Phone:     787-479-9494                            Credit Limit:                      0.00
  12/4/2019      0025270-IN          12/4/2019                                             0.00           209.93        209.93                0.00             0.00             0.00               0.00         27
                                                      Customer VITAL Totals:               0.00           209.93        209.93                0.00             0.00             0.00                   0.00

VIVISU           Vivianette Suárez                                       Contact:                                        Phone:     787-929-0349                            Credit Limit:                      0.00
  5/3/2019       0023064-IN          5/3/2019                                              0.00            24.92          0.00                0.00          0.00                0.00              24.92        242
  10/3/2019      0024638-IN          10/3/2019                                             0.00            24.99          0.00                0.00         24.99                0.00               0.00         89
  12/4/2019      0025271-IN          12/4/2019                                             0.00            24.99         24.99                0.00          0.00                0.00               0.00         27
                                                     Customer VIVISU Totals:               0.00            74.90         24.99                0.00         24.99                0.00               24.92

VOLT             Fred Voltagio                                           Contact:                                        Phone:     787-221-1814                            Credit Limit:                      0.00
  12/4/2019      0025272-IN          12/4/2019                                             0.00            19.99         19.99                0.00             0.00             0.00               0.00         27
                                                       Customer VOLT Totals:               0.00            19.99         19.99                0.00             0.00             0.00                   0.00

VPNET            VP NET                                                  Contact:                                        Phone:     787-638-1080                            Credit Limit:                      0.00
  5/3/2019       0023066-IN          5/3/2019                                              0.00           194.93          0.00             0.00             0.00            0.00                 194.93        242
  8/5/2019       0024004-IN          8/5/2019                                              0.00           199.93          0.00             0.00             0.00            0.00                 199.93        148
  9/3/2019       0024323-IN          9/3/2019                                              0.00           199.93          0.00             0.00             0.00          199.93                   0.00        119
  10/3/2019      0024640-IN          10/3/2019                                             0.00           199.93          0.00             0.00           199.93            0.00                   0.00         89
  11/5/2019      0024953-IN          11/5/2019                                             0.00           199.93          0.00           199.93             0.00            0.00                   0.00         56
  12/4/2019      0025273-IN          12/4/2019                                             0.00           199.93        199.93             0.00             0.00            0.00                   0.00         27

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     A/R Date: 1/8/2020                                                                                                                                                                        User Logon: laura
        Case:18-05288-EAG11 Doc#:303 Filed:01/21/20 Entered:01/21/20 19:55:27
Accounts Receivable Aged Invoice Report                                                                                                                                            Desc: Main
Sorted by Customer Number         Document Page 57 of 79
All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                            Days
Invoice Date   Number           Invoice           Discount   Number           Amount               Balance          Current          30 Days          60 Days           90 Days                 120 Days          Delq


                                                Customer VPNET Totals:                 0.00           1,194.58           199.93           199.93           199.93              199.93                 394.86

WAL            Walmart                                             Contact:                                               Phone:     787-788-8800                               Credit Limit:                      0.00
  12/13/2019   1009544-IN       12/13/2019                                             0.00          25,395.24        25,395.24                0.00             0.00              0.00                 0.00         18
                                                   Customer WAL Totals:                0.00          25,395.24        25,395.24                0.00             0.00              0.00                     0.00

WAR            Warco Corporation                                   Contact:                                               Phone:     787-760-5000                               Credit Limit:                      0.00
  12/14/2015   1007345-IN       12/14/2015                                             0.00             110.03             0.00                0.00             0.00              0.00               110.03       1,478
  12/4/2019    0025274-IN       12/4/2019                                              0.00              99.96            99.96                0.00             0.00              0.00                 0.00          27
                                                  Customer WAR Totals:                 0.00             209.99            99.96                0.00             0.00              0.00                110.03

WARCH          WARNER CHILCOTT                                     Contact:   Juan Rivera Alicea                          Phone:     787-621-4253                               Credit Limit:                      0.00
  5/30/2016    1007403-IN       5/30/2016                                              0.00             103.56-               0.00             0.00             0.00              0.00               103.56-
                                                Customer WARCH Totals:                 0.00             103.56-               0.00             0.00             0.00              0.00                103.56-

WET            Waste Enviromental Technologie                      Contact:                                               Phone:     787-836-8912                               Credit Limit:                      0.00
  12/1/2017    0018307-IN       12/1/2017                                              0.00             156.00                0.00             0.00             0.00             0.00                156.00        760
  2/1/2018     0018807-IN       2/1/2018                                               0.00             179.94                0.00             0.00             0.00             0.00                179.94        698
  3/2/2018     0019073-IN       3/2/2018                                               0.00             179.94                0.00             0.00             0.00             0.00                179.94        669
  5/3/2019     0023068-IN       5/3/2019                                               0.00             179.94                0.00             0.00             0.00             0.00                179.94        242
  9/3/2019     0024325-IN       9/3/2019                                               0.00             179.94                0.00             0.00             0.00           179.94                  0.00        119
                                                  Customer WET Totals:                 0.00             875.76                0.00             0.00             0.00           179.94                 695.82

WH             Wyndham Rio Mar Beach Resort                        Contact:   Sr, Alicea                                  Phone:     787-888-6000          Extension:   3205    Credit Limit:                      0.00
  12/4/2015    1007151-IN       12/4/2015                                              0.00             528.07             0.00             0.00             0.00                0.00                528.07       1,488
  2/25/2019    1008972-IN       2/25/2019                                              0.00              70.70             0.00             0.00             0.00                0.00                 70.70         309
  2/25/2019    1008973-IN       2/25/2019                                              0.00             461.30             0.00             0.00             0.00                0.00                461.30         309
  3/28/2019    1009041-IN       3/28/2019                                              0.00              89.29             0.00             0.00             0.00                0.00                 89.29         278
  4/29/2019    1009112-IN       4/29/2019                                              0.00             675.80             0.00             0.00             0.00                0.00                675.80         246
  6/24/2019    1009191-IN       6/24/2019                                              0.00             144.60             0.00             0.00             0.00                0.00                144.60         190
  7/22/2019    1009247-IN       7/22/2019                                              0.00             109.90             0.00             0.00             0.00                0.00                109.90         162
  7/31/2019    1009264-IN       7/31/2019                                              0.00             168.68             0.00             0.00             0.00                0.00                168.68         153
  9/23/2019    1009398-IN       9/23/2019                                              0.00             269.94             0.00             0.00             0.00              269.94                  0.00          99
  10/29/2019   1009484-IN       10/29/2019                                             0.00             270.38             0.00             0.00           270.38                0.00                  0.00          63
  11/25/2019   1009519-IN       11/25/2019                                             0.00             222.30             0.00           222.30             0.00                0.00                  0.00          36
  12/13/2019   1009551-IN       12/13/2019                                             0.00             115.20           115.20             0.00             0.00                0.00                  0.00          18
  12/26/2019   1009568-IN       12/26/2019                                             0.00             339.00           339.00             0.00             0.00                0.00                  0.00           5
  12/26/2019   1009575-IN       12/26/2019                                             0.00              85.65            85.65             0.00             0.00                0.00                  0.00           5
                                                    Customer WH Totals:                0.00           3,550.81           539.85           222.30           270.38              269.94               2,248.34

WJAUTO         WJ Automation                                       Contact:   Steven Otero                                Phone:     787-365-8604                               Credit Limit:                      0.00
  12/26/2019   1009571-IN       12/26/2019                                             0.00              24.99            24.99                0.00             0.00              0.00                 0.00          5
                                              Customer WJAUTO Totals:                  0.00              24.99            24.99                0.00             0.00              0.00                     0.00

WMST           West Medical Services Transpor                      Contact:   Emily Torres                                Phone:     787-255-2929                               Credit Limit:                      0.00
  6/4/2019     0023381-IN       6/4/2019                                               0.00             252.49             0.00             0.00             0.00                0.00                252.49        210
  7/2/2019     0023692-IN       7/2/2019                                               0.00             552.49             0.00             0.00             0.00                0.00                552.49        182
  8/5/2019     0024008-IN       8/5/2019                                               0.00             552.49             0.00             0.00             0.00                0.00                552.49        148
  9/3/2019     0024327-IN       9/3/2019                                               0.00             552.49             0.00             0.00             0.00              552.49                  0.00        119
  10/3/2019    0024644-IN       10/3/2019                                              0.00             552.49             0.00             0.00           552.49                0.00                  0.00         89
  11/5/2019    0024957-IN       11/5/2019                                              0.00             552.49             0.00           552.49             0.00                0.00                  0.00         56
  12/4/2019    0025277-IN       12/4/2019                                              0.00             552.49           552.49             0.00             0.00                0.00                  0.00         27
                                                 Customer WMST Totals:                 0.00           3,567.43           552.49           552.49           552.49              552.49               1,357.47

WRRE           WR Recycling Inc.                                   Contact:                                               Phone:     787-254-4328                               Credit Limit:                      0.00
  3/4/2019     0022463-IN       3/4/2019                                               0.00             174.93-               0.00             0.00             0.00              0.00               174.93-
  4/1/2019     0022762-IN       4/1/2019                                               0.00             174.93                0.00             0.00             0.00              0.00               174.93        274
                                                 Customer WRRE Totals:                 0.00                  0.00             0.00             0.00             0.00              0.00                     0.00

WSONT          William Son Transport                               Contact:                                               Phone:     787-568-2400                               Credit Limit:                      0.00
  11/7/2016    1007653-IN       11/7/2016                                              0.00              44.21                0.00             0.00          0.00                0.00                 44.21       1,149
  11/17/2016   1007675-IN       11/17/2016                                             0.00             236.45                0.00             0.00          0.00                0.00                236.45       1,139
  11/17/2016   1007676-IN       11/17/2016                                             0.00              24.99                0.00             0.00          0.00                0.00                 24.99       1,139
  9/4/2018     0020730-IN       9/4/2018                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         483
  10/2/2018    0021006-IN       10/2/2018                                              0.00             249.90                0.00             0.00          0.00                0.00                249.90         455
  11/1/2018    0021291-IN       11/1/2018                                              0.00             249.90                0.00             0.00          0.00                0.00                249.90         425
  12/4/2018    0021585-IN       12/4/2018                                              0.00             249.90                0.00             0.00          0.00                0.00                249.90         392
  1/2/2019     0021871-IN       1/2/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         363
  2/1/2019     0022168-IN       2/1/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         333
  3/4/2019     0022464-IN       3/4/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         302
  4/1/2019     0022763-IN       4/1/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         274
  5/3/2019     0023071-IN       5/3/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         242
  6/4/2019     0023382-IN       6/4/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         210
  7/2/2019     0023693-IN       7/2/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         182
  8/5/2019     0024009-IN       8/5/2019                                               0.00             249.90                0.00             0.00          0.00                0.00                249.90         148
  9/3/2019     0024328-IN       9/3/2019                                               0.00             249.90                0.00             0.00          0.00              249.90                  0.00         119
  10/3/2019    0024645-IN       10/3/2019                                              0.00             249.90                0.00             0.00        249.90                0.00                  0.00          89
                                                Customer WSONT Totals:                 0.00           3,804.25                0.00             0.00        249.90              249.90               3,304.45

WWTI           World Wide Tires Inc.                               Contact:                                               Phone:     787-781-8260                               Credit Limit:                      0.00
  5/3/2019     0023072-IN       5/3/2019                                               0.00             324.35                0.00             0.00             0.00              0.00               324.35        242

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Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
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All Open Invoices - Aged as of 12/31/2019
                                                                                                                                                                                   Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates             Job              Discount                                                                                                                 Days
Invoice Date   Number           Invoice           Discount      Number           Amount           Balance        Current        30 Days          60 Days          90 Days               120 Days          Delq


  6/4/2019     0023383-IN       6/4/2019                                                 0.00          324.35           0.00           0.00             0.00            0.00                 324.35        210
  7/2/2019     0023694-IN       7/2/2019                                                 0.00          324.35           0.00           0.00             0.00            0.00                 324.35        182
  8/5/2019     0024010-IN       8/5/2019                                                 0.00          324.35           0.00           0.00             0.00            0.00                 324.35        148
  8/22/2019    1009330-IN       8/22/2019                                                0.00           88.83           0.00           0.00             0.00            0.00                  88.83        131
  9/3/2019     0024329-IN       9/3/2019                                                 0.00          299.40           0.00           0.00             0.00          299.40                   0.00        119
  10/2/2019    1009417-IN       10/2/2019                                                0.00           88.83           0.00           0.00             0.00           88.83                   0.00         90
  10/3/2019    0024646-IN       10/3/2019                                                0.00          299.40           0.00           0.00           299.40            0.00                   0.00         89
  11/5/2019    0024958-IN       11/5/2019                                                0.00          274.45           0.00         274.45             0.00            0.00                   0.00         56
  11/13/2019   1009513-IN       11/13/2019                                               0.00           88.83           0.00          88.83             0.00            0.00                   0.00         48
  12/4/2019    0025278-IN       12/4/2019                                                0.00          224.55         224.55           0.00             0.00            0.00                   0.00         27
                                                  Customer WWTI Totals:                  0.00        2,661.69         224.55         363.28           299.40           388.23               1,386.23

YAHRI          Yahaira Rivera                                         Contact:   Yahaira Rivera                        Phone:   787-632-5720                            Credit Limit:                      0.00
  2/1/2019     0022170-IN       2/1/2019                                                 0.00           24.99           0.00           0.00             0.00             0.00                 24.99        333
  3/4/2019     0022466-IN       3/4/2019                                                 0.00           24.99           0.00           0.00             0.00             0.00                 24.99        302
  4/1/2019     0022765-IN       4/1/2019                                                 0.00           24.99           0.00           0.00             0.00             0.00                 24.99        274
  5/3/2019     0023073-IN       5/3/2019                                                 0.00           24.99           0.00           0.00             0.00             0.00                 24.99        242
  6/4/2019     0023384-IN       6/4/2019                                                 0.00           24.99           0.00           0.00             0.00             0.00                 24.99        210
  7/2/2019     0023695-IN       7/2/2019                                                 0.00           24.99           0.00           0.00             0.00             0.00                 24.99        182
  8/5/2019     0024011-IN       8/5/2019                                                 0.00           24.99           0.00           0.00             0.00             0.00                 24.99        148
  9/3/2019     0024330-IN       9/3/2019                                                 0.00           24.99           0.00           0.00             0.00            24.99                  0.00        119
  10/3/2019    0024647-IN       10/3/2019                                                0.00           24.99           0.00           0.00            24.99             0.00                  0.00         89
  11/5/2019    0024959-IN       11/5/2019                                                0.00           24.99           0.00          24.99             0.00             0.00                  0.00         56
  12/4/2019    0025279-IN       12/4/2019                                                0.00           24.99          24.99           0.00             0.00             0.00                  0.00         27
                                                 Customer YAHRI Totals:                  0.00          274.89          24.99          24.99            24.99            24.99                 174.93

YAMILR         Yamil A. Ramos Ocasio                                  Contact:                                         Phone:   787-412-0223                            Credit Limit:                      0.00
  11/5/2019    0024960-IN       11/5/2019                                                0.00           24.99           0.00          24.99                0.00             0.00               0.00         56
  12/4/2019    0025280-IN       12/4/2019                                                0.00           24.99          24.99           0.00                0.00             0.00               0.00         27
                                                Customer YAMILR Totals:                  0.00           49.98          24.99          24.99                0.00             0.00                   0.00

ZERO           Zero Medical Waste                                     Contact:                                         Phone:   787-914-2791                            Credit Limit:                      0.00
  4/1/2019     0022767-IN       4/1/2019                                                 0.00           24.99           0.00              0.00             0.00             0.00              24.99        274
  12/4/2019    0025281-IN       12/4/2019                                                0.00          174.93         174.93              0.00             0.00             0.00               0.00         27
                                                  Customer ZERO Totals:                  0.00          199.92         174.93              0.00             0.00             0.00               24.99


                                                             Report Totals:              0.00     1,270,608.86    275,027.35      114,016.98       68,065.69       115,198.01             698,300.83
                                          Number of Customers:         379




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